~ OP>LANES” Case 8:22-cv-02597-DKC Document 61-8 Filed 10/30/23 Page 1 of 106
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MONTGOMERY COUNTY FAITH ALLIANCE FOR CLIMATE SOLUTIONS — NANCI WILKINSON

SEE RESPONSE ABOVE TO MONTGOMERY COUNTY FAITH ALLIANCE FOR CLIMATE SOLUTIONS — WALTER WEISS.

From: nanci wilkinson <nanciwilkinson@gmail.com>

Sent: Tuesday, October 27, 2020 10:02 AM

To: MLS-NEPA-P3

Subject: Public Comment on I-495 and I-270 Managed Lanes Study Draft Environmental Impact
Statement

Attachments: MCFACS best with signature Beltway Widening. pdf

Dear Sirs:

Please find attached the testimony of the Montgomery County Faith
Alliance for Climate Solutions (MC-FACS) of October 27, 2020 for the NO
BUILD Alternative for the above proposed project. MC-FACS is a
volunteer

organization comprising over 52 diverse congregations and groups that
unites people of all faiths in Montgomery County to help solve the
climate emergency that is threatening our earth.

Thank you.

Walter Weiss
Montgomery County Faith Alliance
for Climate Solutions

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-236

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| AON LAND iis MED Mg ged Lanes Sud FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above

MONTGOMERY COUNTY FAITH ALLIANCE FOR CLIMATE
SOLUTIONS SUPPORTS THE NO BUILD ALTERNATIVE

The Montgomery County Faith Alliance for Climate Solutions
(MC-FACS) supports the No Build Alternative for the Beltway
Expansion project. MC-FACS is a volunteer organization
comprising over 52 diverse congregations and groups in
Montgomery County that unites people of all faiths to help
solve the climate emergency that is threatening our earth.

MC-FACS objects to the proposed Expansion of I-495 and |-270
as the project conflicts with the justice, equity and compassion
principles that confirm the inherent worth and dignity of every
person. The marginalized communities living near the project
widening would be massively impacted by air pollution from
the carbon emissions, disruption of community bonds, loss of
homes and community centers. Such impacts were overlooked
in the Draft Environmental Impact Statement (DEIS). According
to the DEIS, 109 places of worship are located within the
economic justice analysis, most of which are low income.
(Appendix E Table 3-10) The harmful particulates in the
greenhouse gas emissions would increase during and after
construction of the Beltway, endangering public health. Low
income communities cannot afford to use either the managed
(toll) lanes or the time lost in the intentionally slower (general)
lanes in the proposed widened Beltway. These inequities are
heightened by the lack of adequate bus and transit
transportation. An example of the removal of graves in the

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-237

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- } OP LAN ES |-495 & |-270 Managed Lanes Study

MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above

historic Moses Morningstar Cemetery because of the Beltway
expansion would be the second huge impact on this low income
community which was split in the early 1960’s by the original
Capital Beltway with the cemetery on one side and the
community church on the other.

The Beltway Expansion would completely conflict with the
Maryland Greenhouse Gas Reduction Act of 40% reduction by
2030. The list of negative environmental impacts includes the
degradation of waterways and wetlands. The Limits of
Disturbance (LOD) were not thoughtfully examined in all their
social, economic and cultural elements. The five year
construction period was barely mentioned, yet it would have
huge implications for human well being, health and work issues.
It would be foolhardy to have the Limits of Disturbance
examined only after the final design and engineering by a
private contractor.

The DEIS fails to satisfy the stated purpose (to improve traffic)
and needs (to protect the environment) that it was instructed
to do. Key among these issues are that the DEIS:

@ 1st, fails to conduct and display the required “hard look”
at the potential for adverse health and environmental
impacts including environmental justice effects, especially
in light of recently curtailed national air pollution, fuel
efficiency, and other rules. This violates rules allowing the
public to understand and comment and allowing relevant
agencies to completely consider impacts and mitigations,

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-238

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- \ OP LAN ES |-495 & |-270 Managed Lanes Study

MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above

@ 2nd, uses an overly narrow set of options, which are
simply variations on a theme of highway expansion and
tolls, with no meaningful variety and especially any
local-serving transit and related options, which thus
violates EIS rules regarding the need for a reasonable
range of alternatives, as clearly described in cases such as
NRDC v. Morton, 1972,

e 3rd, fails to address the pandemic’s effects, per 40 CFR
1502.9(c)(1), which states that agencies shall prepare
supplements if there are significant new circumstances or
information. This is a monumental omission that demands
a full stop to the process until adequate supplements are
developed and given proper public review,

@ 4th, will not pay for itself as claimed, but rather will cost
the state billions, especially given the pandemic’s
long-term effects, and yet no itemized budget has ever
been shared, which is yet another violation of the rules,
and

@ 5th, perhaps the most significant issue of all, lacks any
consideration of county, state, or international climate
crisis plans, without even one mention of climate effects
in the DEIS, and with flawed and laughable assumptions
such as little or no increase in vehicle miles traveled
(VMT). To be clear, this failure ignores the very real and
existential impact on our sheer existence and that of every
other species, which would be—and this is no
exaggeration—a crime against humanity and nature.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-239

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Comments addressed above

The total impact on about 80 acres, which this proposed project

is attempting to buy, use or usurp by eminent domain includes:
47 different parks (6 national
& 41 local and regional)
130 acres of parkland
1500 acres of tree canopy
130 miles of stream beds
410 acres of sensitive & unique
Areas
16 acres on the C&O Canal (construction for 5 yrs)
One third of Plumbers Island
Road widening loss of tree canopy
69.3 acres on BW Pkway
1.8 acres on Clara Barton Pkway
12.2 acres on GW Pkway
10 mile segment of Rock Creek
Park
52-63 acres of impervious surface
runoff in Rock Creek Watershed
Historic properties
Many schools

Many Montgomery County congregations including Christ
Congregational Church in Indian Springs would be significantly
impacted by the taking of land and community assets with the
Beltway Widening. Cedar Lane Unitarian Universalist Church,
would be greatly impacted by this project, although the DEIS
chart lists it as “no impact”. The natural habitats and walking
trails of Rock Creek Park are part of Cedar Lane’s appreciation of
spirituality in nature. The creek, the estuaries and wildlife
adjoining Beach Drive and our church grounds are a community
gathering place. The noise level is already extremely high and
would be higher with this project.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS 2

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| AON LAND iis MED Mg ged Lanes Sud FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above

Construction on the Beltway widening would remove the
natural habitat surrounding Rock Creek and would result in
stream degradation and increased sedimentation. The Draft
Environmental Impact Statement states this removal of natural
habitat would be mitigated but, because it would take place in
an area far removed from this affected part of Rock Creek, is
not a true mitigation as it can never replace the existing forest,
wildlife and plant life. The DEIS would give “water quality
credits” for mitigation purposes which would amount to buying
rights and easements in other wetlands far from the affected
area.

Healthy rivers and streams require a natural buffer from human
development due to erosion and pollution runoff. The 52-63
acres of impervious surface water runoff in Rock Creek
watershed would put forests at risk throughout the affected 10
mile segment. Storm water management would be increasingly
strained on already insufficient piping, and the relocation of 27
miles of required WSSC water and sewer lines would cost
approximately 1 billion dollars, an item not addressed in the
DEIS economic impact.

Finally, beyond the local and county concerns for parkland is the
climate havoc this widening proposal would have on our
personal health and lack of clean air in Montgomery and Prince
George's Counties. More lanes of traffic would bring more cars
and more carbon emissions and less reliance on alternative
modes of travel that have much lower carbon output. Why are

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS co-241

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OP U s K'G 49S .6:1-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above

alternatives such as increased mass transit, rapid rail, rapid bus
lanes and many other options not being seriously considered?
Why can we not learn from other areas that have tried more
lanes and found the disappointing effects of sometimes
bankrupt private partnerships, high tolls and even more
congestion in single driver cars? This Beltway Expansion
proposal is a threat to our health and would adversely impact
our climate. We must take action to prevent this. MC-FACS
supports the No Build Alternative.

Walter Weiss October 27,2020
Montgomery County Faith Alliance
for Climate Solutions

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-242

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

MONTGOMERY PRESERVATION, INC. — EILEEN MCGUCKIAN See responses to your comments on the following pages.
From: Eileen McGuckian <phileen3@verizon.net>
Sent: Monday, November 9, 2020 1:53 PM
To: MLS-NEPA-P3
Ce: Steve Archer; elizabeth.hughes@maryland.gov; beth.cole@maryland.gov;

tim.tamburrino@maryland.gov; sara.love@house.state.md.us;

rebeccah,ballo@montgomeryplanning.org;

councilmember.friedson@montgomerycountymd.gov; ebankjs@verizon.net
Subject: DEIS Comments -- MDOT SHA I-495 & I-270 Managed Lanes P3 Program
Attachments: MPI DEIS COMMENTS 11.2020.docx

Hon. Nicole R. Nason, Administrator
Federal Highway Administration
Washington, DC 20590

Hon. Aimee Jorjani, Chair
Advisory Council on Historic Preservation
Washington, DC 20001

Lisa B. Choplin, DBIA Director, 1-495 & I-270 P3 Office
Maryland Department of Transportation, SHA
Baltimore, MD 21201

Jeanette Mar, Environmental Manager
Maryland Division, Federal Highway Administration
Baltimore, MD 21201

Steve Archer, Cultural Resources Team Leader
Maryland DOT, State Highway Administration
Baltimore, MD

Attached find a letter from Montgomery Preservation, Inc., a Consulting Party for the referenced project, with
comments on the DEIS.

Our comments reflect concern about historic resources in Montgomery County: Moses Morningstar
Hall/Cemetery and Gibson Grove AME Zion Church in Cabin John, and Montgomery County Poor Farm
Cemetery in Rockville

Thank you very much,

Eileen McGuckian, President
Montgomery Preservation, Inc.

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

LETTERHEAD and November 9, 2020

Hon. Nicole R. Nason, Administrator
Federal Highway Administration
Washington, DC 20590

Hon. Aimee Jorjani, Chair
Advisory Council on Historic Preservation
Washington, DC 20001

Lisa B. Choplin, DBIA Director, 1-495 & I-270 P3 Office
Maryland Department of Transportation, SHA
Baltimore, MD 21201

Jeanette Mar, Environmental Manager
Maryland Division, Federal Highway Administration
Baltimore, MD 21201

Re: MDOT SHA I-495 & 1-270 Managed Lanes P3 Program—DEIS Comments

Historie resources in Montgomery County: Moses Morningstar Hall/Cemetery and Gibson Grove

AME Zion Church in Cabin John, Montgomery County Poor Farm Cemetery in Rockville
pete
Montgomery Preservation, Inc. (MPI), as a recognized Consulting Party for the referenced project,
calls your attention to insufficient analysis and safeguards provided to three historic resources
identified in the Draft Environmental Impact Statement now under review.

The three sites are Moses Morningstar Cemetery (M: 35-212) and Montgomery County Poor Farm
Cemetery (18MO266), two burial grounds listed in the Montgomery County Burial Sites Inventory
(adopted by Montgomery County Planning Board in May 2019) and Gibson Grove A.M.E. Zion
Church (M: 29-39), designated on the Montgomery County Master Plan for Historic Preservation in
1993.

All three of these sites require and are worthy of further documentation and analysis in the EIS. All
three are placed at serious risk under the known plans for this road program, and they are located
within the LOD for the proposed project.

Moses Morningstar Tabernacle No. 88 Hall and Cemetery and Gibson Grove A.M.E. Zion Church
are prominent historic resources, extant representatives and the heart of the thriving post-
Emancipation African American community in Cabin John. Thoughout this year, MPI has been
participating in documentation, clean-up, and title clarification activities on behalf of the cemetery.
Both sites were so damaged by construction of the Capital Beltway in the 1960s and would be so
adversely affected by this current road project that avoidance is the only appropriate strategy to
employ.

The Montgomery County Poor Farm cemetery is an archaeological resource identified by the
National Park Service and in the County Burial Sites Inventory. Construction of the interstate in the
1950s unearthed human remains that were near the known cemetery area of this 130-acre property,
and subsequent construction projects in the 1980s and 1990s resulted in removals of more human

—$__

Response to DEIS Comment #1

MDOT SHA has been continuing investigation of the Morningstar Tabernacle No.88 Moses Hall and Cemetery, and
consultation with community representatives since publication of the DEIS and the SDEIS. The Preferred Alternative avoids
ground disturbance of the Morningstar Tabernacle No.88 Moses Hall and Cemetery and MDOT SHA will commit to context-
sensitive treatment of the cemetery through a Programmatic Agreement developed in compliance with Section 106 of the
National Historic Preservation Act. The Gibson Grove First Agape AME Zion Church structure will not be affected, although
there will be temporary construction use of a portion of the property. MDOT SHA will stipulate measures to avoid,
minimize, or mitigate effects to the church as part of the Section 106 Programmatic Agreement. MDOT SHA acknowledges
there is some potential for human remains associated with historic properties to be present adjacent to the Morningstar
Tabernacle No.88 Moses Hall and Cemetery and in the general location of the Montgomery County Poor Farm, which are
not currently accessible for the types of thorough archaeological investigation necessary to definitively identify
interments. MDOT SHA will work with the developer to minimize LOD to the maximum extent practicable in these areas.
The Treatment Plan included in the Programmatic Agreement will include proposed investigations to identify and evaluate
potential graves or human remains in specified sensitive areas to the maximum extent practicable to ensure avoidance or
treatment prior to final design and construction.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

Cont remains, some of which were reinterred elsewhere. While at any given time small numbers of

dependent, needy persons were living at this institution, burials over some 200 years did add up to a
substantial amount. Without question, more human remains can be expected to be discovered in
place when new construction begins.

Federal, State, and local protections need to be aggressively invoked within the Managed Lanes
project. All three were adversely impacted by either the 1950s or the 1960s construction of these
interstate highways. These previous physical and environmental impacts must be must be taken into
account while evaluating current plans, that propose to add further cumulative impacts. Without
fully analyzing these sites and possible effects, SHA cannot adequately evaluate alternatives that
could avoid or mitigate negative impacts on recognized historic sites.

a

Both avoidance and mitigation
I am writing in support of the ongoing efforts of the Friends of Moses, a recognized consulting party of
#2 descendants and community stakeholders under NEPA and Section 106 for MDOT SHA’s I-495 & I-270
Managed Lanes P3 project, to protect, restore, and preserve the Morningstar Moses Hall and Cemetery, as
well as the Gibson Grove First Agape A.M.E. Zion Church, in Cabin John, Maryland. As you are aware, both
of these historic cultural resources are threatened by MDOT SHA’s I-495 & 1-270 P3 Program Phase I.

—$$_$___.

#3 I insist that consulting parties be assured to have meaningful input and review of all phases of site
design and its associated decision-making. and it is imperative that the MDOT SHA’s P3 partner commit to

this as a requirement of the State.
a

Sincerely,

ce:
Steve Archer, MDOT SHA - sarcher’@mdot.maryland.gov

Elizabeth Hughes, Director, Maryland Historical Trust and SHPO

Hon. Sidney Katz, President, Montgomery County Council

Friends of Moses Hall morningstarmosescj(@ gmail.com

Rebeccah Ballo, Montgomery Planning rebeecah.ballo(@montgomeryplanning.org
Bankheads

Tim Tamborrino

Response to DEIS Comment #2

Through the Section 106 review, MDOT SHA has completed extensive historical and archaeological research that
thoroughly documents the Morningstar Tabernacle No. 88 Moses Hall Cemetery and its significant features, allowing the
Preferred Alternative to avoid all known impacts. MDOT SHA will continue to work with the community through the
project's Programmatic Agreement.

Response to DEIS Comment #3

The first draft of the PA was provided in March 2021 and the revised PA was shared in January 2022. The revised PA
incorporated changes and more detail based on input received from the Section 106 consulting parties including the
Friends of Moses Hall. The Final PA will be included with the FEIS.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

#2

MULTIPLE ORGANIZATIONS — JEANNE BRAHA

From: Jeanne Braha <jbraha@rockcreekconservancy.org>

Sent: Tuesday, August 25, 2020 7:48 AM

To: jeanette.mar@dot.gov; 495-270-P3

Cc: Josh Tulkin; Jeanne Braha

Subject: Request for extension of comment period on Draft Environmental Impact Statement for
495/270 P3

August 25th, 2020

Jeanette Mar

Environmental Program Manager

Federal Highway Administration, Maryland Division
George H. Fallon Federal Building

31 Hopkins Plaza, Suite 1520

Baltimore MD 21201

jeanette.mar@dot.gov

Lisa B. Choplin

Project Director

|-495 and |-270 P-3 Project Office

Maryland Department of Transportation State Highway Administration
707 North Calvert Street, Mail Stop P-601

Baltimore MD 21202

495-270-P3@sha.state.md.us
Dear Ms. Mar and Ms. Choplin,

We, the undersigned organizations, strongly urge the Maryland Department of Transportation State Highway
Administration and the Federal Highway Administration (Agencies) to announce that the Draft Environmental
Impact Statement (DEIS) of the proposed |-495 & |-270 Public-Private Partnership (P3) Program posted on the
website on July 10, 2020 was incomplete, and provide an itemized list of what changes were made to the
posted DEIS after it was originally posted and when these changes were made. The Agencies must then
extend the comment period to 90 days from the day of that announcement.

This announcement should be sent to all interested parties and at least everyone who signed up to receive
email updates. We request that the Agencies explain whether any of the in-person viewers of the DEIS and
appendices viewed the incomplete DEIS. We request a list of all the locations in which the full DEIS document
and all appendices can be viewed in hard copy.

_ ee
The Agencies released a DEIS of the proposed |-495 & |-270 Public-Private Partnership (P3) Program on July
10, 2020 for public review. After this official release there were then changes made to the posted documents.
These changes were reported in Bethesda Magazine, and the changes bring the already voluminous DEIS to
over 19,000 pages. The changes to the initial posting are verifiable by anyone who downloaded documents on
the first day and by the Wayback Machine capture from the morning of Saturday, July 11 which has a different
file name for Appendix C Traffic Analysis Technical Report than the one online today.
By law, the public is entitled to review entire documents in relation to the over 70 mile, $11 billion proposed
project, which is expected to have significant negative impacts on parklands, taxpayers, communities, climate,
and public health. The project will impact dozens of community resources such as schools, parks, hospitals,
local businesses, and more. Downstream impacts of the project would range from Rock Creek Park in our

region all the way to the Chesapeake Bay in relation to stormwater runoff.
a

Response to DEIS Comment #1
The DEIS and supporting technical studies were made available from July 10, 2020 to November 9, 2020, a total of 123-
days. Refer to Chapter 9, Section 3.7 for a response to comments related to public involvement and engagement.

Response to DEIS Comment #2

On July 10, 2020, the DEIS was released on the |-495 & I-270 P3 Program website and on the U.S. Environmental Protection
Agency (USEPA) EIS Database webpage, along with all supporting technical reports. The agency included technical reports
consistent with existing (and proposed revised) NEPA regulations, which state that if an agency prepares an appendix to
an EIS, that appendix “shall be circulated with the EIS or be readily available on request.” See 1502.18 (19)

The full set of DEIS and 19 technical documents was available at the in-person DEIS viewing locations in hard copy (DEIS
and JPA) on iPads (Technical Reports) starting on July 10th and all documents in hard copy at two of the MDOT SHA in-
person DEIS viewing locations also starting on July 10°. The full set of documents were also available on the USEPA EIS
Database website as referenced in the Federal Register.

However, on July 11, 2020 staff noted that supporting documents (technical appendices) to 2 of the 19 technical reports,
the Alternatives Technical Report and Traffic Technical Report, were not immediately uploaded to the I-495 & |-270 P3
Program website. Again, the underlying Reports summarized in the DEIS were available, only a few supporting appendices
to these reports did not appear on the website. It was immediately corrected and within 24-hours of the original uploading
of the DEIS, the missing supporting documents were uploaded to the P3 Program website.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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- \ OP LAN ES 1-495 & |-270 Managed Lanes Study

MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

2A
#2 Under both the old and new NEPA regulations, the Agencies are required to circulate the appendices with the
Cont environmental impact statement or for them to be readily available upon request. 40 C.F.R. § 1502.18; 85 Fed.

Reg. 43,304, 43,366 (July 16, 2020) (to be codified at 40 C.F.R. § 1502.19). By changing the version of
Appendix C and belatedly posting Appendix A & B (together adding over 1,600 pages), the Agencies did not
meet this requirement and provided an incomplete DEIS. Everyone who downloaded the files before the
Agencies updated the appendices, including many of the undersigned organizations, has unknowingly been
reviewing incomplete information. As the Agencies have access to the download numbers, we request to know
how many people downloaded documents in error.

It is unclear why the Agencies didn't inform and still haven't informed those people that they did not receive the

entire environmental impact statement. Until the Agencies do so, the 90 day comment period cannot begin; it

would arbitrarily shorten the comment period for those people or worse, leave some of the public commenting

on incomplete information, and would be unlawtul. Further, the Agencies must add public hearings at least 15

days after the Agencies provide notice to the public that the posted DEIS was incomplete. 40 C.F.R. § 1506(c).
——

Respectfully submitted,

Alliance for Regional Cooperation

Audubon Naturalist Society

Baltimore Transit Equity Coalition

Cedar Lane Unitarian Universalist Church Environmental Justice Ministry
Central Maryland Transportation Alliance
Chesapeake Bay Foundation

Citizens Against Beltway Expansion

Coalition for Smarter Growth

Conservation Montgomery

Corazon Latino

Dontwiden270.org

DoTheMostGood Montgomery County

Forest Estates Community Association

Friends Of Sligo Creek

Glen Echo Heights Mobilization

HoCo Climate Action

Interfaith Power & Light (DC.MD.NoVA)

League of Women Voters of Maryland

Maryland Conservation Council

Maryland Legislative Coalition

Maryland Sierra Club

Maryland Native Plant Society

National Parks Conservation Association
Neighbors of the Northwest Branch

North Hills of Sligo Creek Civic Association

Rock Creek Conservancy

Sunrise Howard County

Takoma Park Mobilization Environment Committee
The Advocacy Committee at Greater Greater Washington
The Canto Law Firm, LLC

Unitarian Universalist Legislative Ministry of Maryland
Washington Area Bicyclist Association

WISE

VWyngate Citizens Association

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-247

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Jeanne Braha

Executive Director

Rock Creek Conservancy

7200 Wisconsin Avenue, Suite 500, Bethesda, MD 20814

jbraha@rockcreekconservancy.org
301-579-3105

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS Cco-248

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

#2

NATIONAL PARKS CONSERVATION ASSOCIATION — PAMELA GODDARD

From: Pamela Goddard <PGoddard@inpca.org>

Sent: Tuesday, November 3, 2020 3:38 PM

To: MLS-NEPA-P3; john.j.dinne@usace.army.mil; MDE.SHAprojects@maryland.gov

Subject: : 1-495 & 1-270 Managed Lanes Study Draft Environmental Impact Statement/Draft Section

4(f) Evaluation and Joint Federal/State Application (JPA)

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pot 6 lel Fate |

November 3, 2020

Lisa B. Choplin, DBIA

Director, 1-495 & 1-270 P3 Office

Maryland Department of Transportation State Highway Administration
1-495 & 1-270 P3 Office

707 North Calvert Street

Mail Stop P-601

Baltimore, MD 21201

Jack Dinne

USACE Baltimore District
2 Hopkins Plaza

Baltimore, MD 21201-2930

Steve Hurt

MDE Wetlands and Waterways Program
1800 Washington Blvd., Suite 4300
Baltimore, MD 21230-1708

Submitted via email to MILS-NEP.
AfDE.SHA project s@marviand. gov

Re: 1-493 & 1-270 Managed Lanes Study Draft Environmental Impact Statement/Draft Section 4(f) Evaluation and
Joint Federal/State Application (TPA)

To Whom It May Concern:

ey
lam writing on behalf of the 1.4 million members and supporters of the National Parks Conservation Association, a
nonpartisan nengrofit organization dedicated to creserving and grotecting our national gark sites for present and future
generations. We are writing to share our support for Alternative 1: No Build listed in the Draft Environmental Impact
Statement (DEIS) of the |-495 & |-270 Managed Lanes Study.
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Se
We oppose the build alternatives in the proposed highway expansion because:
¢ = this project would cost billions of dollars with $1 billion or more borne predominantly by Maryland taxpayers
with little sublic benefit;
* decades of studies demonstrate that building mere highways will not alleviate traffic congestion and transit
friendly alternatives were not considered;
* changes in traffic catterns due te the coronavirus have not been assessed:
1

Response to DEIS Comment #1
Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.

Response to DEIS Comment #2
Refer to Chapter 9, Section 3.5 for a response to the P3 Program and Project Cost.

Refer to Chapter 9, Section 3.2.B for a response to Alternatives Not Retained for Detailed Study.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT
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#2
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impacts to economically challenged populations have not been studied;

the DEIS purpose and need is written so narrowly that it precludes viable alternatives to building more roads;
the proposed expansion would negatively impact seven national parks sites; and

the DEIS and the 4(f) evaluation are incomplete, preventing agencies and the public from knowing the true
impacts of the highway expansion and how these impacts could be avoided or mitigated.

A Supplemental EIS and a Revised Section 4(F) Evaluation are Necessary Before a Final EIS is Released
= Response to DEIS Comment #3

Because the DEIS’s analysis is incomplete, it is impossible for the Agencies to assess, and the public to comment on, the i 3 ‘i *
Project’s impacts. In numerous instances throughout the DEIS, it is stated that the information required will be shared in Refer to Chapter 9, Section 3.3.D for a response to Analysis of Alternatives Retained for Detailed Study.

the final EIS, which is contrary to the law. The Agencies cannot wait until a final ElS is complete to analyze the Project's
impacts, as it will then be too late for the public to meaningfully comment on them and for the Agencies to consider the
public’s comments and choose the alternative that best alleviates the impacts based on this information. In addition, the
Section 4(f)

Evaluation is incomplete because the Agencies did not complete the full identification of historic resources and the full
extent of their use. The Agencies also failed to address the direct and indirect impacts to these historic resources.

#3

Refer to Chapter 9, Section 3.4.C for a response to analyses of parklands and historic resources.

We respectfully request that the Agencies conduct a supplemental EIS and a revised Section 4(f) Evaluation to provide
the public the ability to meaningfully review and comment on potential impacts before a final EIS is produced.

The National Parks Conservation Association has worked with a coalition of groups and individuals including the
Maryland Sierra Club, the Audubon Naturalist Society, the Rock Creek Conservancy, and the Coalition for Smart Growth,

represented by the law firm Jill Grant & Associates, to submit group comments on the DEIS. NPCA wholly supports the Response to DEIS Comment #4

coalition comments as submitted. We are submitting this letter in addition to the coalition comments to share our The Preferred Alternative would have an estimated permanent impact of 1.0 acres to the Chesapeake and Ohio Canal
specific concerns regarding impacts to our national park sites by the /-485 & |-270 MANAGED LANES STUDY DEIS. National Historical Park, and an estimated temporary impact of 9.1 acres during construction.

———————_—.
Impacts to Seven National Park Sites The Preferred Alternative would have an estimated permanent impact of 0.6 acres to George Washington Memorial

Parkway, and an estimated temporary impact of 3.8 acres during construction.
As proposed, this project would harm more than 130 acres of park lands, comprising almost 100 acres at six national Ys P Se 8

Aa parks sites including Greenbelt Park, the Chesapeake & Ohio Canal National Historical Park, the George Washington The Preferred Alternative would have an estimated permanent impact of 1.1 acres to Clara Barton Parkway, and an
Memorial Parkway, the Clara Barton Memorial Parkway, the Baltimore-Washington Parkway, and Suitland Parkway. timated t . t of 0.7 dai truck

These parks would lose woodlands, nature trails and recreational sites, as well as habitat for wildlife and endangered estimated temporary Impact OF U./ acres during construction.
plants. In total, 1,500 acres of forest canopy would be lost, nearly 30 miles of streams would be affected, and four acres

St watlendswionid be Ried, Thank you for your comment concerning impacts to The Baltimore-Washington Parkway, Suitland Parkway, and Greenbelt

Park. As described in the Supplemental DEIS, the Preferred Alternative was identified after coordination with resource

The project would also create an additional 550 acres of new pavement in the region, increasing polluted stormwater agencies, the public, and stakeholders to respond directly to feedback received on the DEIS to avoid displacements and
runoff in Rock Creek Park and the Chesapeake Bay. The DEIS seeks to place stormwater abatement infrastructure in the impacts to significant environmental resources, and to align the NEPA approval with the planned project phased delivery
parks, taking additional park acreage and requiring the National Park Service to manage the stormwater impacts, rather d weet h which f d Ph 15 h ly. The Pref d Al . TWeliid high
than leaving that responsibility with the Maryland Department of Transportation. Finally, this project would increase air ana permitting approach which focused on : ase ; out only. © rrererre Mernetive inclu es two new, high-
pollution and greenhouse gas emissions throughout the region. occupancy toll (HOT) managed lanes on 1-495 in each direction from the George Washington Memorial Parkway to west

of MD 187 and conversion of the one existing high-occupancy vehicle lane in each direction on |-270 to a HOT managed
lane and adding one new HOT managed lane in each direction on |-270 from I-495 to north of I-370 and on the |-270 east
and west spurs. The Preferred Alternative includes no action or no improvements at this time on I-495 east of the I-270
spur to MD 5S in Prince George's County. See Figure 1-1 in the FEIS. The potential impacts raised in your comment had
been identified in the DEIS related to build alternatives that would have spanned the entire study area. Because Baltimore-
C & O Canal, Greenbelt, and Rock Creek Parks Washington Parkway, Suitland Parkway and Greenbelt Park are located outside the Preferred Alternative limits of build
The C & O Canal, Greenbelt and Rack Creek Parks provide critical green space to outdoor enthusiasts in an urban area. improvements, those Herypacts have now been completely avoided. Any future proposal tor improverents to thie
Visitation has increased dramatically during the coronavirus pandemic. Constructed in the early 19" century, the remaining parts of |-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject

Chesapeake & Ohio Canal connected growing industrial areas west of the Appalachian Mountains with Atlantic ports and to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.
trade. For almost 100 years it served as a critical link in bringing coal to power the Mid-Atlantic region before becoming a
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Greenbelt Park, the Chesapeake & Ohio Canal National Historical Park, George Washington Memorial Parkway, Clara
Barton Memorial Parkway, Baltimore Washington Parkway, Suitland Parkway, and Rock Creek Park are each listed or
eligible for listing in the National Register of Historic Places.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS Cco-250

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Comments addressed above.

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#4 national monument in 1961. The highway expansion threatens up to 16 acres of the canal. Expanding the nearby highway
Cont overpasses will increase air, noise, and light pollution, hindering enjoyment of many of the historic locks used to allow boat
crossing in the past and the towpath along its bank that is visited by millions each year. Within the Canal lies the
ecologically and historically unique Plummers Island that is known for its incredible biodiversity and wide ranging
geologically features. Up to 50% of this island could be impacted by the expansion. And the DEIS states that sections of this
national park site would be closed to visitors for up to five years during highway construction, preventing the enjoyment of
this park by the over 5 million hikers, campers, bicyclists, and outdoor enthusiasts who visit the park each year.

Greenbelt Park, a green oasis in the midst of the greater DC region, is beloved by the over 150,000 annual visitors wha
come to hike, bike, picnic or camp to escape the bustle of the city. Proposed elevated traffic ramps and sound walls will
encroach into the park's Perimeter Trail, one of the park's most utilized features by cyclists, runners, and hikers. Increased
traffic noise and highway lighting will negatively impact the park experience for those sleeping in the park’s 174 camp sites
or hiking its trails.

Rock Creek Park provides over 2000 acres of green space to the DC area's 2.2 million visitors yearly, all brought to life by
the creek itself. Multiple stream valley units north of the park protect its water quality, wildlife habitat, and connectivity.
More than 4 of these acres could be impacted, creating a ripple effect into Rock Creek Park itself. The addition of up to 63
miles of impervious surfaces, removal of trees and vegetation, and soil degradation from construction activity upstream
will damage the park's water quality and overall environmental health.

Scenic Parkways

Parkways are a special class of national park intentionally designed as a scenic road to connect sites of historic significance.
Four Scenic Parkways, three of which are listed on the National Register of Historic Places, would be damaged by the
highway expansion. The Baltimore-Washington Parkway faces almost 70 acres of the park paved or otherwise disrupted.
This parkway was designed to welcome visitors to our nation’s capital. Clara Barton Memorial Parkway leads visitors to the
home of Barton, founder of the American Red Cross, in Glen Echo, Maryland.

Over 12 acres of one of our aldest parkways, the George Washington Memorial Parkway, is at risk. This parkway connects
over 7.5 million motorists to sites honoring George Washington, Clara Barton, Teddy Roosevelt, and Lady Bird Johnson
each year.

Built during World War ||, Suitland Parkway was created to provide a direct route from military facilities and the United
States Capitol. Like the Baltimore-Washington Parkway, Suitland Parkway is listed on the National Register of Historic
Places. Maryland DOT states in the DEIS that it does not know the full extent of the impact to Suitland; that it may seek
complete ownership of the Parkway or complete use under a Special Use Permit. The fact that the DEIS cannot identify
potential acreage and impacts to this park site dramatically underscores the need for a supplemental EIS before a final EIS
is released.

The proposed expansion will require numerous changes to each parkway experience including the additions of large signs
both metal and electric, access and exit ramps that disrupt the flow of traffic along the parkway, the addition of large
elevated exit and entrances, and new overpasses. Parkways were never intended to serve as commuter routes and the
highway expansion would increase speed limits, leading to even more noise pollution. Large trucks are currently not
allowed on the parkways to prevent noise and air pollution and it is unclear in the DEIS if this restriction will remain. Noise
abatement is not discussed in the DEIS for the parkways. The proposed highway expansion will escalate polluted
stormwater runoff, remove important habitat, fragment wildlife corridors, spread invasive plants, and increase noise and
visual intrusion on these scenic parkways.

Finally, complete impacts to the national parks by the proposed highway expansion is difficult to determine because the
DEIS is so sorely lacking in specific details. Because the project would be designed and construction by a so far unknown

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS co-251

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orivate company, the limits of disturbance (LOD) can only be estimated oy MDOT. The Maryland National Cagital Park
and Planning Commission’s Special Project Manager Carol S. Rubin stated in an October 19 briefing memo to the
Commission that “there is significant risk that the LOD will be much larger than what is reflected in the DEIS”. She also
noted that “M-NCPPC has identified numerous locations where the LOD does not appear adequate for construction of
these outfalls, necessary perennial stream stabilization, and roadway infrastructure.” Not knowing the actual LOD
makes itimpessible for the aublic to know what will be impacted and therefore unable to comment on these impacts.
The Commission unanimously voted to oppose the project.

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USACE and MDE Must Reject Clean Water Permits

a

Although all ouild alternatives in the DEIS would have substantial direct impacts to streams, wetlands, and floodplains,
Maryland Department of Transportation State Highways Administration {MDOT SHA) has not demeanstrated that
practicable alternatives nave been analyzed and that the regulated activity has no practicable alternative. The U.S. Army
Corps of Engineers and the Maryland Department ef the Environment must reject MDOT’s apolication far a Clean Water
Act Section 404 permit or any alteration of a floodplain waterway tidal or nontidal wetland in Maryland unless and until
MBOT SHA demonstrates that impacts have been avoided, minimized and/or mitigated.

Gn behalf of the National Parks Conservation Association, we reiterate our support for Alternative 7: Na Build listed in
the Draft Environmental Impact Statement (DEIS) of the 1-495 & |-270 Managed Lanes Study. We urge both the U.S.
Army Corps of Engineers and Maryland Department of the Environment te deny any Clean Water Act Section 404 permit
and any permit to alter a floodplain wetland under Maryland law for this progesal. Finally, we strongly urge MDOT SHA

to conduct a Supplemental! EIS to complete the multitude of gaps in the present DEIS before a final EIS is released.

Sincerely,

Ponte 0 heard

Pamela E Geddard

Senior Program Director,

Mid-Atlantic Region

National Parks Conservation Association
opoddard@noca.ore

202.604.3781

Headquarters

777 6” Street, NW, Suite 700

Washington, DC 20001

P 202,.NAT.PARK | 202.628.7275 NPCA.org

eens Pamela E. Goddard

Your parks. Your turn
TOOYEARS

Response to DEIS Comment #5

MDOT SHA has demonstrated that impacts have been avoided and minimized to the greatest extent practicable at this
stage of design and has provided a comprehensive mitigation plan in the JPA package, which includes an Avoidance,
Minimization, and Impacts Report and the Final Compensatory Mitigation Plan.

A Supplemental Draft Environmental Impact Statement (SDEIS) was prepared to consider new information relative to the
Preferred Alternative, Alternative 9 - Phase 1 South. Building off the analysis in the existing DEIS, the SDEIS disclosed new
information relevant to the Preferred Alternative focusing on new information while referencing the DEIS for information
that remains valid. The SDEIS also described the background and context in which the Preferred Alternative, Alternative 9
- Phase 1 South was identified. The SDEIS was available for the public to review and comment on the Preferred Alternative
during a 60-day comment period.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

#2

#3

NATIONAL PARKS CONSERVATION ASSOCIATION — KYLE HART

|-495 and I-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Kyle Hart

Joint Public Hearing Date: 9/3/2020
Type/Session: Live Testimony/Afternoon
Transcription:

No worries, no worries. My name is Kyle Hart, K-Y-L-E, H-A-R-T and | live at 1714 13th Street,
Northwest Washington, D.C., 20009, Today, I'm speaking on behalf of the National Parks and
Conservation Association, NPCA. | am also a regular user of the dozens of local parks that this
proposal would impact. NPCA works daily to protect and enhance America's National Parks
system and preserve it for present and future generations. We have over 70,000 members and
supporters in the Maryland, Virginia, and D.C. region. NPCA fully opposes the proposed widening
of 1-495 and I-270 as written in the DEIS. At this time, Alternative 1, No Build is the only considered
|_alternative that we could support. This proposal will directly impact 47 parks, including six distinct
units of the National Park System, Greenbelt Park, Chesapeake and Ohio Canal, George
Washington Memorial Parkway, Clara Barton Parkway, the Suitland Parkway, and Baltimore
Washington Parkway. It will also indirectly impact Rock Creek Park and all of the other numerous
National Park units downstream of this proposal all the way into the Chesapeake Bay. In total
100 acres of the National Park, about 100 acres of the National Park land fall within the limit of
disturbance. This is of course, not to mention the numerous more acres of local and regional
parks under threat. Parks in developed areas are now more important than ever. COVID
lockdowns have pushed people in this region to parks in droves. And any attempt to turn 130
acres of these park lands into pavement is simply unacceptable in our eyes. The Department of
Transportation Act of 1966, Section 4(f) stipulates that all DOT agencies cannot approve the use
of land from publicly owned parks and recreation areas unless there is no feasible and proven
alternative to the use of the land.
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However, many alternatives to this massive highway expansion were not studied in depth in this
DEIS. They were scratched at the very, very outset. Alternatives 2, 12a, 12b, 13a, 14a, 14b, 14c,
and 15 would all likely have negligible impacts on park lands and reduce traffic to some degree.
Therefore, NPCA urges MDOT SHA to go back to the drawing board and fully study the numerous
alternatives that were scratched in the very beginning of this DEIS. The public deserves to know
what those alternatives could look like, their potential for traffic reduction and their impacts to
park and community resources. Only then should MDOT move forward on making a final decision
on this project. NPCA looks forward to submitting more comments in depth on this proposal in

the future and continuing to participate in this process. Thank you for your time.
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Response to DEIS Comment #1

MDOT SHA and FHWA appreciate your comment on the proposed action. As a result of the NEPA process, including
consideration of all public, stakeholder and agency comments concerning the project, MDOT SHA and FHWA have
identified Alternative 9 — Phase 1 South as the Preferred Alternative giving consideration to economic, environmental,
technical, and other factors as detailed in the SDEIS and FEIS.

Response to DEIS Comment #2
The Preferred Alternative would have an estimated permanent impact of 1.0 acres to the Chesapeake and Ohio Canal
National Historical Park, and an estimated temporary impact of 9.1 acres during construction.

The Preferred Alternative would have an estimated permanent impact of 0.6 acres to George Washington Memorial
Parkway, and an estimated temporary impact of 3.8 acres during construction.

The Preferred Alternative would have an estimated permanent impact of 1.1 acres to Clara Barton Parkway, and an
estimated temporary impact of 0.7 acres during construction.

Thank you for your comment concerning impacts to The Baltimore-Washington Parkway, Suitland Parkway, and Greenbelt
Park. As described in the Supplemental DEIS, the Preferred Alternative was identified after coordination with resource
agencies, the public, and stakeholders to respond directly to feedback received on the DEIS to avoid displacements and
impacts to significant environmental resources, and to align the NEPA approval with the planned project phased delivery
and permitting approach which focused on Phase 1 South only. The Preferred Alternative includes two new, high-
occupancy toll (HOT) managed lanes on 1-495 in each direction from the George Washington Memorial Parkway to west
of MD 187 and conversion of the one existing high-occupancy vehicle lane in each direction on I-270 to a HOT managed
lane and adding one new HOT managed lane in each direction on |-270 from I-495 to north of I-370 and on the I-270 east
and west spurs. The Preferred Alternative includes no action or no improvements at this time on |-495 east of the I-270
spur to MD 5 in Prince George's County. See Figure 1-1 in the FEIS. The potential impacts raised in your comment had
been identified in the DEIS related to build alternatives that would have spanned the entire study area. Because Baltimore-
Washington Parkway, Suitland Parkway and Greenbelt Park are located outside the Preferred Alternative limits of build
improvements, those impacts have now been completely avoided. Any future proposal for improvements to the
remaining parts of !-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

Response to DEIS Comment #3
Refer to Chapter 9, Section 3.2.A for a response on Screening of Preliminary Alternatives Process.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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- \ OP LAN ES 1-495 & |-270 Managed Lanes Study

MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT
NATIONAL PARK SEMINARY MASTER ASSOCIATION — CHRIS OSWALD (EMAIL) This page is intentionally left blank.

From: Chris Oswald <cj.oswald@gmail.com>

Sent: Friday, November 6, 2020 7:52 PM

To: MLS-NEPA-P3

Cc: Lois Todhunter; Marty Reed; Xiomara Metcalfe; Bob Biersner; Vos, Dave

Subject: Comments--DEIS, I-495 and 1-270 Managed Lanes Study

Attachments: NPSMA DEIS Comments (Final 201106)_signed.pdf

Ms. Choplin:

| have attached comments that the National Park Seminary Master Association (NPSMA)
has prepared regarding the Draft Environmental Impact Study for the I-495 and I-270
Managed Lanes Study. | am submitting these comments on behalf of Lois Todhunter,
President of the NPSMA's Board of Directors.

We appreciate consideration of our comments by the Maryland State Highway
Administration. If you have any questions regarding these comments, please contact me
at cj.oswald@gqmail.com or Lois Todhunter at lois.todhunter@gmail.com.

Sincerely,

Chris Oswald

Treasurer

National Park Seminary Master Association

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-254

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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www.nationalparkseminary.org

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Lois Todhunter

President

Board of Directors

National Park Seminary Master Association
9610 Dewitt Dr., #SH102

Silver Spring, MD 20910

November 6, 2020

Lisa B. Choplin, DBIA

Director, |-495 & |-270 P3 Office

Maryland Department of Transportation State Highway Administration
1-495 & |-270 P3 Office

707 North Calvert Street

Mail Stop P-601

Baltimore, MD 21201

Dear Ms. Choplin:

| am pleased to submit the following comments regarding the Draft Environmental Impact Study
(DEIS) for the 1-495 & I-270 Managed Lanes Study (the Project) on behalf of the National Park
Seminary Master Association (NPSMA). The NPSMA Board of Directors has authorized me to submit
these comments on behalf of the entire NPSMA membership.

The National Park Seminary (NPS) is a unique historic (recently renovated) residential community of
single-family homes, condominiums, townhouses, and apartments located in the Forest Glen
section of Silver Spring, MD, with almost 900 linear feet abutting I-495 just south of the noise
reduction barriers installed during the previous highway expansion. Our Master Association, a
registered homeowners association in the State of Maryland, encompasses 25 acres of land that
includes 7 single-family homes; 90 townhomes; 76 condominiums; a county-managed, 20-bed
facility currently used as office space for homeless housing assistance organizations; and 66
apartments. Six of the single-family homes, and all the condominiums and apartments, are situated
in historic structures. Forty-four of the 66 apartments are Section 42 affordable housing units,
reserved for those with incomes at or below 60% of our area’s median income, creating a diverse
neighborhood serving people of all incomes, NPSMA estimates that over 500 residents live here,
including between 100 and 130 residents (adults and children).

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND

FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

Ms. Choplin
November 6, 2020
Page 2

Much of NPS is located within the 21-acre National Park Seminary Historic District in the Forest Glen
neighborhood section of Silver Spring—which is listed on the National Register of Historic Places
and on the State of Maryland's Inventory of Historic Sites. As such, our property is subject to
Section 106 of the National Historic Preservation Act. Our Historic District encompasses all our
historic structures, which date back to 1887 as well as the heavily wooded and variable terrain that
provides the setting and environmental context that is significant to the historic character of the
buildings. Even the DEIS itself acknowledges this by noting, “Elements that contribute to the
significance of the historic site include the 22 standing structures, surrounding wooded landscape,
stone retaining walls, statuary, numerous walkways, and numerous footbridges.”* [Emphasis
added.)

The community's grounds are open to the public from dawn to dusk and are a unique and
irreplaceable historic, cultural, and natural resource to Montgomery County and the State of
Maryland. As noted on the nomination form that led to the property's inclusion in the National
Register:

[The] acres of wooded land create a rural vista in the midst of congested, suburban Washington.
The Seminary grounds offer welcome open space and lend an air of bucolic dignity to
homeowners in the vicinity.

NPSMA Position Regarding the Project
The NPS opposes all of the build alternatives’ proposed in the DEIS. All would dramatically, directly,
and adversely impact the NPS. We do support Alternative 1, the No Build Alternative.

We are extremely concerned by the insufficient and incomplete work in the DEIS, particularly with
respect to the presumptive and problematic structuring of the project purpose and need,
incomplete and insufficient alternatives analysis, woefully deficient assessments of alternative
impacts and mitigation, and an insufficient public involvement process particularly given the
extenuating circumstances of the COVID-19 pandemic.

Key NPSMA Concerns Regarding the Project Impacts

The NPSMA is concerned about the Project's impacts on the quality of life of the residents of the
NPS and our neighbors in the surrounding communities of Forest Glen Park, Forest Glen, and
Montgomery Hills. We also are concerned about the direct adverse impacts the Project will have on

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1p. 61, Appendix F—Draft Section 4(f) Evaluation, Draft Environmental Impact Statement and Draft
Section 4(f) Evaluation, May 2020.
2p. 7, National Register of Historic Places Nomination Form—National Park Seminary Historic

District, September 14, 1972. (Available at https://catalog.archives.gov/id/106777846)
3alternatives 8, 9, 9 Modified, 10, 13B, and 13C.

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the National Park Seminary. As described in the Supplemental DEIS, the
Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to respond
directly to feedback received on the DEIS to avoid displacements and impacts to significant environmental resources, and to
align the NEPA approval with the planned project phased delivery and permitting approach which focused on Phase 1 South
only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on I-495 in each direction from
the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-occupancy vehicle
lane in each direction on I-270 to a HOT managed lane and adding one new HOT managed lane in each direction on I-270
from |-495 to north of I-370 and on the I-270 east and west spurs. The Preferred Alternative includes no action or
no improvements at this time on |-495 east of the I-270 spur to MD 5 in Prince George's County. See Figure 1-1 in the
FEIS. The potential impacts raised in your comment had been identified in the DEIS related to build alternatives that would
have spanned the entire study area. Because the National Park Seminary is located outside the Preferred Alternative limits
of build improvements, those impacts have now been completely avoided. Any future proposal for improvements to the
remaining parts of |-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

Potential cost of utility relocation has consistently been factored into the overall estimates developed for the project. The
reduced footprint of proposed improvements associated with the Preferred Alternative as compared to the Build
Alternatives discussed in the DEIS, together with ongoing coordination to identify, avoid and minimize conflicts with existing
infrastructure to the maximum extent practicable have lowered the cost estimates significantly. It is too early in the
predevelopment process to determine the exact scope and cost of any utility relocations that may still be required, but it
now appears that these costs will be significantly lower than WSSC's original estimates.

Refer to Chapter 9, Section 4.M for a response to impacts to utilities and associated cost of repairs as well as Chapter 9,
Section 3.5 for a response to the P3 Program and Project Cost.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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OP*LANES” Case 8:22-cv-02597-DKC Document 61-8 Filed 10/30/23 Page 22 of 106
MARYLAND Hel nte REID Mg eG ed hanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

Ms. Choplin
November 6, 2020
Page 3

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#1 our unique historic property. These concerns involve impacts that will occur during the construction

Cont of the Project and those that will occur for decades to come after the project is completed.

The NPSMA owns a large parcel of property that abuts |-495 as depicted in Figure 1. This parcel
contains our historic glen and the tributaries of Rock Creek that run through it (referred to
henceforth as “the Glen”). Numerous historic structures and architectural features are located
within the Glen, a serene parklike setting that residents and the general public enjoy.

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Figure1

The Project will require relocation of the Linden Lane and CSX railroad bridges over I-495 onto the
northwestern and northeastern corners of our property, causing adverse impacts to our historic
site.*

From the Project diagrams shown in Map 68 of Appendix D of the DEIS® and Impact Plate 14A of the

Joint Federal/State Permit Application (JPA) for the |-495 & I-270 Managed Lanes Study,° prepared

concurrently with the DEIS, it appears that the Project will directly disturb more than an acre of
NPSMA property in, and adjacent, to the Glen, with most of this area being proximate to historic

4p. 24, Appendix G—Cultural Resources Technical Report, Volume 1, Draft Environmental Impact
Statement and Draft Section 4(f) Evaluation, December 2019.

*P. 69, Appendix D—Environmental Resource Mapping, Draft Environmental Impact Statement and
Draft Section 4(f) Evaluation, June 2020.

®P. 26, Part 2A, Impact Plates, Joint Federal/State Permit Application (JPA) for the I-495 & I-270
Managed Lanes Study, April 2020.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-257

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. |-495 & I-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

MARYLAND

Comments addressed above.

Ms. Choplin
November 6, 2020
Page 4

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#1 structures on our property, as well as an adjacent historic property. Appendix F of the DEIS indicates

Cont that between 1.2 and 1.3 acres of the NPS site would be directly impacted as part of the Project.’

The natural setting of the Glen and historic structures therein would be replaced by bridge
abutments and piers, and the tributaries to Rock Creek would be rechanneled. Moreover, it appears
that at least some of the property acquired from us for the Project would be used to accommodate
the relocated bridges.

From our review of the documentation provided in the DEIS, the Project will have the following
impacts on the NPSMA:

e Irreversible alteration of historic and culturally significant National Park Seminary property,
especially in the Glen on the northern portion of our property.

e Increased noise impacts on NPS residents, particularly those residents who occupy historic,
multistory NPS structures. These structures have top stories higher than proposed sound
walls, exposing them to both direct and reflected noise from the increased traffic volumes
served by the widened |-495 highway. The historic structures accommodate all forty-four
Section 42 affordable housing units, raising associated environmental justice concerns.

« Alteration of the natural course used by the tributaries of Rock Creek, identified in the DEIS
as Delineated Features 16G and 16l, that flow through the Glen on the northern portion of
the property, potentially adversely impacting water quality and changing the natural
character of the Glen.

¢ Disruption of the natural environment in the Glen, adversely affecting enjoyment of the
Glen, which is open to both NPSMA residents and the general public, because of likely
closures of substantial portions of the Glen during construction.

* Substantial, but yet unassessed, construction impacts to the NPSMA’s residents and their
property, including noise, air quality, water quality, and parkland impacts.

@ As shown in Figure 2, !-495 is 20 to 30 feet above the floor of the Glen. Therefore, significant
grading, embankment construction, and/or retaining wall construction will be needed to
accommodate the southward widening of the highway. Extremely rough conceptual designs
shown in the DEIS (e.g., DEIS Section 5.2.3), provide very little insight into where
embankments or retaining walls would be constructed, and how they would impact the
natural viewscape in the Glen. Although the DEIS states that “a retaining wall would be

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7p. 62, Appendix F—Draft Section 4(f) Evaluation, Draft Environmental Impact Statement and Draft
Section 4(f) Evaluation, May 2020.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CcoO-258

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Comments addressed above.

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constructed from the shoulder of |-495, eliminating the need for construction access within
the historic site,”* no preliminary designs or other evidence are presented regarding the

#1 feasibility of such an approach.

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Figure 2

® The planned relocation of the Linden Lane and CSX Railroad bridges would require intensive
construction activity and construction vehicle access in the Glen itself. Stockpiling
construction materials, and building staging areas, for the Project on or near the NPSMA
would cause additional adverse impacts. The need for vehicle access into the Glen for
construction of the relocated Linden Lane and CSX Railroad Bridges does not appear to be
addressed in the DEIS at all.

« Adverse impacts to the local transportation networks on which NPSMA residents rely.
These impacts would result from increased traffic volumes feeding onto and from |-495
from secondary routes such as Connecticut Avenue and Georgia Avenue, as well as
increased traffic volumes on local roadways such as Linden Lane, Beach Drive, Forsythe
Avenue, and Newcastle Avenue (which NPSMA residents use to access their property).

@ Reductions in the value of the property owned by NPSMA members due to the
aforementioned impacts and anticipated property takings required to accommodate the
relocated CSX Railroad and Linden Lane bridges.

ee

8p, 55, Draft Environmental impact Statement and Draft Section 4(f) Evaluation, June 2020.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-259

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> , OP*LANES |-495 & |-270 Managed Lanes Study
MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

Ms. Choplin
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Deficiencies in DEIS Mitigation Anal

With respect to the impact assessment, the DEIS notes that the NPS “would be adversely affected”
#1 by the Project.? Although the specific impact acknowledged in the DEIS involves cultural resources,
Cont adverse impacts also include increased noise, reduced water quality, and the construction
acquisition and activities noted above.

The significance of these adverse impacts is partially acknowledged in the DEIS. As the document
states:

The landscape of the National Park Seminary Historic District is an element that contributes to
its significance; because the LOD would expand into the existing landscape and convert a
portion of the property to highway use, the project would diminish the integrity of design and
setting of the historic district. The park also contains an additional archaeological resource
within the LOD (18MO514) requiring additional investigation to determine eligibility for the
NRHP (see Section 4).”°

Despite recognition of adverse impacts on the NPS, neither the DEIS nor the JPA provide substantive
information regarding how these impacts would be mitigated, deferring this discussion to some
undetermined point in the future. Additionally, neither document provides assessments of how
construction activities and impacts would be accommodated during the many years of construction
involved in completing the Project.

Regarding mitigation, the DEIS notes, “[The Maryland Department of Transportation State Highway
Administration] will conduct consultation to identify mitigation to include in the [Programmatic
Assessment] for properties that would experience an adverse effect under any of the Build
Alternatives.”"" However, at the time of this writing, the NPSMA has not been consulted regarding
the nature or extent of such mitigation. As the owner of the property, we believe that such
consultation is essential.” Similarly, the NPSMA has not been consulted or notified by the MDOT
SHA regarding the unavoidable impacts of the Project on the Glen during and after construction.

Undisclosed Costs and Project Impacts Associated with Utilities Relocations
NPSMA residents are alarmed by information disclosed by the Washington Suburban Sanitary

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5 Pp. 24, Appendix G-Cultural Resources Technical Report, Volume 1, Draft Environmental impact
Statement and Draft Section 4(f) Evaluation, December 2019.

1 Ibid.

™ p_ 4-56, Ibid.

12 Save Our Seminary, a volunteer, nonprofit membership organization formed in 1989 to preserve
the unique historic resources at the National Park Seminary has been involved in the JPA
consultation process, but the NPSMA—which represents the owners of the NPS property—has not.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-260

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT
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Comments addressed above.

Ms. Choplin
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Page 7

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#1 Commission (WSSC) in March 2020 regarding the scope and scale of sewer and watermain

Cont relocations that the Project would require, the cost of which are not currently included in Project as
described and evaluated in the DEIS. Preliminary cost estimates made by WSSC for these
relocations—which are only part of the underground utilities that would be impacted by the
Project—are between $1.3 billion and $2 billion. Members of the WSSC’s governing board noted
that these costs would ultimately need to be passed on to rate payers—including NPSMA
residents—in the form of increased water and sewer fees. The WSSC’s CFO in a March 2020 hearing
testified that the average cost to ratepayers would be more than $2,000 per household. Relocation
of telecommunications, gas, electrical, and other utilities necessary for the Project would increase
costs to ratepayers even more.

Conclusion

To reiterate, the NPSMA opposes all build alternatives due to the significant impacts all of them
would have on NPSMA property, an irreplaceable historic, cultural, and environmental resource to
Montgomery County and the State of Maryland. The NPSMA is proud to be one among a broad

array of community stakeholders that oppose this ill-conceived project.
a

The NPSMA appreciates this opportunity to submit comments regarding the DEIS for the Managed
Lane Study. We hope that you and the Project Team give these comments due consideration. Please
contact me if you have any questions regarding our comments.

Sincerely,

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Lois Todhunter
President

cc: National Park Seminary Board of Directors

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CcO-261

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

NATIONAL PARK SEMINARY MASTER ASSOCIATION — CHRIS OSWALD (ORAL TESTIMONY)

1-495 and I|-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Christopher Oswald
Date/Hearing: 8/25/20
Type/Session: Live/Evening
Transcription:

Christopher Oswald: Good evening. Hello? [FACILITATOR SPEAKS]. Sure. Sure. Thanks. Christopher Oswald (C-h-r-i-s-t-o-
p-h-e-r-O-s-w-a-l-d) 9562 Ament Street in Silver Spring, Maryland 20910.

Good evening. My name is Christopher Oswald and | live at 9562 Ament Street in Silver Spring Maryland. I'm here
tonight representing the National Park Seminary Master Association of which I'm a volunteer Board Member and
Treasurer, The Master Association has authorized me to speak on their behalf. In addition to serving with the Master
Association, I'm a civil engineer and planner with specialization in transportation. I've been involved with numerous
National Environmental Policy Act efforts in my 25-year professional career. National Park Seminary is a unique, historic,
and recently renovated residential community of single-family homes, condominiums, townhomes...townhouses, and
apartments located in the Forest Glen section of Silver Spring, Maryland with approximately eleven hundred feet
abutting the Capital Beltway just beyond the noise reduction barriers that were installed during the previous Capital
Beltway expansion. Our Master Association, a registered homeowners association in the state of Maryland,
encompasses 25 acres of land and include seven single-family homes, 90 townhomes, 76 condominiums, and a 20-bed
transitional housing facility, and 66 apartments. Six of the single-family homes and all the condominiums and
apartments are situated in historic structures, 44 of the 66 apartments are Section 42 affordable housing units reserved
for those with incomes at or below 60 percent of the area's median income, creating a diverse neighborhood, serving
people of all incomes. Much of the NPS is located within the 21-acre National Park Seminary historic district of the
Forest...in the Forest Glen neighborhood section of Silver Spring, which is listed in the National Register... register of
historic places and on the State of Maryland's inventory of historic sites. The historic district encompasses all of our
historic structures, which date back to 1887. It also includes the heavily wooded and variable terrain that provides the
setting and environmental character that was so significant to the historic functions of the building, a direct citation
from the Natural...National Register. The community's grounds are open to the public from dawn till dusk and are
unique in their irreplaceable historic and cultural and natural resource to Montgomery County, the State of Maryland,
and the United States. The NPS opposes all the Build Alternatives proposed in the DEIS. All would dramatically, directly,
and adversely affect our historic property as Marycon...Maryland tax payers or community members are also extremely
concerned by the insufficient and incomplete work in the DEIS; particularly with respect to the presumptive and
problematic structuring of project, purpose, and need. Incomplete and insufficient Alternatives analysis, woefully
deficient assessments of Alternative impacts and mitigation, and an early insufficient public involvement process,
particularly given the extenuating circumstances of the COVID-19 pandemic. We'll describe these concerns in our
written comments later this fall. Tonight | wanted to focus on two specific issues: the Project's adverse and unmitigated
impacts on our...on Seminary and it's woefully insufficient public involvement process. With respect to the impact
assessment, there...the DEIS clearly states there would be significant impacts from all Build Alternatives on the NPS, but
provides no information whatsoever on the scope...the scope of those impacts or mitigation. With respect to community
involvement, we find it shameful that the MDOT and FHWA would deny request from numerous political leaders,
community groups, and other stakeholders to extend the comment period in the DEIS, particularly since not all of the
documents associated with the DEIS were published and made available to the public on the date that uh...uh, the
comment period began...or our involvement period began. [FACILITATOR SPEAKS]. | understand the rush and | do thank

you for your time and consideration of my comments.
a

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the National Park Seminary. As described in the Supplemental DEIS, the
Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to respond
directly to feedback received on the DEIS to avoid displacements and impacts to significant environmental resources, and to
align the NEPA approval with the planned project phased delivery and permitting approach which focused on Phase 1 South
only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on I-495 in each direction from
the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-occupancy vehicle
lane in each direction on I-270 to a HOT managed lane and adding one new HOT managed lane in each direction on I-270
from |-495 to north of I-370 and on the |-270 east and west spurs. The Preferred Alternative includes no action or
no improvements at this time on I-495 east of the |-270 spurto MD 5 in Prince George's County. See Figure 1-1 in the
FEIS. The potential impacts raised in your comment had been identified in the DEIS related to build alternatives that would
have spanned the entire study area. Because the National Park Seminary is located outside the Preferred Alternative limits
of build improvements, those impacts have now been completely avoided. Any future proposal for improvements to the
remaining parts of I-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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- \ OP LAN ES 1-495 & |-270 Managed Lanes Study

MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

NATIONAL PARK SEMINARY MASTER ASSOCIATION — LOIS TODHUNTER Thank you for your comment concerning impacts to the National Park Seminary. As described in the Supplemental DEIS, the
Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to respond
directly to feedback received on the DEIS to avoid displacements and impacts to significant environmental resources, and to
align the NEPA approval with the planned project phased delivery and permitting approach which focused on Phase 1 South
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From: Chris Oswald the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-occupancy vehicle
a “Cattussinis Htc Hand Yasinaca Medicale Hk Beskaisacs Vos: Dav lane in each direction on I-270 to a HOT managed lane and adding one new HOT managed lane in each direction on I-270
ei ry, veer 2007837 PH Number (NAB-2018-02152) from 1-495 to north of I-370 and on the I-270 east and west spurs. The Preferred Alternative includes no action or
Attachments: PSMA JPA Comments CO! 06 no improvements at this time on |-495 east of the I-270 spur to MD 5 in Prince George's County. See Figure 1-1 in the

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Mr. Dinne: have spanned the entire study area. Because the National Park Seminary is located outside the Preferred Alternative limits

of build improvements, those impacts have now been completely avoided. Any future proposal for improvements to the
| have attached comments that the National Park Seminary Master Association (NPSMA) has prepared regarding +e ha wtb ae . .
USACE Application Number (NAB-2018-02152), the Joint Federal/State Permit Application for the I-495 and 1.270 remaining parts of I-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
Managed Lanes Study. I am submitting these comments on behalf of Lois Todhunter, President of the NPSMA's to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

Board of Directors.

We appreciate consideration of our comments by the U.S. Army Corps of Engineers. If you have any questions

regarding these comments, please contact me at ¢cj.oswald@gmail.com <mailto-cLoswald/@email com> or Lois
Todhunter at lois.todhunter@ gmail.com <maillo:lois todluntern@email com> .

Sincerely,

Chris Oswald

Treasurer

National Park Seminary Master Association

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-263

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. |-495 & I-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

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Comments addressed above.

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1 \ Modern Living | Historic Setting

www.nationalparkseminary.org

Lois Todhunter

President

Board of Directors

National Park Seminary Master Association

9610 Dewitt Dr., #SH102

Silver Spring, MD 20910

November 6, 2020

USACE Baltimore District
Attn: Mr. Jack Dinne

2 Hopkins Plaza

Baltimore, MD 21201-2930

RE: USACE Application Number (NAB-2018-02152): Joint Federal/State Permit Application, I-495 &
|-270 Managed Lanes Study,

Dear Mr. Dinne:

lam pleased to submit the following comments regarding the Joint Federal/State Permit Application
Maryland (JPA) associated with the 1-495 & |-270 Managed Lanes Study (the Project) on behalf of
the National Park Seminary Master Association (NPSMA). The NPSMA Board of Directors has
authorized me to submit these comments on behalf of the entire NPSMA membership.

The National Park Seminary (NPS) is a unique historic (recently renovated) residential community of
single-family homes, condominiums, townhouses, and apartments located in the Forest Glen
section of Silver Spring, MD, with almost 900 linear feet abutting I-495 just south of the noise
reduction barriers installed during the previous highway expansion. Our Master Association, a
registered homeowners association in the State of Maryland, encompasses 25 acres of land that
includes 7 single-family homes; 90 townhomes; 76 condominiums; a county-managed, 20-bed
facility currently used as office space for homeless housing assistance organizations; and 66
apartments. Six of the single-family homes, and all the condominiums and apartments, are situated
in historic structures. Forty-four of the 66 apartments are Section 42 affordable housing units,
reserved for thase with incomes at or below 60% of our area’s median income, creating a diverse
neighborhood that serves people of all incomes. NPSMA estimates that over 500 residents live here,
including between 100 and 130 residents (adults and children) in the Section 42 units.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-264

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

Mr. Jack Dinne
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Much of NPS is located within the 21-acre National Park Seminary Historic District in the Forest Glen
neighborhood section of Silver Spring—which is listed on the National Register of Historic Places
and on the State of Maryland’s Inventory of Historic Sites. As such, our property is subject to
Section 106 of the National Historic Preservation Act. Our Historic District encompasses all our
historic structures, which date back to 1887 as well as the heavily wooded and variable terrain that
provides the setting and environmental character that was significant to the historic function of the
buildings. Even the DEIS itself acknowledges this by noting, “Elements that contribute to the
significance of the historic site include the 22 standing structures, surrounding wooded landscape,
stone retaining walls, statuary, numerous walkways, and numerous footbridges.”' (emphasis added)

The community's grounds are open to the public from dawn to dusk and are a unique and
irreplaceable historic, cultural, and natural resource to Montgomery County and the State of
Maryland. As noted on the nomination form that led to the property's inclusion in the National
Register:

[The] acres of wooded land create a rural vista in the midst of congested, suburban Washington.
The Seminary grounds offer welcome open space and lend an air of bucolic dignity to
homeowners in the vicinity.”

NPSMA Position Regarding the Project

The NPS opposes all the build alternatives* proposed in the Draft Environmental Impact Statement
(DEIS) for the |-495 & |-270 Managed Lane Study, the Project for which the JPA has been submitted.
All proposed build alternatives—including the State of Maryland’s preferred Alternative 9—would
dramatically, directly, and adversely impact the NPS. We do support Alternative 1, the No Build
alternative.

We are extremely concerned by the insufficient and incomplete work in the DEIS, particularly with
respect to the presumptive and problematic structuring of the project purpose and need,
incomplete and insufficient alternatives analysis, woefully deficient assessments of alternative
impacts and mitigation, and an insufficient public involvement process particularly given the
extenuating circumstances of the COVID-19 pandemic. Furthermore, we believe that current
assessments of the Project's impacts to the NPS and proposed mitigations of these impacts are
deficient and incomplete. Consequently, we urge the United States Army Corps of Engineers
(USACE) to reject the JPA it at this time.

"pb. 61, Appendix F-Draft Section 4(f) Evaluation, Draft Environmental Impact Statement and Draft
Section 4(f) Evaluation, May 2020.
*p. 7, Nationa! Register of Historic Places Nomination Form—National Park Seminary Historic

District, September 14, 1972. (Available at https://catalog.archives.pov/id/106777846)
3 Alternatives 8, 9, 9 Modified, 10, 138, and 13€.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-265

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~~ MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

Mr. Jack Dinne
November 6, 2020
Page 3

Key NPSMA Concerns Regarding the Project Impacts

The NPSMA is concerned about the Project's impacts on the quality of life of the residents of the
NPS and our neighbors in the surrounding communities of Forest Glen Park, Forest Glen, and
Montgomery Hills. We also are concerned about the direct adverse impacts the Project will have on
our unique historic property. These concerns involve impacts that will occur during the construction
of the Project and those that will occur for decades to come after the project is completed.

The NPSMA owns a large parcel of property that abuts |-495 as depicted in Figure 1. This parcel
contains our historic glen and the tributaries of Rock Creek that run through it (referred to
henceforth as “the Glen”). Numerous historic structures and architectural features are located
within the Glen, a serene parklike setting that residents and the general public enjoy.

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Figure 1 ,

The Project will require relocation of the Linden Lane and CSxX railroad bridges over |-495 onto the
northwestern and northeastern corners of our property, causing adverse impacts to our historic
site."

From the Project diagrams shown in Map 68 of Appendix D of the DEIS° and Impact Plate 14A of the
Joint Federal/State Permit Application (JPA) for the 1-495 & I-270 Managed Lanes Study,” prepared
concurrently with the DEIS, it appears that the Project will directly disturb more than an acre of

*p. 24, Appendix G—Cultural Resources Technical Report, Volume 1, Draft Environmental Impact
Statement and Draft Section 4(f) Evaluation, December 2019.

°P. 69, Appendix D—Environmental Resource Mapping, Draft Environmental Impact Statement and
Draft Section 4(f) Evaluation, June 2020.

§P_ 26, Part 2A, Impact Plates, Joint Federal/State Permit Application (JPA) for the I-495 & |-270
Managed Lanes Study, April 2020.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-266

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JZ oO P 3 LANES I-495 Ge1-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

Mr. Jack Dinne
November 6, 2020
Page 4

NPSMA property in, and adjacent, to the Glen, with most of this area being proximate to historic
structures on our property, as well as an adjacent historic property. Appendix F of the DEIS indicates
that between 1.2 and 1.3 acres of the NPS site would be directly impacted as part of the Project.’

The natural setting of the Glen and historic structures therein would be replaced by bridge
abutments and piers, and the tributaries to Rock Creek would be rechanneled. Moreover, it appears
that at least some of the property acquired from us for the Project would be used to accommodate
the relocated bridges.

From our review of the documentation provided in the DEIS, the Project will have the following
impacts on the NPSMA:

« Irreversible alteration of historic and culturally significant National Park Seminary property,
especially in the Glen on the northern portion of our property.

e Increased noise impacts on NPS residents, particularly those residents who occupy historic,
multistory NPS structures. These structures have top stories higher than proposed sound
walls, exposing them to both direct and reflected noise from the increased traffic volumes
served by the widened 1-495 highway. The historic structures accommodate all forty-four
Section 42 affordable housing units, raising associated environmental justice concerns.

« Alteration of the natural course used by the tributaries of Rock Creek, identified in the DEIS
as Delineated Features 16G and 16], that flow through the Glen on the northern portion of
the property, potentially adversely impacting water quality and changing the natural
character of the Glen.

* Disruption of the natural environment in the Glen, adversely affecting enjoyment of the
Glen, which is open to both NPSMA residents and the general public, because of likely
closures of substantial portions of the Glen during construction.

*® Substantial, but yet unassessed, construction impacts to the NPSMA’s residents and their
property, including noise, air quality, water quality, and parkland impacts.

« As shown in Figure 2, |-495 is 20 to 25 feet above the floor of the Glen. Therefore significant
grading, embankment construction, and/or retaining wall construction will be needed to
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shown in the DEIS (e.g., DEIS Section 5.2.3), provide very little insight into where
embankments or retaining walls would be constructed, and how they would impact the

*P. 62, Appendix F—Draft Section 4(f) Evaluation, Draft Environmental Impact Statement and Draft
Section 4(f) Evaluation, May 2020.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-267

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. |-495 & I-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

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MARYLAND

Comments addressed above.

Mr. Jack Dinne
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Page 5

natural viewscape in the Glen. Although the DEIS states that “a retaining wall would be
constructed from the shoulder of !-495, eliminating the need for construction access within
the historic site,”® no preliminary designs or other evidence are presented regarding the
feasibility of such an approach.

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Figure 2

® The planned relocation of the Linden Lane and CSX Railroad bridges would require intensive
construction activity and construction vehicle access in the Glen itself. Stockpiling
construction materials, and building staging areas, for the Project on or near the NPSMA
would cause additional adverse impacts. The need for vehicle access into the Glen for
construction of the relocated Linden Lane and CSX Railroad Bridges does not appear to be
addressed in the DEIS at all.

* Adverse impacts to the local transportation networks on which NPSMA residents rely.
These impacts would result from increased traffic volumes feeding onto and from I-495
from secondary routes such as Connecticut Avenue and Georgia Avenue, as well as
increased traffic volumes on local roadways such as Linden Lane, Beach Drive, Forsythe
Avenue, and Newcastle Avenue (which NPSMA residents use to access their property).

* Reductions in the value of the property owned by NPSMA members due to the
aforementioned impacts and anticipated property takings required to accommodate the
relocated CSX Railroad and Linden Lane bridges.

®P. 55, Draft Environmental Impact Statement and Draft Section 4(f) Evaluation, June 2020.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-268

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JZ oO P 3 LANES I-495 Ge1-270 Managed Lanes Study FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

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Deficiencies in Mitigation Analyses

With respect to the impact assessment, the DEIS notes that the NPS “would be adversely affected”
by the Project.* Although the specific impact acknowledged in the DEIS involves cultural resources,
adverse impacts also include increased noise, reduced water quality, and the construction
acquisition and activities noted above.

The significance of these adverse impacts is partially acknowledged in the DEIS. As the document
states:

The landscape of the National Park Seminary Historic District is an element that contributes to
its significance; because the LOD would expand into the existing landscape and convert a
portion of the property to highway use, the project would diminish the integrity of design and
setting of the historic district. The park also contains an additional archaeological resource
within the LOD (18M0514) requiring additional investigation to determine eligibility for the
NRHP (see Section 4).'°

Despite recognition of adverse impacts on the NPS, neither the DEIS nor the JPA provide substantive
information regarding how these impacts would be mitigated, deferring this discussion to some
undetermined point in the future, Additionally, neither document provides assessments of how
construction activities and impacts would be accommodated during the many years of construction
involved in completing the Project.

Regarding mitigation, the DEIS notes, “[The Maryland Department of Transportation State Highway
Administration] will conduct consultation to identify mitigation to include in the [Programmatic
Assessment] for properties that would experience an adverse effect under any of the Build
Alternatives.”"' However, at the time of this writing, the NPSMA has not been consulted regarding
the nature or extent of such mitigation. As the owner of the property, we believe that such
consultation is essential.” Similarly, the NPSMA has not been consulted or notified by the MDOT
SHA regarding the unavoidable impacts of the Project on the Glen during and after construction.

Conclusion
To reiterate, the NPSMA believes the DEIA and JPA provide insufficient and deficient assessments of
the impacts of the proposed Project and mitigation alternatives. In addition, we—the owner of a

* P_ 24, Appendix G-Cultural Resources Technical Report, Volume 1, Draft Environmental Impact
Statement and Draft Section 4(f} Evaluation, December 2019.

° Ibid.

Tp. 4-56, Ibid.

2 Save Our Seminary, a volunteer, nonprofit membership organization formed in 1989 to preserve
the unique historic resources at the National Park Seminary has been involved in the JPA
consultation process, but the NPSMA—which represents the owners of the NPS property—has not.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-269

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT
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Comments addressed above.

Mr. Jack Dinne
November 6, 2020
Page 7

historic resource that will be directly impacted by the Project—have not been consulted regarding
the Project nor any of the proposed mitigations during development of the DEIS and JPA. Given
these substantive issues, we urge the USACE to reject the JPA at this time.

The NPSMA appreciates this opportunity to submit comments regarding the JPA for the Managed
Lane Study. We hope that you and the Project Team give these comments due consideration. Please
contact me if you have any questions regarding our comments.

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Lois Todhunter
President

cc: National Park Seminary Board of Directors

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CcO-270

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

NEIGHBORS OF THE NORTHWEST BRANCH OF THE ANACOSTIA RIVER — ANNE AMBLER This page is intentionally left blank.

Anne Ambler

Please see attached file.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-271

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

My name is Anne Arnbler. | live at 12505 Kuhl Road, Silver Spring, MD 20902. As
president of the Neighbors of the Northwest Branch of the Anacostia River, | arn
authorized to speak on its behalf concerning the Draft Environmental Impact Statement
(DEIS) on beltway and 1-270 expansion. Neighbors of the NW Branch, with members
and supporters in Montgomery and Prince George’s counties, is chartered in Maryland
and dedicated to the ecological protection and restoration of the Northwest Branch.

We oppose all of the “Build” alternatives. We support the “No-Build” option. At the
very least, a preferred alternative should not be chosen until the true monetary and
environmental costs of the entire project are known. In the case of the Northwest
Branch and its tributary Sligo Creek, these costs relate not only to deconstruction and
construction damage to the Northwest Branch Stream Valley Park, and expansion and
staging area damage to Sligo Creek, but continuing darnage from the increased polluted
runoff from two to four additional lanes of concrete. In addition, our members would
be deprived of the enjoyment of the parks, subjected to worse air quality, and stuck
with possibly immense monetary costs frorn relocation of major WSSC assets for a
project that would, according to the traffic analysis in DEIS Chapter 3, likely worsen
rather than improve mobility in the regon for most residents.

At 19,000 pages, the DEIS represents quite a tour de force, and yetitfails to provide the
information needed to guide such a huge undertaking, while offering abundant evidence
that the project should not proceed. Given our concern with the restoration of the
Northwest Branch, we focus on how the DEIS treats it and Sligo Creek, with the
understanding that their teatrnentisjust one small part of this mistaken proposal, but
applicable to all,

Legal Requirements for this DEIS

National Environmental Policy Act (NEPA} Environmental Impact Statements must
describe the affected environment and discuss any resulting direct effects, indirect
effects, and cumulative impacts (40 C.F.R. Section 1508{a) and (b}), and 40 CFR. Section
1508.7). They must then address “all relevant, reasonable mitigation measures that
could improve the project” and “use all practicable means...to restore and enhance

the quality of the human environment and avoid or minimize any possible adverse
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Response to DEIS Comment #1

Thank you for your comment concerning impacts to Northwest Branch. As described in the Supplemental DEIS, the Preferred
Alternative was identified after coordination with resource agencies, the public, and stakeholders to respond directly to
feedback received on the DEIS to avoid displacements and impacts to significant environmental resources, and to align the
NEPA approval with the planned project phased delivery and permitting approach which focused on Phase 1 South only. The
Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on !-495 in each direction from the George
Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-occupancy vehicle lane in each
direction on I-270 to a HOT managed lane and adding one new HOT managed lane in each direction on |-270 from I-495 to
north of I-370 and on the I-270 east and west spurs. The Preferred Alternative includes no action or no improvements at this
time on |-495 east of the |-270 spur to MD 5 in Prince George's County. See Figure 1-1 in the FEIS. The potential impacts
raised in your comment had been identified in the DEIS related to build alternatives that would have spanned the entire
study area. Because Northwest Branch is located outside the Preferred Alternative limits of build improvements, those
impacts have now been completely avoided. Any future proposal for improvements to the remaining parts of I-495 within
the study limits, outside of Phase 1 South, would advance separately and would be subject to additional environmental
studies, analysis, and collaboration with the public, stakeholders, and agencies.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-272

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Comments addressed above.

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[environmental] effects” (40 C.F.R. Sections 1500.2, 1502.14(f) and 1502.16(h)). In

#1 other words, the expected damage must be described and mitigation discussed in

Cont enough detail that environmental consequences can be realistically evaluated.

The highway expansion project also must answer to Section 4(f) of the Department of
Transportation Act, which requires avoidance where possible, minimization of
impacts, and then mitigation, actually limiting use of parks, recreation area, or wildlife
refuges; and Section 106 of the National Historic Preservation Act (NHPA) which
requires agencies to account for and consider a project’s impacts to historic sites and
cultural properties.

We believe this Draft Environmental Impact Statement fails to meet NEPA DEIS, 4(f),
and NHPA requirements.

Chapter 5 (Table 5-2) recognizes that both the Northwest Branch Stream Valley Park
Unit 3 and Sligo Creek Park and Parkway qualify as 4(f) and require individual evaluation.
Sligo Creek Parkway also qualifies as a historic property.

Starting with the Northwest Branch: We are frankly horrified at the
deconstruction/construction proposals as discussed in Appendix M, Section 3.3.4 and in
Appendix F, Section 2.1.23 B. Although the two discussions differ by 40 feet in how high
the existing bridge is and do not agree on some other details, one can piece together
the following plan:

Bulldozers would gouge switchbacks 50 feet wide nearly 140 feet down almost vertical
slopes on both sides of the stream. Trucks and cranes would descend to stream level,
break up and lower the bridge span pieces onto trucks and carry them back up the
switchbacks. Service roads would be cut through the park on both sides of the valley to
connect with the existing roadway. A temporary bridge 140 feet up, 45 feet wide and
105 feet long with deep footings would be constructed over the valley. No bridge at
stream level is mentioned. The permanent bridge would have “multi-column piers 120-
130 feet tall...founded beneath the Northwest Branch stream invert” (Appendix M,
Section 3.3.4). Although the report recognizes this as a very difficult construction
environment, no mention is made of the sewer trunk line that risks being cut or
crushed by these activities.

Avoidance measures discussed are deconstruction from the surface rather than from
the valley, a longer bridge, and off-site staging; or rehabilitation of the existing spans.
These are ruled out as very much more expensive (Appendix F, Section 5.1.8B). The
required “minimization” consists of limiting the dual switchbacks to the south side of

the Beltway, even though, according to the report, deconstruction and reconstruction
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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-273

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comments addressed above.

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would be greatly facilitated by switchbacks on the north side as well. What do you
#1 suppose would happen in the final design?

Cont
It is not hard to imagine the muddy surges of runoff resulting from these actions,
especially as the area experiences increasingly heavy rains from our changing climate,
which incidentally is nowhere mentioned in the report. Heavy sedimentation will clog
the gills of the fish, and post construction, the NWB will be dealing with runoff from an
additional four lanes of roadway. Further, because the ROW for the current spans is
part owned by MDOT and the rest under an easement, the report says that damage
there does not count as an impact to a 4(f) property. No mitigation is necessary
(Appendix F, Section 2.1.23 A).

The DEIS does not analyze just what impacts are expected specifically here and thus
exactly what needs to be mitigated. It merely says that up to 7 acres, up to 794 linear
feet of the main stem, and up to 794 linear feet of tributaries will be impacted (Table 3-
4, Appendix M, p. 23). Then the reduced requirement for mitigation of harm to the
Northwest Branch is left to the permitting process and off-site mitigation (Appendix L,
Section 2.4.3 C). The water quality trading credits discussed would not help the NWB,
and no Northwest Branch mitigation sites appear on the mitigation site table
(Appendix N, Section 6.2), despite our understanding that the law requires on-site
mitigation for 4(f) properties.

Sligo Creek Parkway and Sligo Creek

According to the Avoidance and Minimization Report (Appendix M), the Sligo Creek
culvert would need neither replacement nor widening to accommodate 4 more lanes (!),
so “no targeted avoidance or minimization is possible in this location” (Appendix M,
Section 3.3.4). Table 3-10 shows up to 549 linear feet affected. However, contrary to
Appendix M, according to the draft Section 4(f) evaluation, the culvert would indeed
need to be augmented, and construction and staging use of the park would require up
to 4.lacres. These activities include “tree removal, grading, movement of construction
vehicles and materials, and construction and operation of a stormwater management
facility” Appendix F, Section 2.2.17, B). Two tee boxes would also need to be moved.

As with the Northwest Branch SVP, some of these activities would occur within the
easement MDOT already has, so the damaged area needing mitigation is reduced from
4.1 to just 3.2 acres. Again, there is no discussion of exactly what impacts would be
expected or how they would be mitigated, leaving that to permitting and off site
mitigation credits, although the park would apparently be used for some stormwater

runoff from the highway by way of the new stormwater pond.
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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-274

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Comments addressed above.

In addition to requiring more explicit discussion of impacts and mitigation than is
#1 offered, NEPA requires this discussion now, during the NEPA review process, when an
Cont alternative lacking such impacts might be chosen instead. But missing from

consideration is such an alternative. All the screened alternatives have basically the
same impact. Transit considerations were dismissed for cost, and demand management
was dismissed because it didn’t “add capacity” (Appendix F, Section 3.3.3). Contrary to
NEPA requirements, the Purpose and Need statement was drawn so narrowly that
only additional lanes of concrete with tolls would qualify.

The extensive maps of the project (e.g., Appendix F, Figure 2-16, Map 13 of 35) show
narrow limits of disturbance, minimizing the acknowledged impact to the Northwest
Branch and Sligo Creek. It defies reason to expect the affected area to be limited to
where the switchbacks are cut or where the access roads and staging areas are placed.
What about the runoff from two or four additional lanes of polluting vehicles? The
muddy runoff will affect fish viability and pollutant load far downstream. By making the
limits of disturbance so narrow, the DEIS fails to recognize and analyze the real
impacts, which reach much farther.

Considering the entire DEIS, we are very concerned about the plans and calculation
method for stormwater management overall. The existing lanes of the beltway were
built without adequate stormwater control. The DEIS says that stormwater controls will
be provided at 50% for lanes dug out to the underlying dirt. But these will be very few.
Yet all will be reconstructed, and all existing lanes need stormwater control. Further
reducing the linear stream feet deemed to require mitigation is a deduction overall by
the width of existing bridges (Appendix N, Section 4.1).

Admittedly, adequate mitigation anywhere along the beltway is problematic. The
report describes in general the severe environmental impacts of road construction (e.g.,
Chapter 4, Section 4.13.3; Appendix L, Section 2.4.3, C} --tree loss, erosion, increases in
sediment loads, nutrient pollution, thermal effects, fish mortality, heavy metal and
sodium chloride contamination, etc. These pages demonstrate the folly of trying to add
more lanes of concrete to the beltway. The DEIS acknowledges in several places that
the beltway corridor is a highly developed area with no more room for development or
impact remediation (e.g., Chap. 2, Section 2.7.2; Appendix M p. 42; Appendix Qp. 6.)
Fifteen years ago, this very fact was a major argument for constructing the Intercounty
Connector instead of expanding the beltway, despite the significant environmental and
community destruction caused by cutting a new six-lane divided highway through
forested land, across 5 stream valleys, and bisecting several communities.

The DEIS in Appendix L describes in detail, based on an outdated 2010 report, the

existing condition of the Northwest Branch and Sligo Creek (Appendix L, Section 2.4.2, E
& F), and the “current” water quality based on testing from several years ago (Appendix
L, Section 2.4.3, E & F). It lists the Northwest Branch as a Use IV stream, that is, intended

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-275

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MARYLAND

Comments addressed above.

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to be clean enough to support fish. Sligo Creek is a Use | stream, intended for water

#1 contact recreation. Note that Summer-fall 2020 testing by the Anacostia Riverkeeper

Cont (obviously not included in the DEIS), partly carried out by NNWB members, indicates

that the current bacterial load is too high for safe contact in either stream.

Under the Clean Water Act, the Northwest Branch has been given a Total Maximum
Daily Load (TMDL) limit for bacteria as part of the effort to address pollution in the
Anacostia River. It is not under that limit.

Given the already poor quality of the streams, the expansion project will all but ensure
that the Northwest Branch and Sligo Creek will fail to comply with the Clean Water Act.
This degradation will harm the humans, wildlife, and the flora that call these streams
home, as they will encounter higher numbers of pollutants. How then will Montgomery
and Prince George’s counties meet their requirements under the Chesapeake Bay
TMDL? Maryland should not be in the business of making it harder for counties to
comply with clean water standards.

Conclusion

The DEIS, despite its 19,000 plus pages and extensive maps, does not meet its legal
obligations under NEPA, the Transportation Act Section 4(f), and Section 106 of the
National Historic Preservation Act with respect to the Northwest Branch and Sligo
Creek. It very probably does not meet these obligations throughout the report.

On the other hand, the DEIS demonstrates very clearly that adding tolled lanes of
concrete is a “solution” that no longer makes sense. We urge that state planners
instead work with the local jurisdictions to analyze current and future mobility needs
in light of climate change and COVID-19 adaptations. The full range of options
produced by this process will be more worthy of the state of Maryland and will

position our state for a prosperous future.
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Respectfully submitted,
Uhl,

Anne Ambler
anne@neighborsnwb.org

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-276

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

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#3

NEW MARK COMMONS HOMES ASSOCIATION

NEW MARK COMMONS Homes Association

———

The Board of Directors of the New mark Commons (NMC) Homes Association wishes to express
our support for the No Build option and its opposition to the other proposed alternative highway
options in the draft Environmental Impact Statement (DEIS) to expand I-270 and 1-495 currently
under consideration by the State of Maryland Department of Transportation (MDOT).

NMC is a 53-year-old community of 384 homes (detached and townhouses) located in Rockville,
just off of Exit 5 (Falls Road exit on I-270). In 2017, the community earned the distinction of being
placed on the National Register of Historic Places.

While we welcome the State's interest in relieving automotive congestion on the thoroughfares, we
are deeply concerned about the specific impact on our community. The interactive map posted by
the State Highway Administration (SHA) clearly shoes that the already high noise levels in our area
will increase significantly. Furthermore, the construction plans show substantial encroachment on

adjacent property, including Julius West Middle School and lark land adjacent to our community.
Like almost every other state, Maryland has seen a dramatic reduction in traffic due to COVID-19
and it is widely assumed that significant and perhaps dramatic increase in the number of people
working from home will continue into the future. Maryland is struggling to revise and reduce its
current budget to reflect a major loss of income due to ongoing pandemic. Given that reality, it is
foolhardy to move forward with a multi-billion dollar highway expansion project at the time that
may not be necessary to accommodate future traffic flows on I-270. If the State wishes to reduce
traffic congestion, we believe attention must first be paid to widening I-270 to the north -- above
Gaithersburg-- where the highway drops from 12 lanes near Exit 5 to a mere four lanes. Congestion
is severe in both directions to the north of Gaithersburg during rush hours, and increasing on
weekends.

Even MDOT recognizes this problem, yet it appears determined to proceed to make the project
financially attractive for a private bidder who can generate significant revenues through the
proposed toll lanes if 1-270 is widened below Gaithersburg.
=

The failure of the Purple Line project to be completed in a timely and cost-effective manner reveals
the vulnerability of the public-private partnership. Moreover, the DEIS does not acknowledge the
required expenditure of $1-2 billion dollars for the Washington Suburban Sanitary Commission
(WSSC) to move and reconstruct water and sewage lines because of the construction of the toll road
alternatives.

Significantly, the combination of the Purple line financial failure as a public private partnership and
the lack of fully accounting for and acknowledging the toll alternatives financial impact on WSSC
in the DEIS, raises serious questions about the criteria MDOT used to remove all public transit
alternatives to this proposed project.

At the December 2018 Board of Public Works meeting, Comptroller Franchot outlined three
criteria he would use in evaluating whether or not to support the project: 1) it should be
environmentally responsible; 2) fiscally prudent; and 3) effective in resolving traffic congestion

—$—$——__

Response to DEIS Comment #1
Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.

Response to DEIS Comment #2

teleworking/remote working.

Response to DEIS Comment #3
Refer to Chapter 9, Section 3.5 for a response to the P3 Program and Project Cost.

Refer to Chapter 9, Section 3.1 for a response on Purpose and Need, effects of the Pandemic, and impacts of

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-277

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- \ OP LAN ES |-495 & |-270 Managed Lanes Study

MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comment addressed above.

#3

| problems.
Cont

In our judgement, the current plan fails to meet any of these critical objectives. As such, we
respectfully urge the Board of Public Works to disapprove the current P3 proposal.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-278

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

NORTH COLLEGE PARK COMMUNITY ASSOCIATION — MARY COOK

From: Mary Cook <marycookcp@qmail.com>

Sent: Wednesday, October 28, 2020 3:22 PM

To: MLS-NEPA-P3

Cec: Council District 1; Garcia, Michelle J.; Jim Rosapepe; Lehman, Mary Delegate; Ben Barnes;
Pena-Melnyk, Joseline Delegate

Subject: 1-495 & I-270 DEIS comments

North College Park Community Association
4912 Nantucket
College Park, MD 20740

October 28, 2020

Ms. Lisa B. Choplin, DBIA

1-495 & 1-270 P3 Program Director
1-495 & 1-270 P3 Office

707 North Calvert St.

Mail Stop P-601

Baltimore, MD 21202

Re: Draft DEIS and Draft Section 4(f) Document
1-495 and I-270 Managed Lanes Study

Dear Ms. Choplin:

At the October 8 meeting of the North College Park Community Association, the members voted to submit
a letter regarding the 1]-495 & |-270 Managed Lanes Study DEIS/Draft Section 4(f) Evaluation as the
residents of the area just north and south of the beltway in College Park will be directly impacted by the
construction of managed lanes.

We must emphasize passionately that two dozen of our homes will have part of their backyards taken in
support of this project. Some of us homeowners will be so close as to be able to offer beltway drivers a
hamburger from our family barbecue.

Hundreds of other residents will suffer the ill effects of environmental damage that will come along with
this project. We will suffer from air and noise pollution that will further deteriorate our quality of life and
health, Such contaminants will lead to or exacerbate our asthma, COPD and cancer. The youth at the
school situated right next to the beltway will also suffer the negative impacts.

Currently, the noise from the beltway, although buffered in some spots by noise walls, can be heard at
least a half mile away forcing many of us to keep our windows closed.

Finally, since the College Park Polish Club bought the property at Edgewood Rd and 53™ Avenue in the
1970's, the six-acre plot has been a green buffer for the neighborhood. If the managed lanes are

——__.

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the College Park Community Association and the Polish Club Property
on Edgewood Road. As described in the Supplemental DEIS, the Preferred Alternative was identified after coordination with
resource agencies, the public, and stakeholders to respond directly to feedback received on the DEIS to avoid displacements
and impacts to significant environmental resources, and to align the NEPA approval with the planned project phased delivery
and permitting approach which focused on Phase 1 South only. The Preferred Alternative includes two new, high-occupancy
toll (HOT) managed lanes on 1-495 in each direction from the George Washington Memorial Parkway to west of MD 187 and
conversion of the one existing high-occupancy vehicle lane in each direction on I-270 to a HOT managed lane and adding one
new HOT managed lane in each direction on |-270 from |-495 to north of I-370 and on the |I-270 east and west spurs. The
Preferred Alternative includes no action or no improvements at this time on I-495 east of the I-270 spur to MD 5 in Prince
George's County. See Figure 1-1 in the FEIS. The potential impacts raised in your comment had been identified in the DEIS
related to build alternatives that would have spanned the entire study area. Because the College Park Community
Association and Polish Club Property are located outside the Preferred Alternative limits of build improvements, those
impacts have now been completely avoided. Any future proposal for improvements to the remaining parts of I-495 within
the study limits, outside of Phase 1 South, would advance separately and would be subject to additional environmental
studies, analysis, and collaboration with the public, stakeholders, and agencies.

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CO-279

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Comments addressed above.

constructed, the land will be razed, eliminating trees, decimating endangered species, and spoiling the
local wetlands and wildlife habitat for the purpose of a staging area for construction vehicles.

#1 We would like to suggest the staging area be moved to an alternative site such as the Greenbelt Metro

Cont northern parking lot which will allow for the vehicles to be safeguarded while permitting them quick

access to the project.

Finally, your department has never approached the Polish Club regarding the use of their property for the
managed lanes project. However, they have stated in a letter to the College Park City Council that should
the property be used as a staging area that it be returned to its natural state upon completion of the
project.

———

We thank you for your time and consideration, and urge you to protect our properties and the local
environment.

Sincerely,
Mary C. Cook
NCPCA President

Ce: County Councilmember Thomas Dernoga
Maryland District 21 Delegation

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-280

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

NORTHERN VIRGINIA TRANSPORTATION ALLIANCE — JASON STANFORD

|-495 and I-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Jason Stanford

Joint Public Hearing Date: 9/3/2020
Type/Session: Live Testimony/Afternoon
Transcription:

My name is Jason, J-A-S-O-N, Stanford, S-T-A-N-F-O-R-D. My address is 8260 Greensborough
Drive, McClain, Virginia. Thank you for the opportunity to comment on the 495 270 Managed
Lanes Study today, | am the Executive Director of the Northern Virginia Transportation Alliance.
For more than 30 years, the Alliance has been the visionary leader, advancing regional
transportation solutions that improve our community's quality of life and economic prosperity.
On behalf of the Alliance's members and partners in the Northern Virginia Transportation
Business Coalition, which includes many of the largest Chambers and business organizations
across Northern Virginia. I'm here today to reaffirm our strong support for this project, which is
vital to the future of our region. In fact, the region's Transportation Planning Board adopted a
Regional Express Lanes network as one of its top aspirational goals in 2018. Furthermore, we
strongly urge you to move forward with Alternative 9, which will create a seamless connection
with Virginia's HOT Lanes network dramatically increased travel reliability, reduce regional
congestion and delays, and incentivize carpooling and transit ridership. According to the DEIS,
Alternative 9 would reduce delays on 495 and 270 by 34 percent in both the AM and PM peak
and local road network delays by seven percent in 2014. That translates into an average annual
time savings of 72 hours for Maryland commuters. Even commuters in the non-toll lanes will see
a significant time savings when compared to the No Build scenario and delays will be considerably
less than under current conditions all the way out to 2040.

Moreover, congestion managed lanes create a new option for a faster, more reliable trip.
Reliability is extremely important to economic development decisions, as well as the decision to
carpool or take public transportation. In fact, reliability is a key driver of transit ridership, which
is why Maryland is already working with Virginia to study and improve regional transit options
using the new express lanes over the American Legion Bridge. This project will also inject $9 to
$11 billion dollars of private funding into our economy at a time when we need it the most. This
will result in tens of thousands of new jobs in our entire region over the next several years.
Alternative 9 is also likely to lead to a windfall of $1 to $2.7 billion dollars from Maryland that
could be used to further improve transit service and other transportation needs in this vital
corridor. Doing nothing is not an option the No Build alternative leads to unacceptable levels of
congestion that are not sustainable from an economic, environmental or quality of life
standpoint. It's time for Maryland to move forward with improvements to the American Legion
Bridge 495 and 270 that will benefit our community now. Thank you.

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Response to DEIS Comment #1

MDOT SHA and FHWA appreciate your comment on the proposed action. As a result of the NEPA process, including
consideration of all public, stakeholder and agency comments concerning the project, MDOT SHA and FHWA have identified
Alternative 9 — Phase 1 South as the Preferred Alternative giving consideration to economic, environmental, technical, and
other factors as detailed in the SDEIS and FEIS.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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>, . ™ Case 8:22-cv-02597-DKC Document 61-8 Filed 10/30/23 Page 47 of 106
~ } OP: LAN ES |-495 & |-270 Managed Lanes Study

FINAL ENVIRONMENTAL IMPACT STATEMENT

PAMUNKEY INDIAN TRIBE — TERRY CLOUTHIER

From: Terry Clouthier <terry.clouthier@ pamunkey.org>

Sent: Thursday, July 23, 2020 3:22:49 PM

To: Caryn Braokman (Consultant) <CBrookman.consultant@mdot.maryland.gov>

Subject: RE: !-495 & |-270 Managed Lanes Study- Draft Environmental Impact Statement and Draft Section 4(f)
Evaluation Notice of Availability

Good Afternoon,

My name is Terry Clouthier and | have recently been hired as the Cultural Resource Director for the Pamunkey Indian
Tribe. | handle all consultation requests for NHPA. NAGPRA and NEPA.

Attached are our comments for the proposed undertaking.

Feel free to email if you have any questions

Sincerely,

Terry Clouthier

Pamunkey Indian Tribe
Cultural Resource Director
1054 Pocahontas Trail
King William, VA 23086

From: Caryn Brookman (Consultant) <CBrookman.consultant@mdot.maryland.gov>

Sent: Thursday, July 09, 2020 4:47 PM

To: Caryn Brookman (Consultant) <CBrookman.consultant@ mdot.maryland.gov>

Subject: |-495 & |-270 Managed Lanes Study- Draft Environmental Impact Statement and Draft Section 4(f) Evaluation
Notice of Availability

Good afternoon,

The Federal Highway Administration (FHWA) and the Maryland Department of Transportation State Highway
Administration (MDOT SHA) have completed the Draft Environmental Impact Statement (DEIS) and Draft Section 4(f)
Evaluation for the I-495 & I-270 Managed Lanes Study in Montgomery and Prince George's Counties, Maryland and

The DEIS includes traffic, environmental, engineering and financial analyses of the Build Alternatives and the No Build
Alternative. The DEIS provides an opportunity for the public, stakeholders and agencies to review and provide comment
on the proposed federal action and the adverse and beneficial environmental impacts and proposed mitigation for
unavoidable impacts.

Fairfax County, Virginia, with the Notice of Availability to be published in the Federal Register, tomorrow, July 10, 2020.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-282

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Case 8:22-cv-02597-DKC Document 61-8 Filed 10/30/23 Page 48 of 106

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT
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PAMUNKEY INDIAN TRIBE

Terry Clouthier TRIBAL GOVERNMENT 1054 Pocahontas Trail
Cultural Resource Tribal Office King William, VA 23086
Director

(804) 843-2109
FAX (866) 422-3387

THPO File Number: 2020-497 Date: 07/23/2020

Caryn J. G. Brookman

Environmental Program Manager
Maryland Department of Transportation
State Highway Administration

707 North Calvert Street

P-601

Baltimore, MD 21202

RE: L495 & 1270 Managed Lanes Study- Draft Environmental Impact Statement and
Draft Section 4(f) Evaluation Notice of Availability

Dear Ms. Brookman,

Thank you for contacting the Pamunkey Indian Tribe regarding the 1-495 & I-270 Managed
Lanes Study- Draft Environmental Impact Statement and Draft Section 4(f) Evaluation Notice of Response to DEIS Comment #2

Availability. My office offers the following comments regarding the proposed signage. The Pamunkey Indian Tribe will remain a consulting party per the stated request.
We would like to remain consulting parties for the remainder of this undertaking.

Please forward any updates to these documents electronically to my office. We look forward to
participating in the upcoming joint public meetings.

My office concurs with the findings within Appendix F and G and does not wish to comment
further at this time.

Thank you for considering our cultural heritage in your decision-making process.

If you have any questions feel free to email me at terry.clouthier@pamunkey.org.

Sincerely,

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-283

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

POLISH CLUB OF COLLEGE PARK — MARY ANN JARVIS

From: mi17527035@aol.com

Sent: Monday, October 12, 2020 2:51 PM

To: cpmc@collegeparkmd.gov; MLS-NEPA-P3

Subject: Fwd: City letter about Beltway expansion - draft language about Polish Club Property

Sorry there was a delay in sending this to you. | was given an incorrect email. Thank you. Mary Ann Jarvis

-----Original Message-----

From: mii7527035@aol.com

To: L.M.Miovski@gmail.com <L.M. Miovski@gmail.com>; cmpc@collegeparkmd.gov <cmpc@collegeparkmd.gov>;
fkabirA@collegeparkmd.gov <fkabirA@collegeparkmd. gov>; cityclerkoffice@collegeparkmd.gov

<cityclerkoffice @collegeparkmd.gov>; planning@collegeparkmd.gov <planning@collegeparkmd.gov>

Sent: Mon, Oct 12, 2020 11:51 am

Subject: Fwd: City letter about Beltway expansion - draft language about Polish Club Property

/MLS-

-----Original Message-----

From: mi17527035@aol.com

To: cpmc@collegepark.gov <cpmc@collegepark.gov>; |.miovski@gmail.com <I. miovski@gmail.com>;

cityclerkoffice @collegepark.gov <cityclerkoffice@collegepark.gov>; planning@collegepark.gov

<planning@collegepark.gov>

Sent: Mon, Oct 12, 2020 11:28 am

Subject: City letter about Beltway expansion - draft language about Polish Club Property
Good morning, I'm Mary Ann Navalaney Jarvis, President of the Polish Club of College Park, PNA Lodge #3191, It was
Founded and chartered in 1970 by 25 College Park residents to promote the Polish American heritage in the Metropolitan
Washington Area. Our organization has been the owner of this property since 1979 .The property was purchased in
hopes of building a community center which would be used for our events such as dance lessons, a place for, our then.
Polka Belles and Beaus dance group. We wanted a place to have our meetings, Christmas party, etc. We hoped that it
also would be a place that the College Park residents could hold community meetings such as scouts, sports and club
meetings. Plans were drawn and we presented them to the city. There were public forums with the residents about the
plans. To our dismay, the residents were strongly opposed to our plans. We didn't move forward after that. We have
always felt that this parcel of land should be part of the community.

Now, we don't have any immediate plans for the property. We've been approached numerous times by developers. We've
repeatedly declined these proposals because we don't want to destroy the property with more houses. We feel it is
important to have a green buffer in the community.

We would like the wording in the draft letter changed to reflect restoring the property to its natural sate IF it is must be
used short term. We would very much like the state to look at alternative sites for the storage o equipment and storm
water management pond.. We very such support the residents in their opposition to the States plans.

Please include me in all future communication regarding the Beltway Expansion. My email address is above. My phone #
is 301-221-3909. Please note that | have included our Polish Club officers in this email so they are aware of the situation.

Thank you for your including us in our proposed communication to the state.
Sincerely,

Mary Ann Navalaney Jarvis, President
Polish Club of Collage Park, PNA Lodge #3191

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the Polish Club Property on Edgewood Road. As described in the
Supplemental DEIS, the Preferred Alternative was identified after coordination with resource agencies, the public, and
stakeholders to respond directly to feedback received on the DEIS to avoid displacements and impacts to significant
environmental resources, and to align the NEPA approval with the planned project phased delivery and permitting approach
which focused on Phase 1 South only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes
on |-495 in each direction from the George Washington Memorial Parkway to west of MD 187 and conversion of the one
existing high-occupancy vehicle lane in each direction on I-270 to a HOT managed lane and adding one new HOT managed
lane in each direction on |-270 from |I-495 to north of I-370 and on the I-270 east and west spurs. The Preferred Alternative
includes no action or no improvements at this time on |-495 east of the I-270 spur to MD 5 in Prince George's County. See
Figure 1-1 in the FEIS. The potential impacts raised in your comment had been identified in the DEIS related to build
alternatives that would have spanned the entire study area. Because the Polish Club property is located outside the Preferred
Alternative limits of build improvements, those impacts have now been completely avoided. Any future proposal for
improvements to the remaining parts of I-495 within the study limits, outside of Phase 1 South, would advance separately
and would be subject to additional environmental studies, analysis, and collaboration with the public, stakeholders, and
agencies.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STA TEM ENT

ROCK CREEK CONSERVANCY OFFICIAL SUBMITTAL

From: Jeanne Braha <jbraha@rockcreekconservancy.org>
Sent: Monday, November 9, 2020 2:32 PM

To: MLS-NEPA-P3; Lisa Choplin

Subject: Rock Creek Conservancy Comments on 495/270 DEIS
Attachments: 2020 11 09 RCC DEIS Comments to SHA 495 270.pdf

Please find attached comments from Rock Creek Conservancy. | appreciate your confirming receipt.

Thank you,
Jeanne

Jeanne Braha

Executive Director

Rock Creek Conservancy

7200 Wisconsin Avenue, Suite 500, Bethesda, MD 20814
jbraha@rockcreekconservancy.org

301-579-3105

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Friend us on Facebook
Follow us on Twitter
Follow us on Instagram

Refer to page CO-410 for the full Rock Creek Conservancy comment letter and page CO-419 for the Rock Creek Conservancy
comment response.

APPENDIX T-DEISCOMMENTS- COMMUNITY ORGANIZATIONS

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MARYLAND

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FINAL ENVIRONMENTAL IM PAC T STA TEM ENT

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ROCK CREEK CONSERVANCY — JEANNE BRAHA

1-495 and |-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Jeanne Braha
Date/Hearing: 8/25/20
Type/Session: Live/Morning
Transcription:

Hi, I'm Jeanne Braha (J-E-A-N-N-E) Braha (B-R-A-H-A). | am the Executive Director of Rock Creek
Conservancy. Our address is 7200 Wisconsin Avenue, Suite 500 in Bethesda, Maryland. Rock Creek
Conservancy is a non-profit organization based in Bethesda, Maryland that restores Rock Creek and its
parklands for all people to appreciate and protect. More than 4,500 Conservancy volunteers each year
engage in people-powered restoration for our watershed. Rather than focus on the flawed approach the
State has taken to the NEPA process, I'd like to use my time today to highlight the potential for major, and
avoidable, impacts of the proposed project on Rock Creek. Given the lack of specificity and accountability
suggested by the DEIS, the Conservancy is unable to support any but the No Build Alternative at this time.
Of particular note, the DEIS fails to demonstrate there is no practicable alternative with less extensive
impacts to wetlands, streams, and parks in the proposed expansions. One obvious alternative is the
Maryland 200 or ICC Diversion Alternative, which would have avoided direct impacts on Rock Creek and
avoided residential property takings.

(Rock Creek is a primary driver of quality of life in our region for people and our ecosystem. Replacing land
and/or mitigating damages to the Rock Creek Stream Valley Park with land miles away strips local
residents of the quality of life benefits in favor of a short-lived travel time benefits for drivers and at a
great cost to the taxpayers of Maryland. Approximately three miles of Rock Creek Stream Valley channels
runs alongside the current Beltway and within Rock Creek Stream Valley Parks Units 2 and 3, managed by
the Maryland-National Capital Park and Planning Commission. Section 4(f) of the US Department of
Transportation Act mandates that projects like this may only use parks’ recreation areas or wildlife refuges
if no feasible and prudent alternatives exist, In its 4(f) review that the DEIS failed to consider alternatives,
taking a significant wetlands and floodplains on parkland by only considering single-mode road
alternatives. Data on Parks and Rec facilities were gathered using desktop sources. A project with this
scale of impact merits careful analysis, including ground truthing of those assumptions, Had DEIS
preparers walked the three miles of Rock Creek along the Beltway, they would have seen one of the largest
remaining down county wetlands as well as migratory birds that use the Rock Creek Stream Valley parks
as part of their migration along the Atlantic flyway. A more thorough investigation would allow for more
qualitative, rather than just quantitative assessment of impact, ensuring the myriad ecosystem services
of the area are protected. This might include building noise barriers along the highway to protect wildlife
and recreational users from the significant noise more traffic will create.

—$—__

in addition, the DEIS fails to analyze the impacts of, the extent of, impacts the parklands, including their
connection of the cohesive system, as required by Section 106 of the National Historic Preservation Act.
The DEIS includes only rudimentary information about this National Register eligible site and does not
consider the project proximity to impacts to parkland. The DEIS notes that in addition to permanent
conversion of Rock Creek Stream Valley Units 2 and 3 to highway or transportation use, construction

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the Rock Creek Park. As described in the Supplemental DEIS, the
Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to respond
directly to feedback received on the DEIS to avoid displacements and impacts to significant environmental resources, and to
align the NEPA approval with the planned project phased delivery and permitting approach which focused on Phase 1 South
only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on |-495 in each direction from
the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-occupancy vehicle
lane in each direction on |-270 to a HOT managed lane and adding one new HOT managed lane in each direction on I-270
from |-495 to north of I-370 and on the I-270 east and west spurs. The Preferred Alternative includes no action or no
improvements at this time on |-495 east of the I-270 spur to MD 5 in Prince George's County. See Figure 1-1 in the FEIS. The
potential impacts raised in your comment had been identified in the DEIS related to build alternatives that would have
spanned the entire study area. Because the Rock Creek Park is located outside the Preferred Alternative limits of build
improvements, those impacts have now been completely avoided. Any future proposal for improvements to the remaining
parts of I-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject to additional
environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

Response to DEIS Comment #2

In your comments on alternatives, you raised the concern about consideration of MD 200 as an alternative to avoid
environmental resources. Following the Spring 2019 Public Workshops and agency meetings, several Cooperating and
Participating Agencies requested that MDOT SHA evaluate an alternative that would provide an alternate route for travelers
to use MD 200 (Intercounty Connector) instead of the top side of |-495 between I-270 and I-95 to avoid or reduce impacts
to significant, regulated resources and residential relocations to that section of I-495. Refer to DEIS, Appendix B. Refer to
Chapter 9, Section 3.2.B for a response to Alternatives Not Retained for Detailed Study.

Response to DEIS Comment #3

The Preferred Alternative impacts the MDE 12-Digit Rock Creek Watershed. The waterway impacts include two culverts that
won't be touched, but were required by the regulatory agencies to be included as impacts. There are also 0.8 acres of new
impervious surface being added within the MDE 12-Digit Rock Creek Watershed. Refer to Chapter 5, Section 5.13 for
information on watersheds and Section 5.18 for information on aquatic biota and FEIS, Appendix M for additional details.

Response to DEIS Comment #4
The Preferred Alternative does not impact Rock Creek Stream Valley Park. Refer to Chapter 9, Section 3.4.C for a response
to analyses of parklands and historic resources.

Also refer to page CO-410 for the full Rock Creek Conservancy comment letter and page CO-419 for the Rock Creek
Conservancy comment response.

APPENDIX T-DEISCOMMENTS- COMMUNITY ORGANIZATIONS

CO-286

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Comment addressed above.

1-495 and |-270 Managed Lanes Study

Joint Public Hearing Testimony
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Cont impacts may also temporarily diminish the integrity of the setting and feeling of the property. There's no
doubt that there would be a diminishment in the setting and feeling of, to visitors each year. Rock Creek
Park, a unit of the National Park Service, is just a few miles downstream of the Project area and would be
adversely impacted by polluted stormwater runoff. The Capper-Cramton Act [INAUDIBLE] continuous
Stream Valley protection extending from the National Park into Montgomery County. This Project would
eliminate that. The Project will dramatically increase stormwater runoff to Rock Creek at a time when
Maryland is struggling to manage suburban stormwater pollution. The alternatives retained for design
would add between 52 and nearly 63 additional acres of impervious surface. Alternative 5, which was
dropped in consideration, would add only 43 additional acres and the |-200 Diversion would add 0,
(FACILITATOR SPEAKS]. I’m almost done. The Limits of Disturbance for the Project may need to be
increased to accommodate on-site treatment of new and existing runoff to protect Rock Creek from the
impacts of this roadway. Thank you.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-287

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> OP*LANES 9

1-495 & |-270 Managed Lanes Study
MARYLAND

FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

SAFE SILVER SPRING — TONY HAUSNER

1-495 and I-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Tony Hausner

Joint Public Hearing Date: 8/20/2020
Type/Session: Live / Morning
Transcription:

This is Tony Hausner (H-A-U-S-N-E-R), | live at 203 Brewster Avenue, Silver Spring, Maryland, 20901.
[FACILITATOR SPEAKS] | live in the Indian Spring neighborhood, which is immediately adjacent to the
Beltway, just south of it, between Colso Road and University Boulevard. We have eight hundred homes. |

[have lived here for 43 years and involved in a number of transportation projects over the years. | oppose
the managed lane plans for I-495 and |-270. | support transit solutions to the traffic issues raised by the
DEIS. Widening the Beltway will result in the following impacts to our neighborhood, impacting a number
of homes that are currently right next to the Beltway. They will at least lose a significant portion of their
backyards and could lose more. The park and playground in the middle of our neighborhood would be
significantly reduced, as well as the county recreation center, which is in the middle of the park, which |
know makes great use of. | have the following comments on transportation issues as discussed in Chapter
hi

The DEIS study does not include all the way to Frederick, which is an essential part of the plan. The DEIS
mentions the Corridor Cities Transitway, the Randolph Road BRT and North Bethesda Transitway.
However, the DEIS does not take into account whether or not these projects will or will not be completed.
If these projects were completed, it would significantly reduce the need for widening 270 and 495.
Further, neither MDOT nor other agencies have made any commitments to these projects. In addition,
MDOT considers other transit options beyond these projects, including the use of transit on the American
Legion Bridge, as recommended by the Planning Commissions. The Planning Commissions recommended
that the State examine the use, using the ICC as an alternative to widening the Beltway. The DEIS dismisses
this alternative without providing any analysis. We are very skeptical that this Study has been adequately
performed. Finally, the DEIS does not take into account the impact that COVID-19 has had on traffic. There
has been a significant reductions in traffic due to teleworking. Much of these changes are likely to persist
after COVID-19 ends, Studies by KPMG and the Maryland Transportation Institute project a 5 to 10 percent
long-term decrease in traffic due to teleworking. And this is beyond the COVID-19 period. Further, MDOT

has indicated there has been a 17 percent decrease in traffic already compared to last year. Thank you.
ee

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the Indian Spring neighborhood. As described in the Supplemental DEIS,
the Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to respond
directly to feedback received on the DEIS to avoid displacements and impacts to significant environmental resources, and to
align the NEPA approval with the planned project phased delivery and permitting approach which focused on Phase 1 South
only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on I-495 in each direction from
the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-occupancy vehicle
lane in each direction on |-270 to a HOT managed lane and adding one new HOT managed lane in each direction on I-270
from |-495 to north of !-370 and on the I-270 east and west spurs. The Preferred Alternative includes no action or no
improvements at this time on I-495 east of the |-270 spur to MD 5 in Prince George's County. See Figure 1-1 in the FEIS. The
potential impacts raised in your comment had been identified in the DEIS related to build alternatives that would have
spanned the entire study area. Because the Indian Spring neighborhood is located outside the Preferred Alternative limits
of build improvements, those impacts have now been completely avoided. Any future proposal for improvements to the
remaining parts of |-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

Refer to Chapter 9, Section 3.2.B for a response to Alternatives Not Retained for Detailed Study.

The benefits of the proposed transit projects mentioned (Corridor Cities Transitway, Randolph Road BRT, and North Bethesda
Transitway) are accounted for in the modeling, as noted on page 3-4 of the DEIS. The forecasts assume that all of those
transit projects will be in place by the design year, and the forecasts account for potential reductions in automobile traffic
due to travelers using transit instead. The results show that there is still a need for widening I-270 and I-495 despite these
transit improvements.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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SAVE OUR SEMINARY AT FOREST GLEN — BONNIE ROSENTHAL
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From: Save Our Seminary <info@saveourseminary.org>
Sent: Sunday, November 8, 2020 1:05 PM

To: MLS-NEPA-P3; Lisa Choplin

Subject: Comments on DEIS for I-495 Managed Lanes Study
Attachments: DEIS comments_SOS_signed.pdf

We respectfully submit the attached comments from Save Our Seminary at Forest Glen Inc. (SOS) on the DEIS for the |-
495 and |-270 Managed Lanes Study for your review and consideration. We appreciate this opportunity to comment on
such important potential affects on the historic property of National Park Seminary in Silver Spring.

Bonnie Rosenthal

Executive Director

Save Our Seminary

9615 Dewitt Drive #68

Silver Spring, MD 20910
301-589-1715
info@saveourseminary org

www. saveourseminary.org

www. facebook.com/SaveOurSeminary

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-289

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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9615 Dewitt Drive #68
Silver Spring, MD 20910
301-589-1715
info(@saveourseminary org
www. saveourseminary org

Officers and Directors
Don Hall, President
Eugene Rich, Vice President
Erin Mielke, Treasurer
Frank Riley, Secretary
Cassandra Ashman
Toni Bailey

Anne Brockett

Pat Crawford

Ann Hall

Patti Horrall

Linda Lyons

Chris Maines

Executive Director
Bonnie Rosenthal

November 9, 2020

Ms. Lisa B. Choplin, DBIA

Director, 1-495 & I-270 P3 Office

Maryland Dept. of Transportation State Highway Administration
707 North Calvert Street

Mail Stop P-601

Baltimore, MD 21201

RE: DEIS comments — National Park Seminary Historic District
Dear Ms. Choplin:

Our organization, Save Our Seminary at Forest Glen Inc. (SOS),
has reviewed the Draft Environmental Impact Statement (DEIS)
and submits the following comments specific to the National
Register-listed National Park Seminary Historic District. While
SOS has no ownership of the National Park Seminary buildings or
grounds, our longtime involvement, deep knowledge of the history
and development of the site, and our extensive archival collection
confirm our capability both to comment on the proposed
undertaking with authority and to express our concerns.

Save Our Seminary is a nonprofit membership organization formed
in 1989 to marshal public and private support to preserve the
National Park Seminary Historic District. We have largely
succeeded in our original goals and continue under our mission to
communicate the history of the National Park Seminary property
and promote preservation and public enjoyment of its buildings,
artifacts, and landscape. Please refer to the description of National
Park Seminary in DEIS Appendix F, Draft Section 4(f) Evaluation,
Section 2.1.12A, p. 54. We particularly would like to note this
statement: “Elements that contribute to the significance of the
historic site include the 22 standing structures, surrounding wooded
landscape, stone retaining walls, statuary, numerous walkways, and
rustic footbridges.”

Response to DEIS Comment #1

Thank you for your comment concerning impacts to the National Park Seminary. As described in the Supplemental DEIS, the
Preferred Alternative was identified after coordination with resource agencies, the public, and stakeholders to respond
directly to feedback received on the DEIS to avoid displacements and impacts to significant environmental resources, and to
align the NEPA approval with the planned project phased delivery and permitting approach which focused on Phase 1 South
only. The Preferred Alternative includes two new, high-occupancy toll (HOT) managed lanes on I-495 in each direction from
the George Washington Memorial Parkway to west of MD 187 and conversion of the one existing high-occupancy vehicle

Expanding on the importance of the landscape, the DEIS declares lane in each direction on |-270 to a HOT managed lane and adding one new HOT managed lane in each direction on |-270
that “The landscape of National Park Seminary Historic = from 1-495 to north of I-370 and on the |I-270 east and west spurs. The Preferred Alternative includes no action or

#1 District/Forest Glen is a defining characteristic of the historic site no improvements at this time on I-495 east of the I-270 spur to MD 5 in Prince George's County. See Figure 1-1 in the
(Appendix F p. 55). This assertion of the landscape’s significance ee : 2 : ee gs j :
is affirmed again in DEIS Chapter 4: “The landscape of the FEIS. The potential impacts raised in your comment had been identified in the DEIS related to build alternatives that would
National Park Seminary Historic District is an element that have spanned the entire study area. Because the National Park Seminary is located outside the Preferred Alternative limits
contributes to its significance; because the LODs would expand into of build improvements, those impacts have now been completely avoided. Any future proposal for improvements to the
the existing landscape and convert a portion of the property to os appa sin ‘ :
highway use, the project would diminish the integrity of design and remaining parts of I-495 within the study limits, outside of Phase 1 South, would advance separately and would be subject
setting of the historic district” (p. 52). We agree, and are therefore to additional environmental studies, analysis, and collaboration with the public, stakeholders, and agencies.

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APPENDIX T —- DEIS COMMENTS —- COMMUNITY ORGANIZATIONS CO-290

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Comments addressed above.

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concerned that these unique features are gravely threatened by the Proposed Action. Indeed,

#1 MDOT SHA found that the site would experience adverse effects from the Proposed Action and

Cont the Maryland Historical Trust (MHT) concurred (Appendix F p. 55).

Despite its acknowledgement of the significance of National Park Seminary and its features, the
DEIS appears to adopt a dismissive stance regarding National Park Seminary. In speaking to the
effects, it states: “The vast majority of Section 4(f) properties are composed of sliver property
impacts to areas that currently abut the existing transportation facility without affecting the
features and attributes that qualify the properties for Section 4(f) protection” (Appendix F p. 19).
National Park Seminary is among the Section 4(f) properties. It abuts I-495 for over 800 linear
feet, all of which would be affected by grading and tree removal, not including the areas adjacent
to the Linden Lane bridge and CSX railroad, where more land would be affected (Appendix F
pp. 54-55). If the landscape of National Park Seminary is a defining characteristic containing
contributing features, as affirmed in the DEIS, then the sacrifice of that landscape, with all its
features, to the Proposed Action, is a very serious impact.

Likewise, the minimization plans MDOT SHA has crafted are insufficient to offset the damage
to the site, continuing the lack of appreciation for the impact. With some adjustments, the
agency has reduced the affected area from 1.3 acres to 1.2 acres, a reduction of only one-tenth of
an acre (Appendix F p. 55). While it is true that the entire National Park Seminary Historic
District is approximately 23 acres, the part of the National Park Seminary Historic District
directly affected is the 13-acre area known as the Glen. 1.2 acres represents nearly 10% of the
Glen, and those 1.2 acres would experience a profound and devastating alteration that the DEIS
has not considered sufficiently. Indeed, the Maryland-National Capital Park and Planning
Commission (M-NCPPC) in its DEIS review has noted that the current LOD is inadequate to
fully encompass the area necessary to accomplish all construction-related activities, and M-
NCPPC predicts that the LOD will be expanded (10-21-20 Staff Report to Commission). This
prospect is alarming and unacceptable to us.

Notably, in the discussion of Least Overall Harm, Section 5.3 Proposed Action (Appendix F p.
259-269), National Park Seminary is overlooked in the analysis of Factor 3, which concerns “the
relative significance of each 4(f) property” (Appendix F p. 165). This oversight is evidenced by
the lack of inclusion of National Park Seminary in the collection of most significant Section 4(f)
properties affected by the Proposed Action. The DEIS itself states that significance is
determined by eligibility for, or listing in, the National Register of Historic Places (Appendix F
p. 13). National Park Seminary has been listed since 1972. As a listed property, National Park
Seminary should be included in this group, as it is in Section 6.2.1 of Appendix 6, Volume 2 of
the Cultural Resources Technical Report (p.50). Additionally, National Park Seminary is listed
on the State of Maryland Inventory of Historic Sites. It is not clear whether the DEIS’s failure to
include National Park Seminary in all references to significant 4(f) properties is an inadvertent
omission, or if National Park Seminary has not been sufficiently considered. This inconsistency
is a deficiency in the DEIS.

We find additional inconsistencies in discussions of impacted features on the property. Figure 2-
13 (Appendix F p.62) maps National Park Seminary but does not indicate any impacted
contributing resources in the historic district, namely a 1907 contributing building known as the

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS co-291

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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Italianate Villa; a large statue of Minerva; and the Villa Gardens, a historic designed landscape.
all of which would be affected by the railroad realignment, Appendix G, Volume 2 of the

Cont Cultural Resources Technical Report, Sections 5.1.2 (p. 47) and 7.4.2 (p. 93), which lists

archeological site 18MO514 on the National Park Seminary property, includes the following
resources:

« A former water pumping station;
e 3 cisterns, one constructed of stone;

e A retaining wall;

e Traces of a possible dam; and

e The abutments of two footbridges over the stream.

All of the above artifacts, as well as portions of two recently uncovered stone walking paths, are
in the path of the realignment of the Linden Lane bridge and the expanded footprint of 1-495,

Per the DEIS, site 18MO514 has been expanded to include all of the National Park Seminary
Historic District, and the DEIS states that further investigation and evaluation are required
(Appendix G p. 97). We concur with the recommendation for further evaluation. The DEIS has
failed to consider the impacts of the Proposed Action on the resources above or the expanded site
18MO514.

Keeping in mind the DEIS’s own admission that the landscape of National Park Seminary is
significant, the DEIS does not fully consider how the Proposed Action impacts the streams on
the property. Plates 144 and 14B (JPA Part 2A Impact Plates) indicate that the only impacted
waterways are the portions to the east, where an existing outfall will be “improved” (Appendix F
p. 55), and to the west, near the Linden Lane bridge, while indicating that the length of the
stream between those two locations has no impact. The modifications to the outfall are not
specified, so it is unknown what the path, volume, and speed of the stream will be as a result of
the “improvement.” Additionally, the DEIS states that MDOT SHA’s applied minimization
includes stormwater vaults beneath the shoulders of the roadway. However, it does not specify
the capacity of those vaults, how the captured stormwater will be discharged, and where the
overflow from those vaults will be directed (Appendix F p. 55). According to the DEIS (Chapter
4, Table 4-29), National Park Seminary’s watershed, Rock Creek, will receive an additional 56.5
additional acres of impervious surfaces, which will yield runoff. SOS has seen over time that the
streams greatly influence almost everything that occurs on the site: stream flow has altered paths
and destroyed historic stone bridges, changing the nature of circulation throughout the site and
challenging preservation of built features. We expect that there will certainly be indirect impacts
from the modifications but the DEIS does not address that.

Along with the stream, another significant aspect affecting the landscape is the presence of
WSSC infrastructure. The utility holds a network of easements, stormwater facilities, and
underground water and sewer pipes that crisscross the wooded Glen landscape. The Glen, as
stated above, is directly impacted by the Proposed Action, being the area of National Park
Seminary that includes the LOD. WSSC anticipates the Proposed Action will make it necessary
to relocate any pipes affected by the project. Because of WSSC’s complicated presence in the
Glen, we expect a major, lengthy disturbance to occur within this historic cultural landscape if
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Comments addressed above.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-292

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Comments addressed above.

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the utility is forced to reconfigure its activity in the Glen. Yet the DEIS does not address this

#1 eventuality, merely commenting in Appendix F that it has made a preliminary assessment of
Cont potential impacts of utility relocation (p. 159) but providing no additional information. With
this omission, the DEIS has failed to explain fully the direct and indirect impacts of the Proposed
Action.

Another area of concern to SOS is air quality. We will leave it to others to determine whether
the DEIS has sufficiently addressed the potential air quality impacts on human health. Our focus
is the effects pollutants have on the historic artifacts at National Park Seminary, particularly in
the Glen, the area closest to the existing roadway and railroad. We have witnessed degradation
to statuary in those areas, possibly due to emissions gases and particulate matter from both
vehicular and rail traffic. We note that Build Alternative 9 (apparently emerging as MDOT
SHA’s preferred alternative) is likely to push heavy trucks to the outer lanes, directing their
emissions even closer to the historic site. Yet nowhere in the statement does the DEIS address
this aspect of air quality (DEIS Chapter 4, Section 4.8). Even if MDOT SHA is not required to
examine this type of impact, mitigation should be considered.

While we found that DEIS Chapter 4 methodically discusses a series of potential environmental
impacts, there are areas of analysis that should receive additional study, particularly the effects
the Proposed Action may have on invasive plant species. 9.17 acres of National Park Seminary
Historic District are protected by Category I Forest Conservation Easements. Per the DEIS,
National Park Seminary would lose canopy trees and potentially gain invasive species. We agree
with the assessment of direct and indirect impacts to forests, especially the potential for
increased introduction of invasive species (Chapter 4 p. 4-100). The DEIS goes on to state that
“Increased edge-to-edge interior ratio in forests also results in increased introduction of invasive
plant species, resulting in lower plant biodiversity and fewer native plant species that support
wildlife” (Chapter 4 p. 4-101). We concur on this point, but find the analysis incomplete,
because it does not address the impact of invasive species on historic cultural landscapes and
their artifacts. The Glen in National Park Seminary has been invaded by a profusion of many
invasive plant species which threaten the stability of historic features, requiring considerable
expenditure of time and funds to manage them. Would the Proposed Action exacerbate the
problem, and if so, what are the costs likely to be? An additional unanswered question is how air
quality, particularly increased CO2 emissions, might influence the growth of invasive species, as
numerous studies indicate. The DEIS has not addressed these critical questions for historic sites.

Indeed, National Park Seminary checks the boxes for a number of environmental impacts
suggested by the DEIS: slopes with highly erodible soils, loss of tree canopy, applications of de-
icing compounds on roadways, sedimentation in the stream, and soil contamination from organic
compounds (DEIS Chapter 4). All of these problems currently exist, inside and outside the
LOD, seriously affecting the historic cultural landscape, and have the potential to be amplified if
the Proposed Action proceeds. The analysis provided by the DEIS makes these outcomes quite

clear.

With so many unknown effects such as those described above, it is clear that additional study is
necessary. However, the agencies intend to rely on an unexecuted Programmatic Agreement

related to Section 106 requirements to satisfy Section 4(f) requirements. Doing so seems
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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-293

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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premature and does not do justice to the process spelled out in the relevant legislation, nor does
the incomplete information fully advise all stakeholders of the impacts of the project. A more
detailed review is critical, especially since this significant cultural resource stands to suffer
irretrievable and irreversible losses (DEIS Chapter 4 p. 4-159). Sadly, this would result in more
historic fabric being sacrificed to inadequate transportation planning.

One of the influencing factors that received no attention in the DEIS is the current, ongoing
pandemic that has transformed travel in the region. We believe the Purpose and Need of the
study is too narrowly written and should be reevaluated in light of current and future roadway
use and demand. In fact, rather than adding more roads, existing roads have been closed to meet
the demand for recreation, revealing the reduced need to accommodate vehicular traffic. As the
pandemic illustrates, outdoor spaces have become more important than ever, as safe and
restorative areas for recreation and relief. The Glen at National Park Seminary is among those
spaces. Though privately owned, it is open to the public and regularly visited by many in the
community. The DEIS has not sufficiently studied use of this type, assuming that the land within
the LOD is merely a sliver (see above) with no significant assets, but that is not the case, as we
have explained. The DEIS appears to discount the value of this type of space as opposed to the
value of the Proposed Action. In fact, the DEIS plainly states “The Build Alternatives would
result in the conversion of existing land uses to right-of-way for transportation use across each of
the seven land use types...” (Chapter 4 p. 4-7). Additional study of use of these spaces is
required, addressing the questions of impact on the community and whether the Proposed Action
serves the common good.

Despite the various shortcomings we have identified, we found much valuable and sobering
information in the DEIS. In DEIS Chapter 4, numerous environmental consequences were
determined to result in impacts with all the Build Alternatives. As we have explained, many of
these environmental consequences directly and indirectly impact the National Park Seminary
Historic District. The Maryland-National Capital Park and Planning Commission has pointed
out that parkland and sites such as National Park Seminary have suffered years of degradation as
a result of previous transportation projects. Indeed, the DEIS appears to agree: “Many of the
resources described above have already been impacted by the development and subsequent
expansions of I-495 and 1-270” (Appendix F p. 269). It falls to the property owners and other
stakeholders therefore to manage the negative consequences. The construction of I-495 in 1964
has already taken its toll: a portion of the historic cultural landscape of the National Park
Seminary was removed, and the impact is still felt today. We have seen the future, if the
Proposed Action goes forward. Given that, SOS is unable to support any of the Build

Alternatives and endorses the No Build option.
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Sincerely,

Bouutad Resemtbor!

Bonnie Rosenthal, Executive Director
Save Our Seminary at Forest Glen Inc.

Comments addressed above.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-294

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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SEVEN LOCKS CIVIC ASSOCIATION — JERRY GARSON

-495 and |-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Jerry Garson
Date/Hearing: 8/20/2020
Type/Session: Live / Morning
Transcription:

lam Jerry Garson (J-E-R-R-Y, Garson G-A-R-S-O-N), residing at 8308 Raymond Lane in Potomac, Maryland.

lam speaking on behalf of the Seven Locks Civic Association, Inc., a nonprofit organization representing

the people in the Seven Locks region. We are in favor of rebuilding and widening of the American Legion
Bridge and I-495 from the western spur of |-270 to the American Legion Bridge as the first part of this
project. This would normally be considered Alternative 9 with two HOT-managed lanes. We then favor
widening |-270 northbound from north of |-370 where the most of the afternoon traffic congestion occurs.
All other sections could be completed after these first two sections are completed,

| have been analyzing the daily traffic counts from the four, quarter-mile traffic counts that are the State
Highway Administration have located in Montgomery County for the last 20 years. In the beginning of the
COVID-19 shutdowns in March 2020, we saw a rapid decline in traffic on the interstate highways in
Montgomery County. We have now seen a return to almost pre-COVID-19 levels. We saw the Metro rail
ridership drop by 90 percent. It has not returned from these levels in July or August 2020. The average
weekday daily round trips for this period on all of WMATA rail is now only 38,458 passengers. While the
average number of round trips, just at the traffic counter west of New Hampshire Avenue is 101,220. Until
the COVID-19 pandemic is solved we will need much more road capacity. It looks like that Metro Rail will
not return to its pre-COVID levels for the next few years. One additional reason is that WMATA rail use
will continue to decrease is due to the increase in number of people working from home, and the second
is the fear of people being in crowded subway cars without the possibility of people being at least six feet
from other people in the subway car. Therefore, traffic in the next few years will probably increase on our
local roads. We also know that only 20 percent of the vehicles on the interstate highways are commuters
going to and from work. The non-commuting trips will probably not decrease.

We are now seeing in August the peak afternoon traffic eastbound at the Persimmon Tree automatic
traffic counters returning to Maryland is between 2 and 4 PM, which is similar to the traffic before the
COVID-19 shutdowns in March 2020. We are seeing the peak AM westbound traffic on I-495 at the traffic
counter west of New Hampshire now recording the AM peak between 6 and 7 AM. most weekdays,
instead of 5 to 6 AM, which occurred before COVID-19. This indicates a reduction in traffic in July and
August due to inadequate road capacity between 7 and 9 AM. Thank you.

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Response to DEIS Comment #1

MDOT SHA and FHWA appreciate your comment on the proposed action. As a result of the NEPA process, including
consideration of all public, stakeholder and agency comments concerning the project, MDOT SHA and FHWA have identified
Alternative 9 — Phase 1 South as the Preferred Alternative giving consideration to economic, environmental, technical, and
other factors as detailed in the SDEIS and FEIS.

Response to DEIS Comment #2
Refer to Chapter 9, Section 3.1 for a response on Purpose and Need, effects of the Pandemic, and impacts of
teleworking/remote working.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-295

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SIERRA CLUB MARYLAND — BRIAN DITZLER Refer to page CO-535 for the Sierra Club comment response.

Brittany Rolf (Consultant)

From: Brian Ditzler <brian.ditzler@mdsierra.org>
Sent: Friday, August 28, 2020 9:24 PM

To: MLS-NEPA-P3

Ce: Lindsey Mendelson

Subject: Comments on 495-270 Managed Lanes Study
Attachments: Capital Beltway Accord Letter 8-27-20.pdf

The attached letter was sent to Governors Hogan and Northam, and MDCT Secretary Slater was copied on it.

Please include it in comments submitted on the Managed Lanes Study DEIS. An even more detailed set of comments on
the DEIS will be submitted by some of the signatories on this letter in October or early November.

Brian Ditzler
Maryland Sierra Club

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-296

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Refer to page CO-535 for the Sierra Club comment response.

August 27, 2020

Hon. Ralph Northam
Governor of Virginia
P.O. Box 1475
Richmond, VA 23218

Hon. Larry Hogan
Governor of Maryland
100 State Circle
Annapolis, MD 21401

Re: Capital Beltway Accord project

Dear Governor Northam and Governor Hogan:

As Maryland and Virginia work together to develop plans to expand capacity on the Capital
Beltway from the George Washington Memorial Parkway to River Road (“Capital Beltway
Accord project”), the undersigned groups believe any project that is advanced must be designed
to substantially expand transportation choices and align with both states’ goals for reducing
greenhouse gas emissions and other air pollutants, We recognize the need to rehabilitate the
American Legion Bridge and expand its capability to carry more people, but it is imperative that
the project plans be developed with full transparency and public input to ensure that these goals
are met and that public benefits are maximized.

In contrast, we believe a conclusions-first approach was used in the development of Maryland's
Beltway/I-495 and I-270 Managed Lanes proposal! (“495-270 proposal”) and Virginia’s 1-495
Express Lanes Northern Expansion (“495 NEXT”) project. As a result, the proposals that have
emerged from those processes are overwhelmingly focused on facilitating only one travel
mode—single occupancy vehicles (SOVs)}—and miss a major opportunity to reduce air and
climate pollution. We strongly urge you to take a very different and far more holistic approach
with the Capital Beltway Accord project, as discussed further below.

Specific shortcomings of Maryland’s 495-270 proposal and Virginia’s 495 NEXT project
include:

e Inadequate support for transit: Neither project provides adequate funding for transit
enhancements despite a demonstrated need for better transit along the Beltway corridor.
This is inconsistent with local land use plans. For example, Fairfax County's
comprehensive plan recognizes that high-quality transit service on dedicated or express

' Some of the signatories to this letter will be submitting a more detailed response to the Draft Environmental
Impact Statement on this project in Maryland.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-297

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Refer to page CO-535 for the Sierra Club comment response.

lanes is essential to the growth of Tysons.? Similarly, Montgomery's land use and
transportation consistently calls for the integration of bus rapid transit and other transit
modes into the county and region's transportation system.

e@ Insufficient alternatives analysis: Any effort to determine the most beneficial and
environmentally responsible options for improving I-495 through Maryland and Virginia
should evaluate a scenario focused on transit improvements with supportive land uses, as
recommended as one of the most cost-effective scenarios in the Metropolitan Washington
Council of Governments’ Visualize2045 Long-Range Transportation Plan.’ The addition
of improved and supported telework could enhance such alternatives. Yet the reviews for
both of these proposals under the National Environmental Policy Act (“NEPA”) have
failed to assess a robust range of alternatives and instead have focused too heavily on
expanding SOV travel capacity. Highway expansion has repeatedly been proven to fail in
reducing congestion, and it results in increases in greenhouse gas emissions and other
pollution over time."

e@ Insufficient transparency: Virginia has, in recent years, strengthened its Public-Private
Transportation Act to improve transparency. However, in both states there are ongoing
communications with potential concessionaires that are shrouded from public view, and
these can result in projects like the 495-270 proposal and 495 NEXT being predicated on
maximizing toll revenue to meet financing assumptions rather than prioritizing public and
environmental benefits.

@ Undermining of air quality and greenhouse pas emissions goals: Transportation is the
leading contributor to greenhouse gas emissions in Virginia and Maryland, driven largely
by private auto travel. Further, the D.C metropolitan area is currently in non-attainment
of Federal ozone standards, and the health costs of highway-related particulate matter
(PM 2.5) pollution are increasingly apparent. To reduce greenhouse gas emissions and
other air pollution, state governments must promote more transit, bicycling, walking, and
transit-oriented development (TOD) rather than facilitating and encouraging more
driving. Yet the 495-270 proposal and 495 NEXT project both promote and facilitate
SOV travel, undermining both states’ efforts to reduce greenhouse gas emissions and
improve air quality.

e Economie and social inequity: It costs an average of $9,282 a year to own and maintain a
car, according to 2019 AAA figures (https: //newsroom.aaa.com/auto/your-driving-costs/),
and many in the workforce earn less than $50,000 a year. These two projects based on

? See Comprehensive Plan-Tysons Comer Urban Center, “Public Transportation Goals,” ppg. 42-43, at

https /wwow_fairfaxcounty.gov/tysons/sites/tvsons/files/assets/documents/pd{/comprehensive_plan/fe_comp_plan20)
l7ed_tysons amendedO4 04 2017.pdf

* See Metropolitan Washington Transportation Planning Board Visualize 2045 Long-Range Plan (approved 2018),
Chapter 4 (Aspirational Element), hups://www_ mweoe org/assets/1/6/Final Visualize 2045 - Chapter 4 pdf The
balanced jobs-housing, scenario was found to be one of the cost-effective ways to mitigate congestion.

* For a recent study of the ineffectiveness of road capacity expansion to provide long-term congestion relief, see
Todd Litman, Generated Traffic and Induced Travel: Implications for Transport Planning, Victoria Transport
Policy Institute, 2020. https://www_vipiorg/gentraf pdf

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-298

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Refer to page CO-535 for the Sierra Club comment response.

variably-priced express lanes that will be too expensive for many workers to use will do
too little to expand access to jobs and services for residents who cannot afford the high
costs of owning a car. Construction of the proposed Maryland 495-270 managed lanes
will directly impact areas where 60% of the population is minority (African-Americans,
Latinx, and Asian), according to the Draft Environmental Impact Statement.*

® Negative impacts to national, state and local parks in both states, and notable
environmental impacts: As currently proposed, these two projects will directly or
indirectly damage six national parks and acres of regional park sites. The reviews of these
projects under NEPA, Section 4(f) of the Department of Transportation Act. and Section
106 of the National Historic Preservation Act have failed to result in sufficient avoidance
and minimization of impacts to parkland and historic resources. The environmental
impacts of both projects are significant, as documented in their environmental analyses.
The 495-270 project will result in the loss of some 1,500 acres of tree canopy, 16 acres of
wetlands, approximately 50 acres of wetland buffers, and will have direct and indirect
impacts on 30 miles of streams.® The 495 NEXT project will result in loss of 118 acres of
tree canopy, and have direct impacts on 19.8 acres of wetlands and more than two miles
of streams.’

Strenethening the Capital Beltway Accord

Many of the undersigned groups are working to address these and other flaws with the Maryland
495-270 and Virginia 495 NEXT proposals within our respective jurisdictions. However,
because Maryland and Virginia are proceeding with planning the Capital Beltway Accord
project. and because that project implicates the interests of all of our groups, we are jointly
sending this letter to request that your efforts to develop plans for the Capital Beltway Accord
project avoid the mistakes listed above by including the following elements:

* Commitment to a transparent project review process that includes a full analysis of
alternatives. Virginia's experience with using public-private partnerships to advance
transportation proposals has shown the review processes must be structured very
carefully and transparently to deliver maximum public benefits, and that rigorous NEPA
reviews can help officials avoid wasting public money and resources on flawed and
environmentally destructive projects. Any public-private partnership pursued for the
Capital Beltway Accord project must not short-circuit important aspects of transportation
project planning and approval under the NEPA process. The alternatives studied must

* Draft Environmental Impact Statement, J-270 and 1-495 managed lanes study, Section 4.2.2 on p. 4-10, https://495-
270-p3.com/wp-content/uploads/2020/O7/DEIS Ch4 Environmental pdf

*Thid,, Table 4-1 on p. 4-3.

’ Draft Environmental Assessment, Natural Resources Technical Report, 495-NEXT, p. 11 (stream impacts); p. 20
(wetlands impacts); p. 39 (tree loss). /www.495northernextension.org/documents/pim032020/1-

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-299

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Refer to page CO-535 for the Sierra Club comment response.

include integrated land use (transit-oriented development and jobs/housing balance),
expanded transit options, and travel demand management (including telecommuting and
park & ride expansion). Estimates of likely greenhouse gas emissions should be provided
for cach of the different alternatives.

One viable alternative to study would be to combine expanded telecommuting with new
transit. Over the last six months, hundreds of thousands of the region’s erstwhile
commuters successfully and efficiently worked from home. While the region’s workers
may not all be able to make this a permanent condition, if a significant proportion of
telecommuting continued into the future, even if combined with regular in-office
meetings and off-peak in-office work commuting, it could well eliminate the need for a
significant amount of new investment in SOV access. Instead of investment in hundreds
of new lane-miles, vastly improved high-speed internet capacity and access -- especially
for those who do not currently have it -- might provide an effective substitute, with
substantially lower environmental impacts and costs.

* A significant contribution to expanded transit. As noted above, both the 495-270
project and 495 NENT provide inadequate funding for transit. The Capital Beltway
Accord project provides an opportunity to remedy this by funding enhanced transit
service along the Beltway corridor between Virginia and Maryland as well as on
neighboring roads, The I-66 Outside the Beltway concession includes annual dedicated
funding for enhanced transit. A similar funding commitment should be part of the Capital
Beltway Accord project to activate high-quality transit on 495,

¢ Full evaluation of accommodations for heavy rail on the American Legion Bridge. In
order to achieve climate goals and meet the travel needs of future populations in the
Tysons-Bethesda corridor, evaluation of alternatives for bridge rehabilitation or
expansion must fully analyze accommodation of heavy rail, such as expansion of the
Purple Line into Virginia. The design for the Woodrow Wilson Bridge provides a good
example, as it allows for future rail or other high-capacity transit on two of that bridge’s
twelve lanes.

® Grade-separated bicycle and pedestrian facilities that connect with trail systems in
Maryland and Virginia. Including bicycle and pedestrian facilities across the American
Legion Bridge is essential to overcoming its current barriers to active transportation and
providing a much-needed connection to a regional multi-use trail network. Ensuring these
facilities are provided and take the form of grade-separated interchanges would provide
maximum safety to all trail users. These should be designed in full coordination with the
National Park Service and local park authorities to ensure they avoid park resources and
maximize protection of environmental resources.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-300

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Refer to page CO-535 for the Sierra Club comment response.

Thank you for your consideration of our comments and concerns. We look forward to being
involved in the planning process for the Capital Beltway Accord project. Please note that some
of the signatories to this letter will be submitting in October a detailed analysis of the DEIS for
Maryland's 495-270 proposal.

Sincerely,

Karen Campblin and Douglas Stewart
Transportation Co-Chairs, Virginia Sierra Club

Josh Tulkin
Director, Maryland Sierra Club

Shruti Bhatnagar
Chair, Montgomery County Sierra Club Group

Stewart Schwartz
Executive Director, Coalition for Smarter Growth

Morgan Butler, Senior Attorney
Southern Environmental Law Center

Denisse Guitarra
Maryland Conservation Advocate
Audubon Naturalist Society

Renee Grebe
Northern Virginia Conservation Advocate
Audubon Naturalist Society

Pamela Goddard
Senior Program Director, Mid-Atlantic Region, National Parks Conservation Association

Alison Prost, Esq.
Vice President for Environmental Protection and Restoration
Chesapeake Bay Foundation

Brad German
Citizens Against Beltway Expansion, Maryland

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CcO-301

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- \ OP LAN ES |-495 & |-270 Managed Lanes Study

MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

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ec: Shannon Valentine, Virginia Secretary of Transportation
Nick Donohue, Virginia Deputy Secretary of Transportation
Gregory Slater, Maryland Secretary of Transportation
Peter Franchot, Maryland Comptroller
Nancy K. Kopp, Maryland Treasurer

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-302

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT
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SIERRA CLUB MARYLAND — JOSH TULKIN Refer to page CO-535 for the Sierra Club comment response.

From: Josh Tulkin <josh.tulkin@mdsierra.org>

Sent: Friday, October 23, 2020 4:13 PM

To: Lisa Choplin; Parikh, Jitesh (FHWA); jeanette.mar@dot.gov; 495-270-P3; MLS-NEPA-P3

Subject: Request for I-495/I-270 DEIS underlying data

Follow Up Flag: Follow up

Flag Status: Flagged

Good afternoon, Ms. Chaplin and Mr. Parikh:

In previous emails we have provided the legal basis for requesting underlying data used in the |-495/I-270 Managed
Lanes Study Draft Environmental Impact Statement (DEIS). Specifically,

40 C.F.R. § 1500.1(b) (2019) (“NEPA procedures must insure that environmental information is available to public
officials and citizens before decisions are made and before actions are taken. The information must be of high
quality. Accurate scientific analysis, expert agency comments, and public scrutiny are essential to implementing
NEPA"); id. § 1502.21 (2019) (underlying data may be incorporated by reference only if “it is reasonably available
for inspection by potentially interested persons within the time allowed for comment”); WildEarth Guardians v.
Mont. Snowmobile Ass'n, 790 F.3d 920, 925 (9th Cir. 2015) (“To fulfill NEPA’s public disclosure requirements, the
agency must provide to the public ‘the underlying environmental data’ from which the [agency] develops its
opinions and arrives at its decisions.”).

We are therefore requesting:

1) The underlying data and complete itemized budget that went into Table 8-1 (Appendix B, page 148), including the
assumed "efficiencies" coefficient and detailed explanation of any and all assumptions used to lower the estimates.

2) The breakdown of the numbers in Table 3-10 (Appendix E, page 63) in terms of lists of place names. The place name
information is not clearly presented in the DEIS and appendices, and is in many cases not determinable from the
information provided in the DEIS.

3) The breakdown of the numbers in Table 3-11 (Appendix E, page 66) in terms of lists of place names and addresses.

4) The DEIS provided estimated opening year (2025) average weekday toll rates per mile, varying from $0.68 per mile to
$0.77 per mile. In order to calculate an average, the data necessarily contains maximum and minimum tolls. Please
provide the underlying data for 13 time periods and underlying data for the average tolls given on DEIS page 2-43,
including the maximum and minimum tolls.

5) The AM peak per mile rates were given on page 883 of Appendix C. Please provide the equivalent table for the PM
peak.

6) Any cost-benefit or value-for-money analysis done for this project to establish the cost-savings of using the public-
private partnership financing method in place of increasing bonding capacity and using a more traditional design-build
approach.

We need this information for our comments on the DEIS. We request this data by November 4, 2020.

Many thanks,
Josh Tulkin

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-303

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1-495 & |-270 Managed Lanes Study
MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

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Josh Tulkin
State Director
Maryland Sierra Club

josh.tulkin@mdsierra.org

Sierra Club Maryland Chapter
7338 Baltimore Avenue #102
College Park, MD 20740
Direct: 240-764-5307

Mobile: 650-722-3171

http: //si “lub

In today's political climate, state-based action is the best way to move towards zero waste, clean transportation and 100%
renewable energy. Support Sierra Club's bold, grassroots approach: Donate to the Maryland Chapter today

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-304

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

SIERRA CLUB MARYLAND CHAPTER ET AL. Refer to page CO-424 for the full Sierra Club comment letter and page CO-535 for the Sierra Club comment response.

Sierra Club Maryland Chapter

Please find the attached comments on the I-495 and I-270 Managed Lanes Study Draft
Environmental Impact Statement/Draft Section 4(f) Evaluation and Joint Federal/State Application
(JPA) for your review and consideration (USACE Application Number (NAB-2018-02152) and the
MDE Tracking Numbers 20-NT-0114 / 202060649). Also attached is a list of attachments to the
comments (the actual files will be sent separately) for your review and consideration. Please
confirm receipt. The comments are submitted on behalf of the following Organizations:

Sierra Club Maryland Chapter

350 Montgomery County, MD

Audubon Naturalist Society

Baltimore 350

Baltimore Transit Equity Coalition

Bikemore

Breathe Free Montgomery

Cedar Lane Unitarian Universalist Church Environmental Justice Ministry
Central Maryland Transportation Alliance

Chesapeake Bay Foundation

Citizens Against Beltway Expansion

Coalition for Smarter Growth

Dont Widen270.org

DoTheMostGood Montgomery County

Forest Estates Civic Association

Forest Glen Citizens Association

Friends of Moses Hall Consulting Party (Cabin John, MD)
Friends of Quincy Watershed

Friends of Sligo Creek

Greenbelt Climate Action Network

HoCo Climate Action (Howard County)

Indian Spring Residents Opposed to Beltway Widening Group (ISROBWG)
Indivisible Howard County

Interfaith Power & Light (DC.MD.NoVA)

League of Women Voters of Maryland

Long Branch Civic Association

Maryland Conservation Council

Maryland Legislative Coalition

Maryland PIRG

College Park Mayor Patrick Wojahn

Montgomery County Faith Alliance for Climate Solutions
NAACP Maryland State Conference

National Parks Conservation Association

Neighbors of the Northwest Branch

North Hills of Sligo Creek Civic Association

Our Revolution Maryland

Nova Citizens Association

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-305

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SIERRA CLUB MARYLAND CHAPTER ET AL. — IAN FISHER Refer to page CO-535 for the Sierra Club comment response.
From: Tan Fisher <ifisher@jillqrantlaw.com>
Sent: Monday, November 9, 2020 9:29 AM
To: MLS-NEPA-P3; Lisa Choplin; jeanette.mar@dot.gov
Ce: Mary Clemmensen
Subject: Question re submitting comment attachments

Good Morning,

We have around 190 attachments to comments from Sierra Club Maryland Chapter et al. on the |-495 |-270 Managed
Lane Study DEIS. We see that the online form only allows 5 at a time and it is likely that the email to submit comments
to will reject a submission with a large amount of attachments. We were wondering if the attachments can be submitted
by uploading them to a third party file sharing website (such as Dropbox) and then sending the link for the files to be
downloaded to the record and to be considered? Or is there another option that would be more efficient? Thank you for
your help.

lan

lan Fisher

Associate Attorney

Jil! Grant & Associates, LLC
1319 F Street NW, Suite 300
Washington, DC 20004

Tel: 202-821-1948

Fax: 202-459-9558
ifisher@jillgrantlaw.com
www jillgrantiaw.com

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IF this email concerns lega! matters, this communication and any attachments are attorney-client privileged and
confidential and intended for use only by the individual or entity named above as the intended recipient. If you are not
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attachments. Thank you.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-306

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1-495 & |-270 Managed Lanes Study

FINAL ENVIRONMENTAL IMPACT STATEMENT

SUBURBAN MARYLAND TRANSPORTATION ALLIANCE (SMTA) — JENNIFER RUSSEL

From:

Sent:

To:

Ce:

Subject:
Attachments:

jenrusselbhi@gmail.com

Wednesday, August 26, 2020 2:55 PM
MLS-NEPA-P3
jenrusselbhi@gmail.com

Testimony of the |-495/I-270 P3 DEIS
DEIS testimony.docx

Attached please find testimony | delivered last week on August 20, 2020 representing Suburban Maryland
Transportation Alliance/Citizens4 Traffic Relief.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-307

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FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

SUBURBAN MARYLAND
TRANSPORTATION ALLIANCE

Good afternoon. | am Jennifer Russel Vice Chair of Suburban Maryland Transportation Alliance, also
known as SMTA. | am speaking on behalf of SMTA and its grass-roots organization Citizens 4 Traffic Relief.

(We wish to heartily support moving forward with the P3 Project which seeks to improve !-495/1-270. The
DEIS is of course an overwhelming document and much has been said about time to respond, insertion of
new information and the like. However, the bottom line remains the same, in the real world, as opposed
to the current Covid nightmare, we will still be strangulating in traffic as data incorporated in the DEIS
cites 2040 highway speeds of 15 mph or less extending beyond traditional rush hour periods because
another 1.2 million people will be populating the region by that year. Efforts to delay the process for the
P3 seem to be the opposition’s answer to reduce current (non-pandemic) congestion and congestion in
the future-how does that make sense as an answer?

More delay must not be the answer for a project that has been under study for 30 years as part of the
Region’s long-range plan. We must also not make the grievous error of thinking that recent increases in
tele-work which have reduced commuting trips in the short term will rid us of congestion. Be aware that
commuting trips only make up about 20% of all trips and there are sectors of the economy that will never
enjoy that opportunity.

Several of the proposed alternatives will make significant impacts on congestion by reducing system wide
delays of up to 35%. This is a no-brainer that we must embrace. It is vital that we recognize the unique
value of the P3 as an instrument to provide the funding that the State does not have the money or bonding
capacity to produce. There is no other viable means to acquire the funds to underwrite such an ambitious
road project whose key improvement to the American Legion Bridge has been needed in the region for
years.

We suggest that Alternatives 9 and 10 perform well with respect to metrics, with Alternative 9 offering
the added benefits of boosting carpool and vanpool usage due to the use of HOV lanes. It is also important
to realistically evaluate the environmental impacts of the project which are less than other projects of this

scale, because importantly the project only involves widening existing facilities.
a

SMTA and Citizens4 Traffic Relief say let’s be smart and take the bull by the horns and use this opportunity
to move forward for the region. Thank you for the opportunity to testify.

Jennifer Russel, Vice Chair
SMTA

Citizens4 Traffic Relief

Response to DEIS Comment #1

MDOT SHA and FHWA appreciate your comment on the proposed action. As a result of the NEPA process, including
consideration of all public, stakeholder and agency comments concerning the project, MDOT SHA and FHWA have identified
Alternative 9 — Phase 1 South as the Preferred Alternative giving consideration to economic, environmental, technical, and
other factors as detailed in the SDEIS and FEIS.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-308

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1-495 & |-270 Managed Lanes Study
MARYLAND

FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

SUBURBAN MARYLAND TRANSPORTATION ALLIANCE (SMTA) — EMMET TYDINGS

Emmet Tydings

I am in total support of the P3 tolled lanes project for 1495/1270/ ALB with four new lanes and am
attaching a statement of support from my position as Executive Director Pro Tem of Suburban
Maryland Transportation Alliance.

Response to DEIS Comment #1

MDOT SHA and FHWA appreciate your comment on the proposed action. As a result of the NEPA process, including
consideration of all public, stakeholder and agency comments concerning the project, MDOT SHA and FHWA have identified
Alternative 9 — Phase 1 South as the Preferred Alternative giving consideration to economic, environmental, technical, and
other factors as detailed in the SDEIS and FEIS.

The following pages reflect the attachments included in the letter. There are no comments or responses provided on these
pages; they are included for the record.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-309

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

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SUBURBAN MARYLAND
TRANSPORTATION ALLIANCE

1-495 & I-270 Managed Lanes Study

Draft Environmental Impact Statement (DEIS): a
The Suburban Maryland Transportation Alliance (SMTA) was formed to get
Highl ights and Key Findings Maryland moving again by providing expert analysis, public education, and ongoing

advocacy for a more efficient, safe, and balanced transportation network in
Suburban Maryland.

About the Suburban Maryland Transportation Alliance (SMTA):

November 9", 2020

For more information visit:
MdTransportation.org

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-310

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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SUBURBAN MARYLAND
TRANSPORTATION ALLIANCE

Executive Summary — The Three Most Important Conclusions from the I-495 & I-270

Managed Lanes Study Draft Environmental Impact Statement (DEIS):

This DEIS is the definitive study to date of the various
options available to address current and future traffic
congestion on this portion of the Beltway and I-270, as ow 2 >

part of the larger |-495 & |-270 P3 Program. The |

Managed Lanes Study DEIS includes most of the Capital =

Beltway, from the American Legion Bridge to Route 5, dem tnditenmasn |
and the lower section of |-270, as far north as the |-370 a
interchange. Future studies will address the remainder
of |-270 and the Beltway in Maryland. Figure ES-1 (p.
ES-1) illustrates the study corridors.

Figure ES- 1: 1-495 & 1-270 Managed Lanes Study Corridors

Elected officials and residents of these two heavily :
congested corridors should take the time to read the |

now under consideration all include adding new managed lanes in both corridors, along with an extensive
network of express-bus service using the new managed lanes, as called for in our region's approved long-
range plans. These build alternatives offer a range of benefits and impacts:

« §6Alternatives 9 and 10 clearly perform best in terms of addressing current and future traffic and
financial viability. Alternative 9 provides more incentive for carpools and vanpools and has a slightly
smaller footprint, and therefore is the best option in our judgement.

« Alternatives 8, 9M, 13B and 13C offer more modest travel benefits, with only slightly fewer
environmental impacts, and are less financially viable (and therefore more likely to require some
public subsidy).

« The No-build Alternative (Alternative 1), and two other build options that were studied but rejected
(Alternative 5 and the MD-200 Diversion Plan offered by Montgomery County) are clearly not viable,
based on the DEIS results, and are not being considered further.

The environmental and right-of-way impacts among the various build alternatives does not differ
dramatically, and these impacts are significantly less than several other recently approved projects in our
region (like the ICC and the Purple Line). For this reason, SMTA recommends selection of a preferred
alignment based mainly on transportation performance metrics. It is also worth noting that significant new
transit services and Transportation Demand Management (TDM) solutions have been incorporated into all
the remaining build alternatives.

DEIS, or at least the executive summary (21 pages) and 3. Is the P3 Program financially viable and can this Program be delivered at no taxpayer expense? Yes, it

can. The DEIS explains why we need a P3 Program to deliver these improvements, as the State of
Maryland lacks funding and bond capacity to fund it any other way. The DEIS reveals that all of the build
alternatives can provide a very substantial positive cash flow under both the low-cost and medium-cost
assumptions. Only the worst-case assumptions regarding future interest rates and higher construction
costs would produce negatives cashflows. So the P3 Program does appear to be financially viable and can
be delivered at no cost to taxpayers. Financial risk can best be minimized by moving the project forward
quickly, to take full advantage of historic low interest rates we are now seeing. Further delay adds
significant cost to the project. So Maryland officials would be wise to do their best to avoid further delay
on a project that has already been studied for 30 years.

some of the key sections of the main report (353
pages). This summary is intended to cover the most
important points in the report and provide additional
context on some of its key findings. Much of the data in
the DEIS is presented visually in graphs and data tables
that are easily digested by transportation experts and
non-professionals alike. It is posted at: 495-270-p3.com/DEIS/

The DEIS clearly answers many of the questions people have raised in the public discussion of this project,
including these three key questions that ought to inform the public debate on the P3 Program:

1. Do we need to move forward with these improvements to the Beltway and |-270? Yes, we do, clearly.
The DEIS underscores the importance of moving ahead with congestion relief for the American Legion
Bridge, |-495 and I-270 in Maryland. Traffic is forecast to grow much worse between now and 2040, as
another 1.2 million people are projected to be living here by then and using our already outdated and
overburdened transportation networks. The DEIS analysis shows clearly that a “no-build” scenario will lead

The DEIS findings on these three questions should reassure the public and local officials regarding the critical
importance and effectiveness of the proposed improvements to the American Legion Bridge, the Beltway and
1-270. These improvements remain top priorities for Montgomery, Frederick and Prince George’s Counties,
and should move forward as called for in our region’s adopted long-range transportation plans.

The next step is to get public feedback, not just from the usual opposition groups who are always heard from,
but from the other 90% of us who use our road network every day and are fed up with sitting in stalled traffic
and crushing congestion delays on the American Legion Bridge and |-270.

to dramatically worse levels of congestion, well above current levels, that are not sustainable froma
quality-of-life, economic, or environmental standpoint. There is no indication that the current COVID-19
pandemic, or any changes in telework patterns (even if they prove lasting), will have any significant impact
on these 2040 conditions, other than recent expert projections that traffic may get slightly worse as a
result of the COVID pandemic, as more people shift from public transit to private automobiles, due to
growing health concerns regarding shared public spaces.

We all know the current conditions during this pandemic are just a temporary reprieve, and traffic will soon be
back to our usual nightmarish normal. Now is our chance to move forward on some of the long-term, multi-
modal solutions outlined in the DEIS that we now know will bring lasting and dramatic relief.

2. Which alternatives were studied, and which perform best? The DE!S documents a long list of alternatives
that were considered, including many forms of mass transit and other non-toll alternatives, and the
reasons why some were dropped. In the case of all the stand-alone transit options, a range of light-rail,
heavy-rail and bus alternatives were studied and rejected. All were dropped because they were found not
to be effective in addressing congestion and because they were not found to be financially viable (all
previous studies in these corridors have reached similar conclusions). The remaining build alternatives

Anyone can review the documents at 495-270-p3.com/DEIS/ and submit public comments in various ways as
indicated on the Program website. We encourage everyone who uses our region’s crowded highways to read
the report and make sure they comment. A more detailed analysis follows below.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CcO-311

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MARYLAND

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FINAL ENVIRONMENTAL IMPACT STATEMENT

now under consideration all include adding new managed lanes in both corridors, along with an extensive
network of express-bus service using the new managed lanes, as called for in our region’s approved long-
range plans. These build alternatives offer a range of benefits and impacts:

« §6Alternatives 9 and 10 clearly perform best in terms of addressing current and future traffic and
financial viability. Alternative 9 provides more incentive for carpools and vanpools and has a slightly
smaller footprint, and therefore is the best option in our judgement.

* Alternatives 8, 9M, 13B and 13C offer more modest travel benefits, with only slightly fewer
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public subsidy).

« The No-build Alternative (Alternative 1), and two other build options that were studied but rejected
(Alternative 5 and the MD-200 Diversion Plan offered by Montgomery County) are clearly not viable,
based on the DEIS results, and are not being considered further.

The environmental and right-of-way impacts among the various build alternatives does not differ
dramatically, and these impacts are significantly less than several other recently approved projects in our
region (like the ICC and the Purple Line). For this reason, SMTA recommends selection of a preferred
alignment based mainly on transportation performance metrics. It is also worth noting that significant new
transit services and Transportation Demand Management (TDM) solutions have been incorporated into all
the remaining build alternatives.

3. Is the P3 Program financially viable and can this Program be delivered at no taxpayer expense? Yes, it
can. The DEIS explains why we need a P3 Program to deliver these improvements, as the State of
Maryland lacks funding and bond capacity to fund it any other way. The DEIS reveals that all of the build
alternatives can provide a very substantial positive cash flow under both the low-cost and medium-cost
assumptions, Only the worst-case assumptions regarding future interest rates and higher construction
costs would produce negatives cashflows. So the P3 Program does appear to be financially viable and can
be delivered at no cost to taxpayers. Financial risk can best be minimized by moving the project forward
quickly, to take full advantage of historic low interest rates we are now seeing. Further delay adds
significant cost to the project. So Maryland officials would be wise to do their best to avoid further delay
ona project that has already been studied for 30 years.

The DEIS findings on these three questions should reassure the public and local officials regarding the critical
importance and effectiveness of the proposed improvements to the American Legion Bridge, the Beltway and
|-270. These improvements remain top priorities for Montgomery, Frederick and Prince George's Counties,
and should move forward as called for in our region's adopted long-range transportation plans.

The next step is to get public feedback, not just from the usual opposition groups who are always heard from,
but from the other 90% of us who use our road network every day and are fed up with sitting in stalled traffic
and crushing congestion delays on the American Legion Bridge and |-270.

We all know the current conditions during this pandemic are just a temporary reprieve, and traffic will soon be
back to our usual nightmarish normal. Now is our chance to move forward on some of the long-term, multi-
modal solutions outlined in the DEIS that we now know will bring lasting and dramatic relief.

Anyone can review the documents at 495-270-p3.com/DEIS/ and submit public comments in various ways as
indicated on the Program website. We encourage everyone who uses our region’s crowded highways to read
the report and make sure they comment. A more detailed analysis follows below.

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SUBURBAN MARYLAND
TRANSPORTATION ALLIANCE

1-495 & |-270 Managed Lanes Study DEIS: Highlights and Key Findings

Introduction:

The Suburban Maryland Transportation Alliance (SMTA)
has reviewed the |-495 & |-270 Managed Lanes Study
Draft Environmental Impact Statement (DEIS) and
encourages everyone to read at least the 21-page
executive summary. Key sections of the 353-page study
are summarized below, including the chapters detailing
how the various alternatives perform in terms of traffic
relief and other key metrics.

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We wish to point out, at the outset, that this is just the
latest study of transportation options in these two
heavily congested corridors, in what has already been a
30-year study process. Three previous major corridor
studies have already been conducted on both the
Capital Beltway and |-270 corridors. All of these studies
have produced similar findings: Namely, that a
combination of new lane capacity and enhanced transit
is needed in both corridors to address current and
future travel needs. Not only do we need to address .
the needs of commuters (who comprise 19% of daily Ja c Bil
trips), but other needs for interstate travel, errands and other non-commuting trips, shipping and freight
deliveries as well.

This is important because non-commuting trips make up 81% of daily traffic in our region and these trips will
never be served to any significant degree by transit or telework. That is why all previous studies, and this one,
indicate that the only effective solution to congestion in these corridors must include new lane capacity on our
major interstates as part of the solution, along with any new transit services.

For this reason, after several years of study, the Metropolitan Washington Council of Governments
Transportation Planning Board (TPB) adopted a long-range plan, called “Visualize 2045,” to meet the needs of
the estimated 1.2 million more residents the region is projected to add by 2040. That plan includes adding two
new managed lanes to the Beltway and |-270, with express buses using the new lanes. Several of the build
alternatives in the DEIS are consistent with the region’s adopted long-range plan. The “No-build Alternative” is
not consistent with the region's adopted long-range plan.

We encourage everyone to review the DEIS and submit comments during the official comment period. You can
review the full report, and learn more about how and when to comment, at: 495-270-p3.com/deis/

This overview of the key findings of the DEIS is intended to help brief public officials, transportation reporters,
residents and other stakeholders in our community who wish to know the facts but do not have time to read
the entire 353-page DEIS. The following pages summarize the key findings of the DEIS, including excerpts from
key sections (with citations to the pages in the DEIS) and additional observations based on our expertise on
regional transportation issues.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-312

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

The MLS Draft Environmental Impact Statement and the NEPA Study Process:

The Managed Lanes Study Draft Environmental Impact Statement is a 353-page document that provides a
wealth of information about the various alternatives now under study to relieve severe traffic congestion on
two of Maryland’s most crowded interstates. The issuance of a DEIS for public comment is a required step in
the National Environmental Policy Act (NEPA) study process. The entire DEIS report is now available for public

comment at: 495-270-p3.com/DEIS.

The DEIS includes a 21-page Executive Summary of the report on the same website, as well as roughly 18,000
pages of highly detailed technical analyses and other details in the appendices. It is not necessary to read
through all the technical analysis, as the findings of that analysis are presented in the DEIS itself.

The Executive Summary describes where we are in the study process, the initial range of 15 major alternatives
that were considered, and how those alternatives were narrowed down to the 6 remaining build alternatives
retained in the DEIS. A brief overview of the key findings for each of the build alternatives is also presented in
the Executive Summary, along with answers to many of the key questions about the Managed Lanes Study and
the broader |-495 & |-270 P3 Program. The figure below illustrates where we are in the MLS study process.

Figure ES- 2: Alternatives Screening Process

%t 2045 Forecasted %
Geography 2000 2020 Since aaa Forecast increase 2020 to
2045
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mou Rint oul) Bera Gy PCa | Aainctid * Brings Qeorge:s 805,723 923,100 14.6% 995,900 7.9%
Preaetaes ON ged Pe) ee ey barr (iris) eer County —
a) ra eo inner Washington, DC | 369386 | 529,400 | 35.6% 681,500 28.7%
Suburbs? : ! : ‘ :
Outer ANSE EAN DC 891,273 | 1,093,000 22.6% 1,204,700 10.2%
Suburbs
MWCOG Rianne 4,385,759 | 5,690,000 29.7% 6,925,700 21.7%
Area Counties Total

The public now has an opportunity to comment on the DEIS. The Maryland Department of Transportation
(MDOT), State Highway Administration (SHA), and Federal Highway Administration (FHWA) will then respond
to those comments, prior to the issuance of a Final Environmental Impact Statement (FEIS) expected
sometime next year. Once the FEIS is completed, and a Record of Decision Signed, the State can proceed to
obtaining permits and start construction on whichever alternative is selected, using an innovative public-
private-partnership (P3) model for financing and construction of the project.

Key Questions Answered by this DEIS:

As noted, this is not the first major study of these corridors, so much is already known about the impact
various types of investments would have on congestion. With the publication of this DEIS, several key
questions about the MLS have now been answered even more definitively, and significant new information
has come to light that underscores the importance of this project, which addresses a need identified by
regional transportation experts as a top priority roughly three decades ago. As one of the main transportation
advocacy organizations in the Greater Washington Region, since 2009, the Suburban Maryland Transportation
Alliance has participated in many previous studies on both the |-270 and |-495 corridors. Drawing upon this
experience, and the expertise of our members and Advisory Board, we have organized this report around the
three key questions transportation experts ask about this project, all of which the DEIS answers definitively.

4

1. Dowe need to move forward with these improvements to the Beltway and I-270?

The answer is aclear and unequivocal “yes.” The DEIS underscores many of the key reasons for moving
ahead with congestion relief for the American legon Bridge, 1-495 & |-270in Maryland that emerged from
previous studies.

First, traffic is forecast to get much worse asthe region continues to gow between now and 2045. The
DEIS analysis of no-build conditions indicates levels of congestion that are not sustainable, fram aquality
of life, economic development, or environmental standpoint. The need for the project is quite clear and
compelling (see DEIS pp. 1-4 to 1-13). There is also no indication in any data we have seen that the current
COVID-related shutdown will have any long-term effects on population growth or trafficlevelsin 2040,
2045 or beyond. Consider these key facts:

The region’s population is projected grow by nearly 22% by 2045, an increase of over 1.2 million
people compared to our population today (DEIS p. 1-5), All thase additional people will be
traveling on interstates that are already heavily congested today.

Table 1-Linthe DEIS shows the growthin travel dem and that is projected.

Table 1-1: Regional Population Growth

Sources: MWCOG (2006; 2018)
‘ As defined by MWCOG and includes Calvert, Chares, and Frederick Counties.
! As defined by MWCOG and includes Anne Arundel, Carroll, and Howard Counties.

The region’s employment base is projectedto grow by 27% by 2045, an increase of about 913
million jobs (DEIS, p, 1-6). However, employers will not come here ta Maryland, or stay in the I-
270 corridor if we do not address the severe congestion on |-270 and the American Legion Bridge.

Severe congestion in these corridors poses a serious long-term threat to our quality of life,
employment growth and air quality, and it isamongthe top complaints local employers hear in
tryingto recruit top talent to live or work in the Maryland portion of our region,

The need for this project, and the boost it will provide to future job growth, adding at least 13,000
new highly-paid jobs a year for each $1 billian spent (on an $8-10 billion project) has never been
more important than it isnow, given rising unemployment and a severe economic downturn. This
$8-10 billion stim ulus effect is nearly five times larger than the entire State of Maryland received
from Congressin COVID relief funds. Literally nothing on the horizon would do more to get our
regional economy going again.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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* OOVID has not changed any of the forecasts on which this project is based. In fact, vehicle traffic
has already rebounded to almast pre-COVID levels. Meanwhile, m ass transit ridership remains
severely reduced from pre-OOVID levels, and m ay take much longer to rebound, drivingmore
people to shift from transit to autos and increasing total auto trips over the longrun, As recently
reported (WTOP on 7/16/20), INRIX data reveal that auto trafficisnow back up to pre-COVID
conditions, while transit ridership is down by as much as 90% from pre-COVID levels, andis not yet
rebounding significantly.

® = =Recent changes in telework will not have much impact on future traffic volumes either, for the
obvious reason that only 19% of our daily trips involve commuting, and entire sectors of our
workforce can never telecommute anyway (for example, manufacturing, bio-tech, retail services,
hospitality, healthcare, ete.). So even a large increase in telework rates only impacts a small
fraction of the less-than-one-fifth of all daily trips that involves com muting in the first place, This
will never be enough to ease congestion in our region’s congested highways, because it does not
even address the vast majority of the trips we make, which have nothing to do with gaingto and
from work, This remaining 81% of daily trips, where telework will have exactly zero im pact,
includes non-work trips like shopping errands, interstate through-trips, package and freight
deliveries, movement of goods and services, tourism, client meetings, etc,-- none of these trips
are impacted by telecommuting by one iota— and these are most of the trips we make. It critically
important that policymakers understand that transportation is about a lot more than just
commuting to and from work, and this is precisely why telework alone can never address the
future congestion levels we are facing by 2040, 2045 and beyond.

The DEIS analysis shows us exactly how bad traffic is forecast to become if we do nothing. For more, see
Chapter 3 on “Transportation and Traffic” (DEIS pp. 3-5 to 3-7). Consider these findings fram the DEIS
regardinghow bad traffic is today and the level of increase projected in daily traffic volumes:

* Many segments of 1-270 and |-495 are currently among “the most heavily traveled, most
congested, and most unreliable roadway segments in Maryland” (DEIS p. 3-5).

« Many segments are currently operating at lessthan 20m ph, with some sections of the Beltway
operatingat lessthan 10mph duringpeak periods (DEIS p. 3-6).

© Average daily traffic is projected to increase by up to 17% in some of these sectionshy 2040 (DEIS
p. 3-7), meaning these major highways, and the local streets surroundingthem, will become much
more congested in 2040 than they are now if we do nothing to add new capacity,

Table 3-2: 2040 No Build Average Daily Traffic (ADT)

Existin No Build Percent
cetee Seprest ni (2040) Increase
1-370 to MD 28 226,000 265,000 17%
se MD 28 to [-270 Spur 259,000 299,000 15%
at American Legion Bridge 243,000 277,000 14%
MD 190 to |-270 Spur 253,000 282,000 11%
Between I-270 Spurs 115,000 127,000 7%
aa MD 355 to 1-95 235,000 252,000 7%
I-95 to US. 50 230,000 245,000 7%
U5 50 to MD 214 235,000 252,000 7%
MD 214 ta MD 4 221,000 244,000 10%
MD4toMDS 198,000 218,000 10%

The Purpose and Need Statement for the MLS Study (DEIS, p. ES-6) lays out a clear rationale for the
project, which includes the need to:

* Accommodate Existing Traffic and Long-Term Traffic Growth
* Enhance Trip Reliability

* Provide Additional Roadway Travel Choices

* Accommodate Homeland Security

* Improve Movement of Goods and Services

Two additional goals for the Study are: Financial viability and environmental responsibility. Several of the
build alternatives in the DEIS meet these needs and goals to varying degrees.

The DEIS makes clear that adding new managed lanes to portions of |-495 and |-270 is both much needed
and long overdue. We also wish to point out that “Fix 270 Now,” from the American Legion Bridge to
Frederick, was SMTA’s rallying cry back in 2015 and 2016, and we had overwhelming support for doing so
among Montgomery County and Frederick County elected officials, including most of the State legislators,
county council members, and other local officials. This included both the current County Executives in
Montgomery County and Frederick County. Both Counties have also submitted language explicitly calling
for new managed lanes on I-270 and portions of |-495 in their official “Priority” letters to MDOT since at
least 2015, and the region adopted a new long-range plan in 2017, after many years of study, that
explicitly adds two new lanes in each direction on all of |-270 and all of |-495 in Maryland. All of these
agencies and leaders have recognized and agreed with the need for these improvements. So we will now
turn to which alternatives delivers the best results.

. Which Alternatives were Studied, and Which Perform Best?

A wide range of alternatives were considered in the DEIS, including various forms of transit and other non-
road options that were later dropped after being found to be ineffective, fiscally unrealistic or both.
Opponents’ repeated claims that these options were not considered are patently false.

In addition, two new alternatives were studied extensively at the same level of detail as the other
alternatives retained for further study in the DEIS:

* MD-200 (ICC) Diversion Alternative. This option was evaluated at the request of Montgomery
County. This added new managed lanes on |-270 and portions of |-495 but did not add any new
lanes on the topside of the Beltway between |-270 and |-95. The theory was that enough people
would divert up I-95, across on the ICC, and down |-270 again, to avoid that heavily congested
section of |-495. Traffic modeling results did not support this alternative, which performed poorly
on most traffic metrics, led to increased congestion and was not financially viable. It was dropped
from further consideration but retained in the DEIS analysis. The DEIS concluded this alternative
“would perform the worst of all Screened Alternatives” and “would have the lowest average
speed compared to the Screened Alternatives” (DEIS, p. 2-21).

e Alternative 9M. This is a combination of Alternative 9 (a 2-lane HOT system) and Alternative 5 (a 1-
lane HOT system). Alternative 5 was found not to address congestion and underperformed all the
build alternatives. However, a new Alternative 9M was created combining Alternative 9 with a
one-lane HOT system, similar to Alternative 5, on the topside of the Beltway between |-270 and |-
95, witha 2-lane HOT system everywhere else, to meet Montgomery County's concerns.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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Here isthe complete list of preliminary alternatives that were studied (see DEIS p, 2-8);

® Alternative 1: No Build

« Alternative 2: Transportation Systems Management)/Transportation Demand Management

(TSM/TDM)

* Alternative 3: Add one GP Lane in each direction on |-495 and |-270
* Alternative 4: Add one HOV lane in each direction on |-495 and retain existing HOV lane in each

direction on |-270

« Alternative 5: Add one priced managed
lane in each direction on |-495 and
convert one existing HOV lane in each
direction to a priced managed lane on |-
270

« Alternative 6: Add two GP lanes in each
direction on |-495 and |-270

« Alternative 7: Add two HOV lanes in
each direction on 1-495 and retain one
existing HOV lane and add one HOV
lane in each direction on 1-270

® Alternative 8: Add two priced managed
lanes in each direction on 1-495 and add
one priced managed lane in each
direction and retain one existing HOV
lane in each direction on !-270

® Alternative 9: Add two priced managed

What are Managed Lanes?

Managed lanes are highway facilities that use
strategies, such os lone-use restrictions or congestion
Pricing, to optimize the number of vehicles that can
travel the highway to maintain free-flowing speeds.
Managed lanes ore designed to improve highway
operations and provide the driving public. as wel as
transit riders, with reduced congestion and improved
ffip refabiity. Managed lanes operate al an
acceptable level of senice even when the
QOdjacent general purpose lanes are congested
because they ore managed to control the number
of vehicles using the lane to keep them flowing.
Monaged lanes provide users with o more relicble
option toreach their destination(s). Managed Lanes
may include but ore not limited to: High Occupancy
Vehicles (HOV) lanes. High Occupancy Toll (HOT)
lanes. Express Toll Lanes (ETL). and bus-only lanes.

TE Bee tem ecciene))

All projects in the Financially Car d Long Range Plan (CLRP) including |-270 Innovative Congestion Management (CM)
Improvements, Purple Line, Condor City Transitwey Bus Rapid Transit, and. increased tnp capacity and frequency along all MARC lines

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Da eee ee Le a

lS Fre SE ars are Lam ees LE as LOA MALES Le [dL ee tS)

Add two ETL managed lanes in each direction on |-495 and add one ETL managed lane and retain one HOV lane in each direction on |-270

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i bay 3) so Se ea a

Janes in each direction on 1-495 and convert one existing HOV lane to a priced managed lane and
add one priced managed [ane in each direction on |-270

* Alternative 10; Add two priced managed lanes in each direction on I-495 and on |-270 and retain
one existing HOV lane in each direction on I-270 only

© Alternative 11; Physically separate traffic using C-D lanes, adding two GP lanes in each direction
on 1-495

« Alternative 12A: Convert existing GP lane on |-495 to contraflow lane during peak periods

« Alternative 126: Convert existing HOV lane on |-270 to contraflow lane during peak periods

« =6Alternative 134: Add two priced managed reversible lanes on 1-495

« Alternative 138: Convert existing HOV lanes to two priced managed reversible lanes on !-270
« Alternative 13C: Add two priced managed reversible lanes and retain one existing HOV lane in
each direction on 1-270

Alternative 144: Heavy Rail® transit

Alternative 148: Light Rail® transit

Alternative 14C: Fixed guideway Bus Rapid Transit (BRT)"° off alignment of existing roadway
Alternative 15: Add one dedicated bus lane on |-495 and !-270

Refer to the Alternatives Technical Report (Appendix B, Section 4.4) for additional details on the
Preliminary Range of Alternatives.

oe OMe em eet

Add two HOT managed lanes in each direction on |-495 and convert one existing HOV jane to a HOT managed lane and add one HOT managed
lane in each direction on 1-270

After detailed analysis was completed, the Alternatives were narrowed downto the following build
alternatives in the DEIS, all of which were found to meet the purpose and need for the project (with the
exception of Alternative 1, the No-Build Alternative, which doesnot meet the purpose and need).

It is important to note that all the build alternatives, including the No-Build Alternative, include many of the

transit options opponents have repeatedly called for as stand-alone altematives. So the performance of . Pe em Ce
these altematives has been studied and is assumed in all the remaining Alternatives. These include the
Purple Line, MARC system expansion, Corridor Cities Transitway and other proposed bus-rapid transit lines.
So when we hear opponents say, “we should upgrade MARC and other transit instead,” all of these are part
of the No-Build Alternative, which we already know leads to unacceptable levels of congestion.

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Add two HOT managed lanes in each direction on 1-495 between the study limits south of the George Washington Memorial Parkway and the 1-270 West Spur,
including the American Legion Bridge (ALB) and on 1-495 between I-95 and the study limits west of MD 5 Add one HOT managed lane in each direction on |-495
between the 1-270 West Spur and 1-95. On 1-270, convert one existing HOV lana to a HOT managed lane and add one HOT managed lane in each direction

1-495 from south of the ALB to I-270 west spur
and |-495 from I-95 to west of MD 5

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LAN 14:2 Sk Me a)

1-270

ao a eer re

Sie em oO lero em eee MON Melee (nem esl ene tm ead

Add two ETL managed lanes in each direction on !-495 and on /-270 and ratain ona axisting HOY lane in. each direction.on 1-270 only

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Cui ea ~~)

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PURE: See OM rare sth ee ears ele ea OM nici eM ese eel

Add two HOT managed lanes in each direction on 1-495 and convert existing HOV lanas to two HOT managed reversible lanes on |-270 while maintaining
‘General Purpose lanes.

~ Cay 9) etm w=

ro Cal 3) Skate 4 dee ~~

Add two ETL managed Janes in each direction on 1-495 and add two managed, reversible ETLs on |-270 while retaining HOV lanes adjacent to General Purpose
lanes.

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How Did the Various Build Alternatives Perform?

The DEIS documents reveal that several of the build alternatives would provide dramatic and lasting
traffic congestion relief, reduced travel times, and better transit access (more on this below}. It also
quantifies the environmental and other impacts each alternative would have, which are not as severe as
several other recent projects that nave won approval. Among the highlights:

e Alternatives 9 and 10, for examole, will reduce overall delay by 33% to 35%, a massive time
savings for millions of area residents (along with associatec fuel savings anc emission reductions).
All other build alternatives would reduce delay by at least 22% {DEIS p. 3-10).

* The DEIS flatly debunks several other transit and TDM/TSM options that opponent repeatedly cite
and that this study proves are simply not viable. [hese were evaluated in previous studies as well
and also found not to address our transportation needs in these corridors. However, robust transit
and TDM/TSM elements now have been incorporated into all the remaining build alternatives.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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How Much Would the Alternatives Reduce Congestion and Delay?
The tables below from the 495-270-p3.com website and the DEIS document summarize how each

alternative performs on the most important transportation metrics: reductions in average delay, person
throughput, and travel time savings.

« Average delay per vehicle q fies the of time are d
area
« All Build Atematives are projected to reduce delay by 20% or more compared to the No Build condition, as shown below

layed in traffic congestion on the highways within the study

Here are some of the highlights:

Legend

» 530k decsesewaveraes

* Dramatic Traffic Relief: Several of the Build-Alternatives provide dramatic and lasting relief, with = 25% - 30% decrease in
2040 conditions significantly better and less congested than either the 2040 No-build Alternative average delay

- » 20% = 25% decrease in
or even compared to current conditions.

average delay
biter
* Average speeds: Peak-hour speeds improve from 25mph in the 2040 No-build Alternative, to
between 38mph and 41mph overall, depending on which alternative we choose (DEIS p. 3-8). In
most cases, the study shows both the new managed lanes AND the existing general-purpose lanes
will be moving not just faster, but much faster, in most sections compared to the no-build
alternative (See Table 3-5 on p. 3-9):
Legend

i | Oe eames eles)

© Average speeds for AM Peak trips on the outer loop of I-495 at the American Legion
Bridge go from 23mph (no-build) to 37mph in the non-toll “General Purpose” (or GP)
lanes (a 60% increase), or to 62mph in the managed lanes (nearly a 200% increase).

.

» <5% reduction on daily delay
on local roadway network

= 35% reduction in daily detay

© PM Peak trips on that section go from just 19mph in 2040 (no-build) all the way up to
52mph in the non-toll lanes, and to 62mph in the managed lanes, major improvements
for toll and non-toll users alike. |magine going at least 52 mph during the PM rush hour
on the American Legion Bridge, without paying a toll, or moving in free-flow conditions in
the managed lanes. That is a dramatic improvement over current conditions.

© Alternatives 9 and 10 generally provide the most traffic relief among the build alternatives
in terms of improved peak-period travel speeds.

Alternative 13C 64%

"SOURCE: MWCOG REGIONAL FORECASTING MODEL
© Some peak-period trips show less improvement, and in one case no improvement, but

most sections of both corridors improve dramatically on this key metric.

Source: DEIS Hearing Materials, Online Presentation, at 495-270-p3.com

=" Travel Delay: The time we waste sitting in traffic delays is also significantly reduced under all the

= ; : ’ . * Person-Throughput: This measures the efficiency of the roadway network in moving people to
build alternatives, as the following tables from the DEIS Hearing Materials demonstrate:

their destinations. Person-throughput measures how many people pass a given point on the

© Several build alternatives reduce delays by well over 30%, with as much as a 35%
reduction in delay during the AM Peak period. The first table below details these
reductions across the entire study area.

© The second table below summarizes the reductions in delay on surrounding local roads
from the various alternatives, which are also significant and range from a 5.9% to a 7.0%
reduction in local traffic under each alternative. This indicates less congestion and cut-
through traffic on local and neighborhoods streets, as more passengers shift to less
congested and safer highway trips and carpools.

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roadway within a set amount of time. Increases in person-throughput reflect not only numbers of
vehicles, but also increased vehicle occupancy as people shift to increased use of carpools,
vanpools and transit in these multi-modal corridors.

© Several build alternatives significantly boost person-throughput by as much as 110%, and
almost all segments show some significant improvement (DEIS Hearing Materials).

© Ina part of our region, the Maryland portion, which has not significantly added highway
capacity to its network over the past 40 years to keep up with past population and job
growth (only one major new highway was added during that entire time), this is a key
metric for how well the build alternatives can help meet the increased demand we know
is coming, as 1.2 million more people are expected to be living here by 2040.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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xx" Highest increase in be ep sls) Re

"person-throughput” per location ett then rae

XX*% No Benefit compared to
2040 No Build

Source: DEIS Hearing Materials, Online Presentation, at 495-2 70-p3.com

"Travel Time Savings: Both the time it takes to get from one place to another, and the reliability
and predictability of that trip, are perhaps the most important considerations for area residents
when it comes to evaluating any major transportation infrastructure investment from the users’
standpoint. A trip that should take 20 minutes or less to go 15 miles ends up taking an hour or
more under current conditions across the Greater Washington Region. This contributes to higher
emissions, wasted time, and growing frustration by the public. The DEIS documents impressive
time savings on most sections of the Beltway and |-270 from several of the build alternatives.

Here are the highlights (See DEIS, Chapter 3):

@ The new managed lanes would offer more reliable, free-flow travel at or above 45mph on
all segments of the system, during both peak periods, leading to dramatic travel time
savings compared to the No-build alternative.

© Significant reductions in travel time are also seen in the general-purpose (GP) lanes as
some users opt for the managed lanes instead, reducing peak period volumes on the free
lanes and improving average travel times significantly in most segments even for thase
who do not wish to pay a toll.

o Agreat deal of additional information on travel time saving is presented in the DEIS Traffic
Analysis Technical Report in Appendix C.

© The DEIS Hearing Materials provide several specific examples of travel time reductions on
various segments, including some of the most heavily traveled sections of |-495 and 1-270,
as indicated in the map and tables below.

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Some Specific Examples of General-Purpose
Lane Travel Time Savings in the DEIS:

(Source: DEIS Hearing Materials, Online Presentation,
gt 495-270-p3.com

« Amorning rush-hour trip from College Park
to Bethesda that would take you 43 minutes
in the 2040 no-build Alternative, will take
you just 15 minutes in the free lanes
{Alternative 9), saving you 7,020 minutes a
year (that’s 117 hours a year you won't be
spending stuck in traffic!), and that is without
paying a toll. Travel time in the toll lanes is
just 10 minutes for the same trip.

e Anafternoon trip from the American Legion
Bridge to the ICC, that would take you 33
minutes in the 2040 no-build, will take you
just 23 minutes in the free lanes, or just 15
minutes if you want to pay the toll. Either
way, you are saving over 30 hours a year in
travel time.

¢ Amorning trip from Suitland to Greenbelt is
cut from 27 minutes to just 17 minutes in the
free lanes, or 15 in the toll lanes.

¢ = Anafternoon trip from Silver Spring to
Rockville goes from 28 minutes in the no-
build to just 15 minutes in the free lanes, or
14 minutes in the toll lanes.

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Alt 10 (GP)
An 18 1G
| Ait 13 (GP)

HOTETL (AN Alex)

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Key Finding #2: There are transit services that could work well IN COMBINATION WITH the managed lanes.

Which Alternatives Performed Best? It is important to note that significant transit components have been added to all the build alternatives.

Key Finding #1: Lots of transit and TDM/TSM Alternatives WERE studied, but none offers a viable solution.

No viable non-managed-lane alternatives were found that reduce congestion, improve travel speeds, or
reduce travel times in these corridors to any significant degree. It is not that these options were not studied.
It is that they DO NOT WORK, and we could not afford them even if they did.

One key takeaway from this DEIS, is that there are no viable stand-alone transit or TDM/TSM alternatives,
either alone or in combination, that have ever been shown to be cost-effective, or provide anything close
to the improvements that the Managed Lane Study Build Alternatives have been shown to provide in the

DEIS, as summarized above.

In this DEIS, and multiple previous studies of these corridors, all the non-road “alternatives” have been
studied and rejected because they were found not to relieve congestion, not to be financially viable, or
both (see DEIS, pp. ES-7 to ES 11, and 2-11 to 2-22). Multiple previous studies are also listed on the P3

Program website (see: 495-270-p3.com/environmental/resources/).

These non-road options included heavy-rail transit, light-rail transit, fixed guideway bus-rapid-transit (BRT)
and many other transit-only alternatives, all of which were studied in this DEIS (see DEIS, p. ES-8). These
were rejected early on in the process because they did not reduce current congestion levels, did not
accommodate future growth in demand, and/or did not have a viable source of funding (DEIS pp. 2-13 to
p. 2-15). It is simply not accurate to say that these options have not been studied. They have. They just
don’t offer a viable solution.

e The DEIS concludes: “Transit alone would not meet this Study’s Purpose and Need to address the
existing and long-term traffic growth in the study corridors” (DEIS, p. 2-13). It doesn’t get much
clearer than that.

« The TSM/TDM alternatives were found to provide some improvement, and were incorporated into all
the build alternatives, but did not by themselves “support long-term traffic growth” (p. 2-11).

« ~=©Previous studies, including the Purple Line’s DEIS, have also rejected transit-only solutions for the
same reason as they were not found to reduce future traffic congestion on the Beltway or |-270 to
any significant degree. No study has ever shown any amount of transit, by itself, can ease future
congestion at the American Legion Bridge (ALB) or I-270. None. Ever.

This is why adding two new managed lanes on both interstates is in our region's adopted long-range plan
(Visualize 2045) after the regional Transportation Planning Board (TPB) and others spent many years
studying this very question and reached the same conclusion. There is no amount of transit or transit-
oriented development that can meet the demonstrated demand, and projected future demand, for travel
on 1-495 and |-270, and even if there were, we could never afford to build or operate it in the current fiscal
climate. That is why, in addition to the billions we continue to spend on transit in this region, there also
needs to be some new lane capacity on these key bottlenecks, as part of a balanced multimodal approach.

HOV and general-purpose lanes were also studied and rejected, not only because they do not provide a
source of funding. They also do not perform as well as managed lanes in maximizing efficiency, reducing
congestion, increasing person-throughput, ensuring efficient operations and improving peak-hour speeds
(DEIS p. 2-11 to 2-12).

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A robust set of new and expanded transit services is now included in the P3 Program (DEIS, pp. ES-11 to
ES-12, and 2-45 to 2-47). The DEIS states: “While stand-alone transit alternatives were found to not meet
the Study’s Purpose and Need, each Build Alternatives includes the following transit elements consistent
with the project purpose of enhancing existing and planned multimodal mobility and connectivity (see
DEIS, p. ES-11):

« Allowing free bus usage in the managed lanes...

* Accommodating direct and indirect connections to existing transit stations and planned Transit-
Oriented Development at the Silver Spring/MARC (US 29), Shady Grove Metro (I-370), Twinbrook
Metro (Wooton Parkway), Montgomery Mall Transit Center (Westlake Terrace), Medical Center Metro
(MD 187 and MD 185), Kensington MARC (MD 185), Greenbelt Metro/MARC (Cherrywood Lane), New
Carrollton metro/MARC/Amtrak (US 50), Largo Town Center Metro (MD 202 and MD 214), and Branch
Avenue Metro (MDS5).”

« This would give Montgomery and Frederick Counties the ability to link key transit centers, from
Frederick to Bethesda, or College Park, or Tysons Corner, and all points between — including many key
metro stations — with much faster, more reliable transit.

e The DEIS also provides Prince George’s County with a cost-effective way to extend the reach of the
Purple Line to key employment and retail centers, as a Virtual BRT. (pages 2-45 to 2-47)

Providing express-bus service between all these locations through a P3 program would provide a robust

transit system, and a significant portion of the capital costs could be funded as part of the construction of

the managed lanes. These lanes would then function as a fixed guideway for transit vehicles, offering

them a congestion-free option for vastly improved transit travel times.

Key Finding #3: Alternatives 9 and 10 performed best on most key transportation metrics.

Alternative 9 and Alternative 10 performed best in the key operational metrics, including average speed,
congestion (levels of service, or LOS), reducing traffic on surrounding local roads, travel time savings,
reduced delays, and throughput. Alternative 9 would also add more incentives for carpooling.

Alternatives 9 and 10 each ranked first in three of the six key transportation performance metrics.
However, Alternative 9 also offers advantages in sustainability with a slightly smaller footprint (see
environmental impacts table) and greater incentives to shift away from single-occupancy-vehicle trips and
more to carpools and vanpools.

In terms of cost and financial viability, both seem the most viable and cost-effective as well, meaning
lower toll rates presumably, although toll rates are not set as part of the DEIS process.

More detailed transportation performance results for each of the alternatives can be found in Section 3:

1. Existing and future Conditions: pp. 3-5 to 3-8
Travel Speeds: pp. 3-8 to 3-9

Travel Delay: pp. 3-9 to 3-10

Travel Time: pp. 3-10 to 3-11

Congestion — Levels of Service (LOS): p. 3-12
Local network pp. 3-13 to 3-15

Summary: p. 3-16

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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Key Finding #4: The environmental impacts of the various build alternatives are relatively similar, with some
tradeoffs between transportation performance and community and environmental impacts.

The Alternative with the lowest number of impacts, the no-build, also performs the worst on all the key
transportation metrics and would lead to catastrophic levels of congestion.

Environmental and community impacts are presented in Chapters 4 and 5 of the DEIS, and the appendices,
are summarized in the Executive Summary and in Table E3-2 below (pages ES-14 to ES-16).

The no-build alternative clearly has the lowest impacts, but creates alevel of severe, persistent traftic
congestion thatis unsustainable, inconsistent with adopted regional long-term transportation and
economic development plans, and incompatible with the needs of a sound economy, future job growth,
and agood quality of life for arearesidents. It clearly is unacceptable on many levels.

Of the build alternatives, there is some reduction in impacts in the areas near the topside of the Beltwayin
Alternative 9M, but those reductionsin environmental and community impacts are not as significant as
one might expect. Instead of 34 residential displacements under most of the other alternatives, for
example, Alternative 9M has 25, whichisless but not significantly. Either number is roughly half the
number of residential displacements the Purple Line involved, and all the alternatives show relatively
small impacts for a project of this scope.

Table ES- 2: Summary of Effects Comparison of the Alternatives’

Alta
Reroures No Build alts? ake Alt Alt SM Alt 10 Alt 136 al i3ac
Total Potential Impacts to Section 4[f)
Properties including park and historic 0 141.7 46.8 146.8 144.7 149.0 145.5 146.7
|_Sroperties (acres)
| Number of Historic Properties with
Adverse Effect? [Adverse effect cannot 0 13([7) 13[7] 13(7] 13(7] 13[7] 13(7] 13{7]
be determined]*
100-Year acres) oO 114.3 119.5 119.5 116.5 120.0 119.5 119.9
| Unique and Sensitive Areas (acres) oO 395.3 408.2 408.2 401.8 410.8 406.7 408.6
a Species Project Review Area 0 1517 155.0 155.0 153.7 155.0 155.0 155.0
Forest canopy (acres) o 1434 1,497 1497 1,477 1,515 1,489 1,503
| Wetlands of Special State Concern o oO o o o o o o
| Wetiands, Field-Reviewed (acres) oO 15.4 16.3 163 16.1 16.5 16.3 16.1
| Wetlands 25-foot buffer (acres) o 512 53.1 53.1 52.7 53.6 53.1 53.5
Waters of the US (linear feet} o 453,702 155,922 155,922 155,229 156,948 155,822 156,632
| Tier li Catchments (acres) oO 55.2 55.3 455.3 55.3 553 55.3 55.4
| Noise Receptors irmpacted* Oo 3,661 4,470 4470 4,249 4,581 4,411 4,461
trac System-wide Delay Savings vs. No Build a 20% /22% 23%/33% 34%/33% | 30%/30% | 35%/34% 27%/22% 26%/34%
(AM/PM>
E A Total Right-of-way Required’ (acres) Oo 284.9 323.5 323.5 313.4 337.3 318.9 329.3
|_Number of Properties Directly Affected Oo 1,340, 1,475 1475 1,392 1.518 1,447 1479
| Number of Residential Relocations oO 25 uM 34 25, 4 ad 34
Number of Business Relocations o 4 4 4 4 4 4 4
Width of Pavement on 1495 (feet) 138-146. 170-174 194-198 194-198 170-198 194-198 194-198 194-198
| Width of Pavement on 1-270 (feet) 228-256 154-198 218-222 218-222 218-222 242-248 202-206 226-230
| Capital Cost Range $9.0 -
i= +} iconstruction & ROW) ( N/A $7.8-$85 | $8.7-$9.6 $8.7-$9.6 | $8.5-$9.4 3100 $8.7-$9.6 $8.8 - $9.7
Notes: * Preliminary impacts represented in this table assume total impacts; permanent and temporary impacts will be distinguished in the FEIS,
*MDOT SHA and FHWA determined Alternative 5 is not a but it is included in the DEIS for comparison purposes only.

! Refer to Chapter 4, Section 4.7 and Appendix G, Volume 1 tor additional details on the effects to historic properties.

“Based on current design information, effects cannot be fully determined on these 7 historic properties. MDOT SHA will evaluate these properties further as design advances.

“Noise receptors are noise-sensitive land uses which include residences, schoob, places of worship, and parks, among other uses. Note that these numbers inchade receptors that do not
have an existing noise wall as well as receptors that have an exdsting nolse wall which is expected to be replaced

* Previous versions of this table used a similar metric of Annual Average Hours of Savings per Commuter. System-Wide Delay Savings better reflects benefits to all road users.)

"The right-of-way is based on State records research and filled in with county right-of-way, as necessary. With the Section 4(f) properties, some boundaries vary based on the presence of
easements and differences in the size and location of historic and park boundaries.

As the differences between the build alternatives are relatively modest in terms of environmental or
community impacts, but the differences in transportation performance are more wide-ranging, we

encourage more significant focus on the performance of each option on transportation metrics, while
seeking to further minimize or avoid environmental and community impacts on all the alternatives.

The DEIS does not indicate that there are severe environmental or community impacts that would rise to
the level of negating the well documented and extremely significant transportation and economic benefits
the P3 program would bring to our region.

3. is the P3 Program Financially Viable and Can this Program be Delivered at no Taxpayer Expense?

The DEIS shows that all the build alternatives can be financially viable, depending on various risk factors
(such as construction costs and interest rates) and thatit can be delivered at no taxpayer expense,
depending on three possible sets of estimates based on these potential risks (DEIS p. 2-50). We believe the
current economic climate makes this project more crucial than ever for state taxpayers, asit can be
delivered at no taxpayer expense, and can help simulate our stalled economy more than any other
investment we could make in this region right now.

® The P3 Program has strong financial interest among investors, appears to be financially viable, and
can be delivered at no cost to taxpayers, and even generating a large windfall to taxpayers under
most circumstances. However, this will depend on factors like interest rates and construction
costs that might be impacted by any additional delay that may occur.

e Several build alternatives can provide very substantial positive cash flows to the State —as much
as a$2.8 billion surplus— or may fall short by as much as $1.1 billion — but all the mid-range
estimates are positive. 50 it does appear itis more likely to be financially viable than not, and
therefore can be delivered at no cost to taxpayers.

« Only the worst-case projections show a potential shortfall, but thisisan argument to minimize
delays and accelerate the project to take advantage of the current historic-l ow interest rates.

® These are the cashflow projections under various assumptions (DEIS, p. 2-50):

Draft Environmental IMpoct Statement

Table 2-6: Estimated Cashflows for Build Alternatives

Cash Flow (in millions)

Low Capital Cost & | Mid Capital Cost & | High Capital Cost &
Build Alternative Low Interest Rate | MidinterestRate | High Interest Rate
Alternative 8 $2,627 $833 - $584
Alternative 9 $2,762 $960 - $482
Alternative 9M $2,190 $459 - $827
Alternative 10 $2,711 $866 - $604
Alternative 138 $1,907 5196 - $1,088
Al tive 13C $2,065 $328 - $998

Notes:

1, = The results summarized in this table must be considered in the context presented in DEIS Section 2.5 Financial Viability.
2 The analysis is preliminary because the value of numerous input assumptions used to compute the financial viability of
the Build Alternatives could change. A consistent methodology was used to esti the and consi financial
assumptions were used for all Build Alternatives summarized herein.

Zz This analysis considered multiple factors including estimates of: preliminary capital costs (a high and low range of +5
percent of the base cost), initial revenue projections, p inary op and mai. @ costs, and the likely methods
for how construction phases would be financed.

4. The key input of interest rates considered a high and low range of #0.50 percent from the base assumptions.

5. Refer to Chapter 6, Section 2.3 of the Alternatives Technical Report [Appendix B) for additional information.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-320

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As you can see, the DEIS estimates range from a shortfall of $1.1 billion, to a net positive cashflow of $2.8
billion, depending on various assumptions on interest rates and construction costs. All the mid-level
estimates, for all 6 alternatives, show a POSITIVE net cash flow, with some Alternatives performing much
better than others, meaning it is very likely that the P3 can deliver a significant positive revenue stream for
Maryland residents.

Several recent public comments have focused only on the worst-case column in this chart. This is highly
misleading and inaccurate, and presents a distorted portrayal of the DEIS findings, as it ignores the
much larger potential that exists for a net positive return for Maryland taxpayers. We believe, based on
this study and the performance of most other recent managed lane projects around the country, a large
positive return is far more likely than a shortfall. Further, it has been made clear that if there is a shortfall
in revenue, that risk will not fall on Maryland taxpayers, but on the P3 concessionaire and their investors.

The bottom line is, the DEIS finds the project can be delivered in a way that is financially viable and can
provide a significant new revenue stream to the state, under most scenarios.

Actual tolling rates are not provided in the DEIS, as those will be set much later through a public process
by the Maryland Transportation Authority, but it is clear that toll financing is the only option for a program
of this scale and in this fiscal climate. A P3 structure, using toll financing to deliver these improvements, is
the only viable way to bring a project of this scope, now estimated at $8 to $10 billion (p. ES-11), in light of
the extremely limited funds or bonding capacity by the State of Maryland today.

The fiscal stimulus effects of the P3 Program are extremely significant, and the COVID-related shutdown
makes it even more urgent to tackle this project now, with no further delay. Every $1 billion investment in
public infrastructure creates 13,000 high-paying jobs for a year, and this is an $8-10 billion project. We
need those new jobs now more than ever in light of national forecasts indicating 11% unemployment by
year-end. With State tax revenues in steep decline, and more constrained than before, the P3 option is
literally the only game in town with the potential to positively impact State finances.

Main Conclusion:

In summary, the |-495 & |-270 Managed Lanes Study DEIS, which is the definitive study to date of these heavily
congested corridors, only confirms:

- The critical importance of the P3 Program to Montgomery, Prince George’s and Frederick County
residents and businesses, as well as to all other users of our interstate highway system;

- That the build alternatives in the DEIS deliver dramatic and lasting traffic relief on the American
Legion Bridge, I-495 and |-270, including significant travel time savings during both peak periods;

- That several of the Build Alternatives, and Alternative 9 in particular, perform very well across a range
of performance metrics and meet the purpose and need for the Managed Lanes Study, with fewer
environmental or community impacts than several other recently approved major projects, (including
the Purple Line); and

-  Thata P3 Program that includes one of these Build Alternatives can be financially viable.

We recommend everyone take the time to read the 353-page DEIS online and continue participating in the
Managed Lanes Study environmental review process.

Anyone can review the DEIS documents at: https://495-270-p3.com/DEIS/.

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-321

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THE EVERGREEN COMMUNITY — CHARLOTTE TROUP LEIGHTON
Thank you for your comment, responses are provided on the following pages.

From: Charlotte Troup Leighton <troupleighton@ gmail.com>

Sent: Friday, October 16, 2020 4:32 PM

To: Lisa Chaplin <LChoplin@mdot.maryland.gov>

Cc: Treasurer@treasurer.state.md.us; pfranchot@comp.state.md.us; governor.mail@maryland.gov;
senator@cardin.senate.gav; jamie@jamieraskin.com; marc.elrich@ montgomerycountymd.gov; Lee, Susan Senator
<susan.lee@senate.state.md.us>; Kelly, Ariana Delegate <ariana.kelly@house.state.md.us>; Korman, Marc Delegate
<marc.korman@house.state.md.us>; Love, Sara Delegate <sara.love@house.state.md.us>; SUSAN SHIPP
<jsishipp3@verizon.net>; Orrick, Jack <jack.orrick@offitkurman.com>; managedlanes@montgomerycountymd.gov;
Rubin, Carol <carol.rubin@montgomeryplanning.org>; Councilmember.Albornoz@ mantgomerycountymd.gov;
Councilmember Friedson <councilmember.friedson@mccouncilmd.|mhostediq.com>;
Councilmember.Glass@montgomerycountymd.gov; councilmember.hucker@montgomerycountymd.gov;
Councilmember.Jawando@montgomerycountymd.gov; councilmember.katz@montgomerycountymd.gov;
councilmember. Navarro@montgomerycountymd,gov; councilmember, Rice@montgomerycountymd.gov;
councilmember. Riemer@montgomerycountymd.gov; MCP-Chair@mncppc-mc.org

Subject: DEIS Comment Letter from the Evergreen Community In Cabin John

Good afternoon,
Attached please find the DEIS comment letter of the Evergreen community in Cabin John.
Thank you for your consideration.

Sincerely,
EVERGREEN COMMUNITY RESIDENTS

Charlotte Troup Leighton and Russell Leighton (8005 Cypress Grove Lane)
Frank L Wright Ill and Marcy Harrison (8014 Cypress Grove Lane)

Andrew Strasfogel and Elizabeth Jackson (7913 Cypress Grove Lane)
WeiWei and Fenhua He-Han (7910 Cypress Grove Lane)

Manny and Elizabeth Andrade (7909 Cypress Grove Lane)

Matt and Min Shih (7900 Cypress Grove Lane)

Cindy and Leslie Miller (7905 Cypress Grove Lane)

Gladys Vaughn (7920 Cypress Grove Lane)

Ellen and Steve Futterman (8000 Cypress Grove Lane)

Kara Cunzeman and Marc Bosch (8009 Cypress Grove Lane)

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-322

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1-495 & |-270 Managed Lanes Study
MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

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Michael and Gail Marcus (8026 Cypress Grove Lane)

Gregory and Sheila Duncan-Peters (8037 Cypress Grove Lane)
Sheryl and Peter Bloch (7920 Cypress Grove Lane)

Edwin and Olga Paxson (8041 Cypress Grove Lane)

Maryann Veloso and Lyle Ishida (8033 Cypress Grove Lane)
Khalid and Ruham Usmani (8013 Cypress Grove Lane)

Donald and Sedene Dunac (8021 Cypress Grove Lane)
Assiatu and Richard Crossman (8025 Cypress Grove Lane)

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-323

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Thank you for your comments. The 10 major issues listed on pages 1 and 2 of your comment letter are addressed on the
subsequent pages associated with each detailed discussion in your letter.

EVeNensan

The Evergreen Community
7900-8041 Cypress Grove Lane
Cabin John, MD 20818

October 16, 2020

Lisa B, Choplin, DBIA

Director, 1-495 & 1-270 P3 Office

Maryland Department of Transportation State Highway Administration
1-495 & 1-270 P3 Office

707 North Calvert Street

Mail Stop P-601

Baltimore, MD 21201

RE: 1-495/1-270 Managed Lane Study Draft Environmental Impact Statement, Draft
Section 4(f) Evaluation, and Draft Section 106 Assessment of Effects Report

Dear Ms. Choplin:

We are members of the Evergreen community, a collection of 27 homes along Cypress
Grove Lane in Cabin John, Maryland. As adjacent neighbors to 1-495, we have been closely
engaged in the I-495/l-270 Managed Lanes Study environmental process. We wish to provide
comments on the Draft EIS through this letter.

The material in the Draft EIS raises ten issues that must be further considered and
analyzed before the Project can advance. In some cases, these issues raise new and significant
information, requiring SHA and FHWA to issue a Supplemental Drafi EIS before proceeding
forward (See 40 CFR 1502.9 and Marsh v. Oregon Natural Resources Council). We briefly
summarize our major issues in the list below, followed by a more detailed discussion of the
topics.

1) The alternatives still under consideration in the Draft EIS would have
devastating property impacts to houses in our community, based on the limits of
disturbance presented in Appendix D. These impacts must be substantially
minimized and avoided to avoid partial and full takings.

2) The alternatives still under consideration in the Draft EIS would have adverse
cumulative impacts to the neighboring Morningstar Tabernacle No. 88 Moses
Hall and Cemetery site (MIHP No. M: 35-212), as well as to the Gibson Grove
First Agape A.M.E. Zion Church property (MIHP No. M: 29-39), These historic
resources must be avoided.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-324

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1-495 & |-270 Managed Lanes Study
MARYLAND

FINAL ENVIRONMENTAL IMPACT STATEMENT

#1

3) The noise analysis for the Draft EIS indicates that it is feasible and reasonable to
construct a noise wall along 1-495 between Persimmon Tree Lane and Seven
Locks Road. The construction of an appropriate noise abatement wall in this
location must he committed to as a mitigation in the Final EIS and Record of

Decision. The P3 Concessionaire’s designs must include these noise walls at no
cost to our community,

4) The proposed location of the noise barriers would exacerbate property impacts
to local residents, as well as to the historic Morningstar Tabernacle No. 88 Moses
Hall and Cemetery site, and the Gibson Grove First Agape A.M.E. Zion Church
property (MIHP No. M: 29-39). The location of noise barriers should be
adjusted and refined in the Final EIS and the final design of the selected

Alternative.

5) Our community has existing runoff and erosion issues from 1-495. The Draft EIS
docs not provide sufficiently detailed information regarding the strategy to
manage the existing and future stormwater generated by the impervious service
of the highway. The Final EIS must provide additional detail and stron
commitments to manage stormwater impacts.

6) The visual impacts of the proposed new MD 190 off-ramp are inadequately
analyzed in the Draft EIS. A Visual Impact Assessment should be prepared
before moving forward and incorporated into a Supplemental Draft EIS for
review and comment. Because of the unacceptable visual and property impacts
in the Alternatives, the exit at this location should be replaced with an at-grade
approach.

7) The documentation associated with construction is inadequate and potential
impacts are not addressed.

$) Local traffic impacts caused by the Project are neither identified nor mitigated.

9) The impacts of the “Elevated Option” are not evaluated in the DETS. Its
potential for additional visual and noise impacts means that the option should be
eliminated and that a Supplemental Draft EIS must be prepared if it is further
advanced.

10) SHA should more substantively address the impacts that COVID-19 may have

on travel demand, and the purpose and need for this Project.

Please find a more detailed discussion of these issues below.

Property Impacts

As shown in the Hmvironmental Resources Afapping (Appendix D), our community along
Cypress Grove Lane would experience substantial property incursions under the current planning
assumptions of the evaluated Alternatives. The limits of disturbance (LOD) indicate construction
and/or permanent impacts to multiple properties in our community, often quite close to these
existing homes. Some of these impacts result from stormwater management and noise
considerations, which we address substantively below. In the Final EIS, SHA must take steps to
avoid and/or minimize any impacts to private property in our community consistent with NEPA
regulations.

———

Response to DEIS Comment #1
The Preferred Alternative, does not result in any full acquisitions or residential or business displacements; therefore, no
homes would be taken due to the proposed roadway widening.

Sliver impacts to properties along |-495 within the Evergreen community are proposed for elements such as roadside grading,
on-site drainage and stormwater management, and noise barrier replacement/construction. These partial property
acquisitions are considered ones that do not cause a residential relocation and have been assumed where a principle building
of a residence or community facility is located more than 20 feet from the Preferred Alternative limits of disturbance.

As the design is advanced on the Preferred Alternative there may be further reductions in impacts. An important benefit to
conducting a P3 process with pre-development work concurrent with the NEPA process is to increase efficiency by receiving
input by the Developer on design and ancillary elements of the project such as stormwater management. This collaborative
effort ensures that the design and associated limits of disturbance (LOD) are appropriate and feasible ahead of final design.
While additional LOD changes may occur during final design, including additional avoidance and minimization, the risk of
substantial changes in the LOD or substantial increase in environmental impacts is significantly lowered by the early
involvement of the Developer.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Response to DEIS Comment #2
Since the publication of the DEIS, additional and successful avoidance and minimization efforts also involved the Morningstar
Tabernacle No. 88 Moses Hall and Cemetery. Through additional investigation and survey including ground penetrating radar

= (GPR), MDOT SHA identified potential unmarked graves within state-owned right-of-way adjacent to I-495. The Preferred

#1 We request additional information regarding the nature of potential property impacts. Alternative incorporates design refinements that minimized the overall width of the improvements to completely avoid the
Appendices D and FE (Conmnmunity Effects Assessment) provide insufficient information for ‘ .

C ; : . ae ee ag ‘se ; cemetery property and the known area of state-owned right-of-way that has the potential for unmarked graves.

ont residents potentially affected by property acquisition. The Community Effects Assessment

identifies 10.2 acres of residential property acquisition in the Cabin John area (Appendix D of Understanding that the Beltway was constructed adjacent to these sensitive resources, MDOT SHA has commited to
the CEA, Pg. - Appendix D indicates that seven to eight eere our SATAY would see construct the following pedestrian connections between the Gibson Grove A.M.E. Zion Church and the Morningtar
at Ina Ri yen and ort Where tiie LOW ROSEY TRUER 8 BING IE Te Tabernalce No. 88 Moses Hall Cemetery to restore the historic connection along Sevel Locks Road:
Map 59, At least four of these homes would be within 20° of the LOD. Our community is = Te . : : - . .
prepared to pursue legal remedies to protect our property rights, consistent with the Uniform Act, e Widen the existing variable-width sidepath along the east side of Seven Locks Road under |-495 (Cabin John Trail)
eacthese property impesth ate miacceplain to us and unnecessary so implement the Projekt. e Constructing a new sidewalk along the west side of Seven Locks Road under 1-495 to directly connect First Agape
Cumulative Impacts to Neighboring African American Historic Properties AME Zion Church (Gibson Grove Church) and Morningstar Tabernacle No. 88 Moses Hall and Cemetery

#2 Our community believes that the DEIS has failed to adequately disclose impacts to the The Preferred Alternative includes the following elements and commitments related to the First Agape AME Zion Church
neighboring Morningstar ‘Tabernacle No. 88 Moses Hall and Cemetery site (MIHP No. M: 35- (Gibson Grove Church) and Morningstar Tabernacle No. 88 Moses Hall Cemetery:
212). as well as to the Gibson Grove First Agape A.M.E. Zion Church property (MIITP No. M:
29-39). Both of these sites are a key and central feature of the remaining African American ¢ Direct and indirect impacts to historically African American Gibson Grove Community significantly minimized
community in Cabin John.

« Gibson Grove Church is avoided with impacts minimized to 0.1 acre of temporary easement needed for drainage
The limits of disturbance (1.OD) indicate that the Moses Hall foundation and Cemetery will be
adversely affected by any encroachment of construction that extends beyond the existing [-495 ¢ All direct and indirect impacts to Moses Hall Cemetery completely avoided
right-ol-way. Furthermore, any new I-495 construction could adversely alfect the planned & Kelee bas ith tat itive t t tat the M Hall C t
reconstruction of the Gibson Grove Church property. The Draft EIS fails to provide sufficient DISE: PEETED WEST CONIEAL SENSING TREATS NE AE TS WIGSSS. Fall SSNCRery.
information on efforts to date to avoid and minimize impacts to these valuable resources. ‘The e Gifting land owned by MDOT SHA with potential graves back to Trustees of Moses Hall Cemetery
Moses Hall and Gibson Grove properties are an important part of Cabin John that were
disproportionately affected by the original I-495 construction in the 1960s. We believe that SHA « Completing drainage improvements on Gibson Grove property and clearing space for their proposed parking lot
should take an active role in righting past racial injustice by avoiding further cumulative impacts . . . . . .
to this community. We are deeply supportive of these historic resources. We note specific ° Upgrading parking lot on the east side Seven Locks Road and making the sidewalk and path improvements to connect
impacts to the Moses Ilall and Gibson Grove properties from the Project and construction period to the existing parking lot.
eee ¢ Constructing a new sidewalk along the west side of Seven Lock Road under |-495 to reestablish the historic

Noise Analysis and Noise Barriers connection between Gibson Grove Church and the Moses Hall Cemetery.
In reviewing the Noise Analysis Technical Report (Appendix J), we are pleased to see that a Refer to Chapter 9, Section 3.4.D for a response to Environmental Justice and equity concerns.
noise barrier is considered feasible and reasonable for the section of [-495 adjacent to Evergreen.

#3 This noise barrier must be included as mitigation in the Final EIS, committed to in the Record of Response to DEIS Comment #3

Decision, and included in the designs advanced by the Concessionaire. Additionally, we note
below a few concerns with the analysis conducted in the Draft EIS regarding noise.

Neither the noise impact assessment results (Appendix J, Table D-1) nor the noise barrier
analysis table (Appendix J. Tables 4-5) indicate the number of residences that are assigned to
each receptor location. This information should be disclosed to allow the community to properly
understand the impact of the proposed project and the feasibility and reasonableness of potential
noise abatement. The noise study report does not disclose the number of impacted residences [for
each receptor, within each NSA, or within the overall project. The study also does not identify
the activity category of the receptors.

There are generally minor differences (i.e., 1 to 2 dB) between the noise impact assessment
results (Appendix J, Table D-1) and the noise barrier analvses table (Appendix J, Table 4-5)

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3

As part of this project, a new barrier system is proposed along the inner loop of |-495 from Persimmon Tree Road to just
south of Cabin John Parkway. The new barrier system will be constructed as close to the roadway as possible to minimize or
avoid property impacts. As described in the Supplemental DEIS (SDEIS) and the supporting Noise Analysis Technical Report
Addendum the noise analysis is based on the current preferred alternative design and MDOT SHA’s Highway Noise
Abatement Planning and Engineering Guidelines (“Noise Guidelines”), which detail implementation guidance, critical
background information, rationale, and other comprehensive criteria associated with a highway noise study. The noise policy
and guidelines are based upon the provisions contained in Title 23 of the Code of Federal Regulations Part 772 (23 CFR 772),
Procedures for Abatement of Highway Traffic Noise and Construction Noise and the Federal Highway Administration (FHWA)
report FHWA-HEP-10-025, Highway Traffic Noise: Analysis and Abatement Guidance and subsequent revisions.

The DEIS, SDEIS and FEIS all include the “Statement of Likelihood” that is required by FHWA regulation 23 CFR 772.13(g)(3):

“A statement of likelihood shall be included in the environmental document since feasibility and reasonableness
determinations may change due to changes in project design after approval of the environmental document. The statement
of likelihood shall include the preliminary location and physical description of noise abatement measures determined feasible
and reasonable in the preliminary analysis.

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#3
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without the proposed noise barrier. We assume this difference to relate to zero-foot noise barriers
rather than no noise barriers being used in the model. True no-barrier sound levels should be
used instead to evaluate the insertion loss to more accurately predict insertion loss and the
potential benefit of proposed noise barriers.

For noise abatement, the Evergreen neighborhood is combined within the larger NSA 1-04 and is
evaluated as a barrier system with other NSAs, including 1-02 and 1-05. Table 4-8 of Appendix J
indicates that the barrier height would average 26 [eet within NSA 1-04. However. the results in
the Executive Summary indicate the barrier height is 27 feet. As shown in Map | of Appendix J
and Map 4 of Appendix D. the horizontal alignment of the barrier is shown to substantially
intrude upon the residential properties on Cypress Grove Lane, which would require property
acquisition. While there is a need to avoid a delineated waterway west of Cypress Grove Lane,
the proposed barrier alignment does not appear to be justified given the topography in the area.
The base of the noise barrier should generally be at a higher elevation. It appears that such an
alignment may be feasible closer to, and within, the 1-495 right-of-way. Such an approach would
also preserve more trees in our backyards. These trees are not only an important aesthetic feature
of our neighborhoods that reduces the negative visual effects of the highway, they also serve to
blunt the annoyance associated with roadway noise. A revised alignment would also avoid the
Moses Hall foundation and Cemetery

As many of our homes are adjacent to the highway. traffic noise ts already a daily condition with
which we live. When this section of 1-495 was widened in the early 1990s, our community was
promised that noise barriers could be provided to address the increased noise that would result
from a large expansion in highway capacity. The fact that this promise was not kept previously
makes us particularly concerned that SHA would abandon its commitment to address these
issues should the project move forward.

The Noise Analysis Technical Report includes a statement of likelihood for the proposed noise
barrier which indicates that “engineering changes reflected in final design could alter the
conclusions reached in this analvsis leading to recommendations to add or omit noise barrier
locations” (Appendix J. Pg. 1), Appendix J also indicates that a final design noise analysis will
be performed during the design phase of the project and that the opinions of all benefited
property owners and residences will be solicited through public involvement and outreach during
final design. While we look forward to the opportunity to coordinate further with SHA on the
design of the noise barriers, we wish to reiterate that properly sited and designed noise barriers
are essential miligations for the noise impacts associated with this Project. We also note that the
MDOT SHA Highway Noise Abatement Planning and Lagineering Guidelines require that any
proposed barrier optimization during final design of an innovative contracting project, like this
P3 project, must maintain or improve upon the results in the noise analysis report (Appendix I of
the Guidelines).

Even if the Project does not move forward, we need noise mitigation to manage the daily impacts
that we face. We implore SHA and our local Montgomery County officials to develop a program
and associated funding to provide the resources for so-called “Type HI” noise barrier projects.
Many other neighborhoods along 1-495, including our neighbors in Carderock Springs, share a
need for noise abatement regardless of the direction that the State takes on this particular Project.

We appreciate your attention to this issue outside of the DEIS context, as well.
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The statement of likelihood shall also indicate that final recommendations on the construction of an abatement measure(s)
is determined during the completion of the project’s final design and the public involvement processes.”

Because we are in the NEPA phase of this project, we do not yet have detailed engineering plans, including soil borings and
field surveyed topography. This level of detail is obtained during the final design phase of a project. The design, appearance
and final alignment of the sound barriers will also be finalized during final design. The project must receive NEPA approval
before final design is initiated, per 23 CFR 771.113(a).

Discrepancies between Tables D-1 and 4-5 have been corrected in the SDEIS. Table 4-6 in the SDEIS (formerly DEIS Table 4-
5) now includes a column listing equivalent residences for each modeled receptor. Noise levels have been updated and the
data in Table 4-6 matches the data in Appendix B (formerly DEIS Appendix D).

Previous studies have shown that your community warrants noise abatement. The MDOT SHA Noise Policy in place in 1990
used a cost criterion as part of the determination of reasonableness. Increased costs during the evaluation process caused
the barrier previously proposed for your community to fail reasonableness criteria. This policy has since been updated (first
in 2011 and again in 2020) to assess cost reasonableness using a square footage per benefited residence (sfpr) metric rather
than cost. This is because materials costs fluctuate based upon market and supply chain conditions, and MDOT SHA believes
that all communities should be evaluated equally regardless of the materials costs at the time of the noise analysis. The
Evergreen Community qualifies for the highest square footage threshold allowable under the MDOT SHA Noise Policy (2,700
sfpr).

At this time, there is no mechanism for the state to provide noise abatement to your community outside of a roadway
improvement project such as the Managed Lanes Study. While MDOT SHA does participate in FHWA’s voluntary Type 2 noise
abatement program, there is currently no funding programmed for Type 2 noise abatement projects.

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Stormwater and Runoff

Response to DEIS Comment #4

Since there is a documented drainage complaint at the Moses Cemetery the current draft SWM concept presented in the
FEIS diverts all the impervious area from |-495 away from the cemetery property to the north side of the highway where it
is treated ina SWM facility. As a result, the houses between I-495 and Cypress Grove Lane will see a significant reduction in
surface runoff.

Through the EIS, SHA must take more substantive steps to address existing and future
stormwater and runoff than are presented in the draft document,

The properties within the Evergreen subdivision along Cypress Grove Lane, as well as the Moses
Hall and Cemetery property, are downslope of the I-495 roadway. For most of the length of
highway abutting the Evergreen subdivision, the land adjacent to the highway shoulder includes
a drainage ditch and then a berm, before the land slopes down into the community, including the The majority of the SWM runoff along Cypress Grove Lane will be diverted, however, some runoff will still be directed to the
Moses Halland Cemetery... This is true except for three low points, one located west of the existing 21”RCP located behind 8021 Cypress Grove Lane and the existing swale located between Osage Lane and Cypress
subdivision (see Location A in Attachment A to this letter), another in the vicinity of 8021 Grove Lane. This project will be required to control stormwater runoff for the 10-year storm to match existing conditions

Cypress Grove Lane (Location B) and lastly, east of 8005 Cypress Grove Lane (Location C). 2 . ’ 3
fs aa jonas antu a *iisppities rate Ene Fade osteo att o A prior to leaving MDOT SHA ROW; therefore the runoff at both locations will not be increased and given that the surface

into an existing stream valley. However, at Location B and C. runoff drains into the back of runoff is being directed elsewhere, the total runoff will be significantly reduced.
several properties. Drainage along the north side of Cypress Grove Lane currently flows ina
southeasterly direction. through properties and into an existing drainage ditch that runs along the
shoulder of Cypress Grove Lane and flows to the east.

These existing flows create substantial damage to our properties and the Moses Hall and
Cemetery property on a regular basis. The water creates erosion across our backyards that results
in long gullies where dirt, rocks, and sticks accumulate. As shown in Attachment B to this letter,
these conditions are not only unsightly, but also result in real degradation to property condition
and value. Stormwater erosion has seriously degraded the Moses Hall and cemetery property.

The Natural Resources Technical Report (Appendix L) notes that stormwater management will
be provided as required by the state. Current Marvland stormwater management (SWM)
regulations require that environmental site design (ESD) practices be implemented to the
maximum extent practical. The report notes that design for on-site SW M was developed to a
concept level of detail and included within the Limits of Disturbance (LOD). What is unclear 1s
what SWM is proposed for the length of I-495 abutting the Evergreen Subdivision. A concept
SWM feature is shown at the headwater of the existing stream valley west of the subdivision at
the previously identified Location A. Otherwise, the report provides five roadside typical
sections, two of which include SWM features. Ilowever, none of the five section illustrations or
descriptions depict how noise barriers would be integrated into the section, and if those sections
include SWM.

Greater amounts of runoff will result from widening 1-495 as a result of the increase in
impervious area, The approach to managing this increased runolY must be more clearly
documented. IF SWM is being provided, then where runoff will drain to once it exits the SWM
feature must be documented in the Final EIS. If runoff is projected to drain into the subdivision,
the quantity and frequency of lows must be determined and documented in the Final EIS to
ensure that the receiving and downslope areas are suitable. This analvsis must encompass recent
heavy precipitation events that are becoming more frequent and almost routine as a result of
climate change. If concentrated runoff does drain into the subdivision and into the Moses Hall
and cemetery property, then evaluation of the receiving areas should be included to determine if
those areas are appropriate and sufficient to convey flows without erosion or other property

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damage, since in all cases, runoff will be entering the Moses Cemetery and backyards of

#4 residential properties where defined waterways do not exist and where conditions may not be

Cont suitable for concentrated flow. The absence of such analysis, and appropriate mitigations based
on its findings, could result in a failure to recognize the deleterious impacts to property
conditions and home values of the proposed Project.
The Final EIS should provide additional detail to confirm the SWM management approach for
the section of 1-495 adjacent lo Evergreen and to ensure that the SWM approach improves upon Response to DEIS Comment #5
aaa RL eatel pation Semmens, fetier ties Canes Direr detinen el The Visual Impact Assessment (VIA) was completed on the Preferred Alternative and documented in the FEIS in Chapter 5,

— " Section 5.6 and FEIS, Appendix H and includes renderings in the area of concern around Seven Locks Road and Cabin John

Visual and Property Impacts of MD 190 Off-Ramp Stream Valley Park, Unit 2. The VIA concluded that construction of the Preferred Alternative would not introduce new
The proposed direct acess off-ramp from the eastbound managed lanes onto MD 190 is a major elements incompatible with the existing visual character or qualities along the study corridors or that experienced by
source of concern for our community. The Final EIS should advance an alternative that does not neighbors. Vegetation removal will be mitigated based on state and local agency requirements and standards to maintain
include an castbound flyover off-ramp onto MD 190, the visual quality of the key locations. It is expected that aesthetic and landscaping guidelines will detail materials, lighting,
As indicated in the Environmental Resources Mapping (Appendix D), the ramp would create signage, and vegetation standards contextually compatible with the study corridor. Aesthetic and landscaping guidelines will
new properly impacts for residents in our community and the adjacent Moses Hall and Cemetery vary along the study corridor to incorporate the aesthetic and context of the neighbor stakeholders and surrounding
site that would not be present should at-grade slip ramps be used instead, Additionally, anew resources. By inviting neighbor stakeholders in the development of the aesthetic and landscaping guidelines, MDOT SHA
slevated off-ramp would haveian adverse impact on the views trem our community and would ensure that the Preferred Alternative would be consistent with applicable laws, ordinances, regulations, policies, and
potentially privacy issues as well. The viewshed analysis conducted for the Draft EIS is Ee sP epics .

#5 insufficient, fails to take the “hard look” required under Marsh, Methow Valley. and other standards. As a result, the contextual compatibility impact of the proposed action would be low.

relevant case law, and therefore fails to comply with the NEPA regulations. The analysis broadly
concludes that “Where new direct access at-grade auxiliary lanes or ramps would be constructed,
visual impacts would be readily apparent, but would not contribute to a change in the character
of the existing viewsheds” (DEIS Pg, 4-34). However, the analysis also notes that a Visual
Impact Assessment (VLA) has yet to be conducted. In the absence of such a VLA, we believe that
visual impacts have not been adequately documented. 40 CFR 1502.9 requires that the Draft EIS
adequately disclose the impacts associated with the Project. Additionally, 40 CPR 1502.14(b), as
further articulated by the Forty Questions, requires that all Alternatives be treated substantially
similarly. SHA suggests, instead, that a VIA “in accordance with FIWA’s guidance” will only
be performed once “design advances on a Preferred Alternative” (DEIS Pg. 4-34).

The failure to complete a VIA with the Draft EIS and the recommendation that the VLA only be
prepared lor the Preferred Alternative together mean that SHA and FHWA have failed to comply
with the NEPA regulations. These serious omissions deprive the public of the ability to truly
understand the visual impacts associated with the Project and require a Supplemental Drall EIS
to be prepared.

What we do see in the Drafi EIS regarding the flyover also concerns us. The MD 190 off-ramp
would negatively affect sensitive wetlands and parkland, as shown in Appendix D. Section 4(1)
considerations require the evaluation of approaches to avoid the use of such parkland, The
Section 4(f) Evaluation (Appendix F) ts inadequate in this regard. The approach to minimization
focuses solelv on the stormwater strategy as a means of reducing the property impacts to Cabin
John Stream Valley Park, Unit 2 (Pg. 39). A serious consideration of avoidance and
minimization would pursue a different approach to serving this off-ramp. The Section 4(f)

evaluation must be revised to consider an alternative exit layout.

6

The Preferred Alternative does not include an elevated structure to implement the HOT managed lanes at Seven Locks
Road. Between Persimmon Tree Road and Seven Locks Road, the Preferred Alternative includes four general purpose lanes
and two high-occupancy toll managed lanes in each direction. An acceleration lane will also be built along the outer loop
for approximately 1000-feet east of Seven Locks Road. No ramps are proposed in this area. The proposed typical section
serves to minimize the roadway footprint between the Carderock Springs Historic District and Gibson Grove Church along
the outer loop and the Morningstar Tabernacle No. 88 Moses Hall & Cemetery along the inner loop. The centerline of I-
495 will be relocated such that it gradually shifts away from the Cemetery as it moves north from Persimmon Tree Road; at
the Cemetery the proposed median barrier between inner loop and outer loop traffic will be approximately 25 feet further
from the Cemetery than the existing median barrier. Flyover ramps are no longer proposed in this area and thus will not
create a visual impact. A noise barrier in this area is anticipated to be located close to the existing right of way

line. Vegetation will need to be removed within the Limit of Disturbance to facilitate this construction.

Since the DEIS, the Preferred Alternative eliminates of flyover ramps at MD 190/River Road by adjusting the location of the
HOT lane direct access ramps between I-495 and MD 190. All HOT lanes direct access ramps within this interchange are
now proposed to connect at a new intersection on the MD 190 bridge over |-495 without the use of flyover ramps.

Between Seven Locks Road and MD 190/River Road, the general purpose lanes and managed lanes separate to allow space
for highway ramps. The existing Cabin John Parkway bridges will be replaced with new north-facing ramps to I-495 general
purpose lanes, and I|-495 managed lanes, and MD 190. New ramps connecting to Cabin John Parkway will be provided
below existing 1-495 grades, avoiding additional visual impacts to adjacent communities. The existing loop ramps at the
MD 190 interchange will be replaced by diamond ramps. This configuration typically allows ramps to be located further
from adjacent houses than the SDEIS ramp configuration.

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With our concerns with the flyover laid out, we note that an alternative approach consistent with
#5 the Project’s Purpose and Need does exist. The Aliernatives Technical Report (Appendix B)
Cont provides scant documentation as to why a direct access option is needed at this location. Instead,
we note that at-grade slip ramps are proposed for the Clara Barton Parkway off-ramps. Similar
conditions exist for the MD 190 off-ramp and an at-grade exit should be pursued in this location.

Further, should the Project move forward as currently proposed, we concur with the
recommendation in the Dralt EIS (4-35) that design miligations be advanced, in consultation
with the community, to lessen the visual consequences of this Project. This approach should be
committed to as a formal mitigation in the Final EIS. The Evergreen community would be
available to coordinate with the Project team.

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Construction Impacts

The Environmental Resource Mapping (Appendix D) indicates that the existing 1-495 bridge
over Seven Locks Road would need to be replaced to construct the Alternatives. We request
additional information regarding the impacts that this construction would have on access to our
#6 community, which can only be reached from Seven Locks Road. While we recognize that
additional design may help to resolve the nature of these impacts, the Final ETS should include
information about the nature of disruption, the duration of that disruption, and how construction
impaets will be mitigated. This information should also carefully consider impacts to Moses Hall
and Gibson Grove Church from construction. Additionally, there is limited information in the
Draft EIS regarding construction staging for the construction of the main line of 1-495 and the
means and methods of constructing the new MD 190 off-ramp. In total, the information is
inadequate for our community to fully understand the nature of impact that we will experience as
highway-adjacent residents. As SHA committed to in Chapter 4, the Final EIS must have
detailed and quantitative assessment of construction impacts and serious mitigation to address
them. We would further appreciate the opportunity to review and comment on mitigation
approaches relevant for our community.

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Long-Term Traffic Impacts

The long-term consequences of the Project on the roadway network are inadequately evaluated
in the Draft RIS. The Traffic Analysis Technical Report (Appendix C) shows impacts to local
arterials that serve as major access routes for Evergreen (Vigure 5-73). The figure indicates that
#7 MD 190 and Clara Barton Parkway would see a greater than 10°%o inerease in delay due to the
Project. These two routes represent the major regional routes serving our community. These
impacts are not documented in the Drafi EIS. The impacts to these local roads must be further
discussed in the Final EIS and must be mitigated. We also believe the underlying rationale for
this Project is called into question as a result of the unprecedented COVID-19 pandemic and its
effects on driving patterns (see below).

We have significant concerns thal non-state roads that serve as major commuting routes, such as
Seven Locks Road and MacArthur Boulevard (sensitive, weight-restricted infrastructure), do not
receive any analvsis for induced traffic impacts. Traffic impacts to major commuting routes and
arterial roads must be addressed by SHA in coordination with USACE, the NPS, and MCDOT.

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See response to Comment #5 above.

Response to DEIS Comment #6

Impacts during construction are a key consideration for the overall project. As the design is finalized, constructability reviews
will be completed and a Transportation Management Plan will be developed to assess operations during construction and
lay out a set of strategies that will be implemented to manage work zone impacts.

It is anticipated that construction will last approximately five to six years. Details related to precisely when and where
construction related activities will occur will be determined in final design, however, the project will likely require night work
to occur when activities could not be completed safely during the day. Advanced notice of construction related activities
would be provided and all reasonable efforts to minimize impacts to residential communities would be undertaken. Impacts
associated with construction that will be further evaluated for the Selected Alternative in final design include traffic
congestion associated with construction maintenance of traffic, utility disruptions, construction vibration, erosion and
sediment and control, and construction related noise.

The management of construction impacts is addressed in an agreement between MDOT SHA and the Developer. Pursuant
to that agreement, coordination with the neighboring communities will continue through final design and construction. The
agreement includes requirements to minimize impacts to surrounding communities and the traveling public, while
completing construction as soon as possible. Work hours and duration of construction will be identified to minimize impacts
to traffic in an effort to reduce construction related congestion and in consideration of noise and vibration impacts to
adjacent communities. Construction methods and materials will comply with contract, state and federal regulation, and
environmental permits and mitigation requirements. Careful attention will be taken to assure that material placement will
occur when weather conforms to industry standards and regulation. In addition to required governmental inspections, the
Developer is required by contract to provide independent environmental, quality, and safety oversight of its contractor’s
performance. Refer to Final Phase 1 P3 Agreement, https://oplanesmd.com/p3-information/phase-1-agreement/. Once the
Developer has selected a Design-Build Contractor(s), the schedule and duration for Phase 1 South construction will be made
available to the public.

For additional information refer to Chapter 9, Section 3.4.1 for a response to construction impacts.

Response to DEIS Comment #7

The results of the updated traffic analysis in the FEIS indicate that the net impact of the Preferred Alternative will be an
overall reduction in delay on the surrounding arterials, including a 4.8 percent reduction in daily delay on the arterials in
Montgomery County, despite some localized increases in arterial traffic near the managed lane access interchanges. The
portions of the local road network with an anticipated increase in volumes were evaluated in more detail as part of this FEIS,
and mitigation was proposed where needed to maintain acceptable operations and safety per FHWA Interstate Access Point
Approval guidelines. In addition, based on follow-up meetings between MDOT SHA and Rockville, additional improvements
were considered and incorporated where feasible, including modifications to the right-turning movement from the |-270 off-
ramp onto eastbound MD 1839, and additional turn lanes at Wootton Pkwy at Seven Locks Rd, Gude Drive at Research Blvd,
and MD 189 at Great Falls Road. All these enhancements will help manage and/or improve the function of the local roadway
network.

Refer to Chapter 9, Section 3.4.B for a response to traffic modeling and analysis.

Refer to Chapter 9, Section 3.1 for a response on Purpose and Need and effects of the Pandemic.

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Elevated Option

The Alternatives Technical Report (Appendix B) identifies that an elevated option for managed Response to DEIS Comment #8
lanes is being considered as a “means and method” for implementing the managed lanes (Pg. An elevated alternative was not carried forward as preliminary alternative. The Preferred Alternative does not include an
60). As we have expressed above, our community is greatly concerned by the inadequate visual elevated structure to implement the HOT managed lanes. As described in the Supplemental DEIS, the Preferred Alternative

analysis conducted in the Draft EIS. The elevated option is not evaluated in any meaningful way
in Appendix B or in Chapter 4 of the DEIS. The elevated option would have additional adverse
impacts to views from our community and would generate a substantially different noise profile

includes two new, high-occupancy toll (HOT) managed lanes on |-495 in each direction from the George Washington

Memorial Parkway to east of MD 187 and conversion of the one existing high-occupancy vehicle lane in each direction on I-
and possible intrusions on the privacy of community residences. While we oppose the elevated 270 to a HOT managed lane and adding one new HOT managed lane in each direction on I-270 from I-495 to north of |-370
option and recommend it be eliminated from future consideration, this option is substantially and and on the I-270 east and west spurs.
materially different from the Alternatives evaluated in the Draft EIS. Should an elevated option
be considered in this section of 1-495, these different impacts would need to be evaluated through
a Supplemental Draft EIS. A Supplemental Draft EIS would be required because 40 CFR 1502.9
requires that agencies prepare supplements to draft statements if the agency makes substantial

|_ changes to the proposed action.

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COVID-19 Impacts
Response to DEIS Comment #9

Bevond a short paragraph in the Executive Summary (ES-3), the Draft EIS has limited mention Refer to Chapter 9, Section 3.1 for a response on Purpose and Need and effects of the Pandemic

of the impacts that the COVID-19 pandemic — such as widespread teleworking - may have on
short- and long-term travel demand and therefore need for this highway expansion project. Given
the substantial impacts that this has regionally and specifically on communities like ours, SHA
should evaluate how COVID may shift highway use as part of a Supplemental Draft EIS. In
particular, SIIA should evaluate how resulting changes (and likely reductions) in congestion
would adjust projections regarding usage of the managed lanes and the financial approach of the
Project. Doing so would meet the requirement to take a “hard look” at key issues with bearing on
impacts and to affirmatively address issues where there is incomplete or unavailable information

(40 CFR 1502.21).

We believe that COVID impacts are not temporary; we believe that we are experiencing epoch
change in how we live, work, and play. This is on top of clearly apparent trends in autonomous
vehicle transportation that we expect to become commonplace not long alter the [-495 P3 project
construction is complete. We urge SILA to reevaluate the purpose and need of this Project that
will so greatly affect our communities and Laxpayers.

~~ Thank you for your consideration of our community's comments and concerns, We look forward
to SHA addressing these issues in the Final EIS and working with our community on appropriate
mitigations for this Project. We will continue to remain engaged through the NEPA and Section
106 processes, as well as other comment and approval steps throughout Project development.

Sincerely,

EVERGREEN COMMUNITY RESIDENTS

Charlotte Troup Leighton and Russell Leighton (8005 Cypress Grove Lane)
Frank L Wright II] and Marev Harrison (8014 Cypress Grove Lane)

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Andrew Strasfogel and Elizabeth Jackson (7913 Cypress Grove Lane)
WeiWei and Fenhua He-Han (7910 Cypress Grove Lane)
Manny and Elizabeth Andrade (7909 Cypress Grove Lane)
Matt and Min Shih (7900 Cypress Grove Lane)

Cindy and Leslie Miller (7905 Cypress Grove Lane)

Gladys Vaughn (7920 Cypress Grove Lane)

Ellen and Steve Futterman (8000 Cypress Grove Lane)

Kara Cunzeman and Mare Bosch (8009 Cypress Grove Lane)
Michael and Gail Marcus (8026 Cypress Grove Lane)
Gregory and Sheila Duncan-Peters (8037 Cypress Grove Lane)
Sheryl and Peter Bloch (7920 Cypress Grove Lane)

Edwin and Olga Paxson (8041 Cypress Grove Lane)

Maryann Veloso and Lyle Ishida (8033 Cypress Grove Lane)
Khalid and Ruham Usmani (8013 Cypress Grove Lane)
Donald and Sedene Dunae (8021 Cypress Grove Lane)
Assiatu and Richard Crossman (8025 Cypress Grove Lane)

Jlse Provided:
Attachment A: Drainage from [-495 at Evergreen Community
Attachment B; Photographs of Damage from I-495 Stormwater Run-otf

CC: Governor Lawrence J. Hogan
Comptroller Peter V.R. Franchot
Treasurer Nancy Kopp
County Executive Mare Elrich
Councilmembers Andrew Friedson, Gabe Albornoz, Evan Glass, Will Jawando, and Hans
Riemer
Senator Susan Lee and Delegates Ariana Kelly, Mare Korman, and Sara Love

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-332

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OP*°LANES"” |-495 & |-270 Managed Lanes Study

MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

ATTACHMENT B

ATTACHMENT A

Existing I-495
Stornny ater
Drain Clo:
with Vegetation
and Debris

: = N Legend
— “Wy t  _. 2-Foot Contour
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Evergreen Drainage (Source: Montgomery County GIS Mapping)

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Montgomery County, MD

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-333

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FINAL ENVIRONMENTAL IMPACT STATEMENT

UNION OF CONCERNED SCIENTISTS — EYAL LI (EMAIL)

From: Eyal Li <ELi@ucsusa.org>

Sent: Friday, October 30, 2020 11:51 AM

To: MLS-NEPA-P3

Subject: Union of Concerned Scientists Comment on I-495 and I-270 Managed Lanes Study DEIS
Attachments: MDOT 495 & I-270 Managed Lanes DEIS Comment UCS.pdf

Dear MDOT SHA Staff,

On behalf of the Union of Concerned Scientists, | am submitting the attached comment on the |-495 and |-270
Managed Lanes Study Draft Environmental Impact Statement.
Please let me know if you have any questions.

Regards,

Eyal Li

Campaign Associate

pronouns: he / him / his

Union of Concerned Scientists

1825 K St NW #800 | Washington, DC 20006 | P: 240-374-8960

Help boost the science vote in 2020! Find the tools you need to register, learn about state-specific voting
information, and learn how to organize your own voter registration events at ScienceRising.org.

www.ucsusa.org | Join our action network or expert network | Support our work.
Join the conversation on the UCS blog and All Things Nuclear or follow us on Facebook, Twitter, and Instagram

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-334

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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Union of

Concerned Scientists

Science fora Healthy Planet and Safer World

Maryland Department of Transportation State Highway Administration
October 23", 2020

RE: I-495 & 1-270 Managed Lanes Study

Dear Administrator Smith,

Thank you for the opportunity to comment on the I-495 and 1-270 Managed Lanes Study Draft
Environmental Impact Statement. The Union of Concerned Scientists (UCS) is the nation’s
leading science-based nonprofit putting rigorous, independent science to work to solve our
planet's most pressing problems.

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On behalf of our 24,000 supporters in Maryland, and network of more than 26,000 scientists,
engineers, and public health professionals nationwide, UCS strongly opposes the Maryland
Department of Transportation State Highway Administration’s (MDOT SHA) proposed addition
of managed lanes to [-495 and I-270, and supports a no-build option. As detailed in the draft

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environmental impact statement (DEIS), the proposed added lanes would increase vehicle miles
travelled, leading to higher global warming emissions and traffic related air pollution. We urge
MDOT to evaluate additional alternatives for detailed study that provide equitable and
sustainable mobility options for Maryland residents including public transit, transportation
demand management on existing roadways, and transit-oriented land use that weren’t considered
in depth in the DEIS.

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MDOT’s proposed managed lanes will have detrimental impacts on public health, racial equity
and the climate if finalized as proposed in any of the managed lane alternatives. Notably, the
impacts of the COVID-19 pandemic on travel behavior call into question the suitability of the
managed lanes project to meet the needs of our future transportation system and they should be

considered in the final environmental impact statement.
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Public Health & Racial Equity

UCS is particularly concerned about the project’s disproportionate health impacts on
marginalized communities near the highways. The race and ethnicity characteristics of the
Analysis area reveal that Latino, Asian-American, and African Americans are overrepresented
by 50%, 49%, and 9%, respectively while white residents are underrepresented by 37%
compared to their population statewide (Figure 3-7 in DEIS Appendix E). In 2019, UCS released
a study showing African American and Latinx Marylanders are exposed to levels of traffic
related air pollution that are 12 and 11 percent higher than the average while white Marylanders
breathe air that is 8 percent cleaner than the average Maryland resident (Pinto de Moura 2019).
Increasing the throughput capacity of I-495 and I-270 would increase traffic related air pollution
in the surrounding communities, exacerbating the burden of breathing higher levels of air
pollution in these disproportionately African American, Latinx, and Asian American

communities.
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Response to DEIS Comment #1
Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.

Response to DEIS Comment #2
Refer to Chapter 9, Section 3.2.A for a response on Screening of Preliminary Alternatives Process.

Response to DEIS Comment #3
Refer to Chapter 9, Section 3.1 for a response on Purpose and Need and effects of the Pandemic.

Refer to Chapter 9, Section 3.4.D for a response to Environmental Justice and equity concerns.

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS

CO-335

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

Response to DEIS Comment #4

pe . . : 7 Refer to Chapter 9, Section 3.4.D for a response to Environmental Justice and equity concerns.
#4 Chronic exposure to particulate matter pollution from vehicles causes increased death rates
Cont attributed to cardiovascular disease and respiratory ailments including COVID-19, among other Refer to Chapter 9, Section 3.4.L for a response to public health impacts.

conditions (American Lung Association 2020). The DEIS does not assess whether environmental
justice (EJ) populations will bear a disproportionate burden of the adverse effects of the managed
lanes project. The final DEIS should compare the adverse impacts of the project bome by EJ
communities to those borne by non-E.J communities. Given the systematic oppression of
marginalized groups throughout history, we call on MDOT to shoulder a greater burden of proof
that its actions are not harmful to the health and wellbeing of minority populations, low-income Response to DEIS Comment #5

populations, and/or indigenous peoples. Refer to Chapter 9, Section 3.4.B for a response to traffic modeling and analysis.

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#5 Traffic Demand

The DEIS fails to consider the impacts of increased road capacity on long term traffic demand
and on land use. It is misleading to claim the proposed managed lanes would reduce congestion
when the DEIS estimates show the managed lanes would cause increased travel times on [-270’s
general lanes during the PM peak travel time (Table 5-6 in DEIS Appendix C). While the DEIS
seems to ignore the projected increases in traffic caused by the managed lanes, the Traffic
Technical Analysis Report omits a discussion of the impacts of induced travel demand. The
overwhelming research on roadway expansions has concluded that they fail to alleviate
congestion and actually increase vehicle miles travelled (VMT) in the long term (Handy 2015).
In the EPA’s 2002 “Guidebook on Induced Travel Demand,” a case study examines how after
the 1989 6-lane expansion of I-270 in Montgomery County, MD, traffic counts in 1999 exceeded
those predicted for 2010, “and traffic congestion had already returned to unacceptable levels”
(United States Environmental Protection Agency 2002),

The proposed addition of managed lanes does not address the congestion impacts of induced
demand since the increased road capacity will only provide congestion relief to drivers who can
afford tolls in the priced lanes. This raises equity concerns for drivers who are unable to afford
tolls and who will be stuck in congested traffic in the non-priced lanes.

As stated in the EPA’s 2002 report, “the omission of induced travel demand results in
underestimation of highway project costs and impacts, and hampers thorough understanding and
assessment of regional transportation, land use and environmental conditions.” Moreover, the
induced travel demand from the proposed managed lanes will spill over onto roads adjacent to I-
495 and 1-270 that are unable to support increased traffic capacity. MDOT’s 2017 Attainment
Report details the phenomena of induced travel demand and underscores the importance of
incorporating induced travel when evaluating the costs and benefits of adding roadway capacity
(MDOT SHA 2017). The lack of an appropriate analysis of induced travel demand and its
impacts calls into question the accuracy of the environmental impact study for each managed
lane alternative.
Response to DEIS Comment #6

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Citas Chenee Refer to Chapter 9, Section 3.4.G for a response to climate change and greenhouse gas considerations.

#6 The omission of an analysis of the impacts of induced travel demand and the resulting
underestimate of projected VMT lead to inaccurate estimates of greenhouse gas (GHG)

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

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emissions resulting from the proposed managed lanes (Table 3-37 in DEIS Appendix I). The
#6 GHG emissions analysis also notes the impact that the finalized Safer Affordable Fuel-Efficient
Cont (SAFE) rule will have on GHG emissions from passenger vehicles but fails to provide an

estimate of exactly how much emissions will increase under this rule.

UCS urges MDOT SHA to incorporate induced travel effects into their travel forecasting models
in the environmental impact study to better understand the relationship between transportation
capacity, behavioral responses, and land use patterns. Moreover, it is critical that MDOT SHA
evaluate the impact of the SAFE rule on GHG emissions from vehicles using the roadway to
estimate GHG emissions for each alternative. Once these two factors are incorporated into a
GHG emissions analysis, MDOT must evaluate how each proposed alternative will help or
hinder Maryland’s progress in achieving its goal of a 40 percent reduction of GHG emissions
from 2006 levels by 2030 under the 2015 update to the Greenhouse Gas Emissions Reduction
Act (Maryland Department of the Environment 2019),

The GHG emissions estimates for each alternative must also be evaluated with consideration to
Maryland’s stated goals of joining the Transportation Climate Initiative: to develop “a policy that
accelerates the transition to a low-carbon transportation future and delivers a better, cleaner,
more resilient transportation system that benefits all our communities particularly those
underserved by current transportation options and overburdened by pollution, while making
significant reductions in GHGs and other harmful air pollution across the region” (Section 3.5 in
DEIS Appendix I). Using state funds to expand roadways prioritizes wealthier residents who
own cars. Investing in the underfunded Maryland Transit Administration and prioritizing
congestion-fighting strategies such as bus rapid transit and bus-only lanes would improve the
transportation system for communities underserved by current transportation options.

[  COVID-19 Response to DEIS Comment #7

#7 Refer to Chapter 9, Section 3.1 for a response on Purpose and Need and effects of the Pandemic.

The DEIS does not take into account changes in travel behavior resulting from the COVID-19
pandemic and resulting shifts in commuting patterns. It is irresponsible to not evaluate how these
shifting travel patterns will impact the need for the proposed managed lanes and their
alternatives.

The lack of a clear discussion of induced travel demand, coupled with MDOT’s inappropriately
constrained consideration of public health and climate impacts, especially those impacting
environmental justice populations, guarantees that the negative impacts of the proposed managed
lanes in the DEIS are artificially low. MDOT should evaluate additional alternatives for study
that include public transit, transportation demand management on existing roadways, and land
uses that would meet the transportation needs of the region. It is critical that the purpose and
needs of the project focus on the movement of people and goods rather than accommodating
vehicular traffic growth. The adoption of the recommended areas of study will enable MDOT
staff to plan for regional transportation systems that enhance access, improve transportation
efficiency, and create more livable communities for all.

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On behalf of the Union of Concerned Scientists:
Wana Ceercks wh ch Name

Maria Cecilia Pinto de Moura
Senior Engineer | Clean Transportation Program

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Eyal Li

Campaign Associate | Clean Transportation Program
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Union of Concerned Scientists

1825 K St NW #800 | Washington, DC 20006 | P: 240-374-8960

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APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CO-339

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FINAL ENVIRONMENTAL IMPACT STATEMENT

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UNION OF CONCERNED SCIENTISTS — EYAL LI (ORAL TESTIMONY)

1-495 and I-270 Managed Lanes Study
Joint Public Hearing Testimony

Name: Eyal Li

Joint Public Hearing Date: 8/18/2020
Type/Session: Live/Afternoon
Transcription:

Good afternoon. My name is Eyal Li. Eric Goldstein, my father must have been the phone number you
reached, My name is spelled E-Y-A-L and my last name is spelled Li, L-l. My address is 7001 Poplar Avenue
in Takoma Park, Maryland. I'm an environmental engineer and an advocate for clean transportation policy
with the Union of Concerned Scientists, abbreviated UCS. On behalf of our 24,000 supporters in Maryland
and our network of more than 26,000 scientists, engineers and public health professionals nationwide,
you see us strongly opposes the proposed addition of lanes to |-495 and |-270 and supports a No Build
option. We urge the MDOT SHA to evaluate additional alternatives for detailed study that provide
equitable and sustainable mobility options for Maryland residents, including public transit, transportation,
demand management on existing roadways, and transit-oriented land use that weren't considered in-
depth in the DEIS.

As detailed in the DEIS, the proposed added lanes would increase vehicle miles traveled, leading to

higher global warming emissions and traffic related air pollution. UCS is particularly concerned about the
(—— project's disproportionate health impacts on marginalized communities near the highways. The race and
ethnicity characteristics of the analysis area reveal that Latino, Asian Americans, and African-Americans
are overrepresented by 50, 49, and 9 percent, respectively, while white residents are underrepresented
by 37 percent compared to their population statewide. In 2019, UCS released a study showing African-
American and Latino Marylanders are exposed to levels of traffic-related air pollution that are 12 and 11
percent higher than the average, while white Marylander’s breathe air that is eight percent cleaner than
the average Maryland resident. Chronic exposure to particulate matter pollution from vehicles causes
increased death rates attributed to cardiovascular disease and respiratory ailments, including COVID-19,
among other conditions. Given the systematic oppression of marginalized groups throughout history, we
call on the Maryland DOT to shoulder a greater burden of proof that its actions are not harmful to the
health and well-being of minority populations, low-income populations and/or indigenous peoples.
Furthermore, the DEIS fails to consider the impacts of increased road capacity on land use and on long-
term traffic demand. It is misleading to claim the posed new managed lanes would reduce congestion
when the overwhelming research on roadway expansions, that they fail to alleviate congestion and
actually increase VMT in the long term. The lack of quantification of the effects of induced travel
demand calls into question the accuracy of the environmental impact statement as a whole. We can
improve mobility and access to opportunity for Maryland residents and the way to do so at |-495 and I-

270. Thank you very much for your consideration.
a

Response to DEIS Comment #1

Refer to Chapter 9, Section 3.3.A for a response to Analysis of Alternatives Retained for Detailed Study.

Response to DEIS Comment #2
Refer to Chapter 9, Section 3.4.F for a response to adverse impacts to air quality.

Refer to Chapter 9, Section 3.4.G for a response to climate change considerations.

Response to DEIS Comment #3
Refer to Chapter 9, Section 3.4.L for a response to public health impacts.

Response to DEIS Comment #4
Refer to Chapter 9, Section 3.4.B for a response to traffic modeling and analysis.

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CO-340

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MARYLAND FINAL ENVIRONMENTAL IMPACT STATEMENT

VILLAGE OF NORTH CHEVY CHASE — DANA PETERSON See the following pages for a response to your comments.
From: necinfo@northchevychase.org
Sent: Tuesday, September 22, 2020 10:50 AM
To: MLS-NEPA-P3
Subject: Village of North Chevy Chase DEIS Comments
Attachments: VINCC Statement on 1495 DEIS Sept 2020.pdf

Ms. Choplin - On behalf of the Village of North Chevy Chase, please find attached comments on the DEIS, which
highlight the Village's significant concerns about environmental protections within a P3 structure and oversight of a
private contractor, the opaque decision making with respect to the 6 alternatives beyond "No Build”, the detrimental
impacts in using MD-185/Connecticut Ave as an on-ramp for toll lanes, and the critical importance of revisiting
alternatives in light of the COVID-19 pandemic and its effects on traffic patterns throughout the area. Thank you very
much,

Dana Peterson

Manager

Village of North Chevy Chase
Mobile: 301-654-7084

APPENDIX T — DEIS COMMENTS — COMMUNITY ORGANIZATIONS CcO-341

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